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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 18-CV-62593-GAYLES

    FEDERAL TRADE COMMISSION,

            Plaintiff,

   vs.

   SIMPLE HEALTH PLANS LLC, et al,

            Defendants.



                       RECEIVER'S FIRST MOTION FOR AWARD OF
                 PROFESSIONAL FEES AND REIMBURSEMENT OF EXPENSES
                   FOR THE PERIOD OF OCTOBER 30, 2018 — JUNE 30, 2019
                       WITH SUPPORTING MEMORANDUM OF LAW

            Pursuant of Section XVIII of the Preliminary Injunction [ECF No. 139], Michael I.

   Goldberg, the Court-appointed receiver (the "Receiver") over Defendants Simple Health Plans

   LLC ("Simple Health"), Health Benefits One LLC ("HBO"), Health Center Management LLC,

   Innovative Customer Care LLC, Simple Insurance Lead LLC ("SIL"), Senior Benefits One LLC,

   and each of their subsidiaries, affiliates, and successors (collectively, the "Receivership Entities"),

   respectfully submits this First Motion for Award of Professional Fees and Reimbursement of

   Expenses for the Period of October 30, 2018 — June 30, 2019 (the "Motion" or the "Fee

   Application") and states as follows:

   I.       Introduction and Procedural Background

            Plaintiff Federal Trade Commission ("FTC") filed the above-captioned action, under seal,

   on October 29, 2018 against the Receivership Entities and Steven Dorfman ("Dorfman" and with

   the Receivership Entities, the "Defendants"), under Section 13(b) of the Federal Trade




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    Commission Act (the "FTC Act"), 15 U.S.C. § 53(b) and the Telemarketing and Consumer Fraud

   and Abuse Act, 15 U.S.C. §§ 6101-6108, alleging the Defendants violated Section 5(a) of the

    Federal Trade Commission Act, 15 U.S.C. § 45(a) and the FTC's Telemarketing Sales Rule, 16

   C.FR Part 310, as amended, by engaging in unfair and deceptive trade practices relating to the

   marketing, advertising and sale of health insurance products.1

            On the same date, the FTC filed under seal an Ex Parte Motion for a Temporary Restraining

   Order with Asset Freeze, Appointment of a Temporary Receiver, and Other Equitable Relief, and

   Order to Show Cause Why a Preliminary Injunction Should Not Issue ("Motion for TRO") [ECF

   No. 3], along with a Memorandum in Support of the Motion for TRO [ECF No. 12]. On October

   31, 2018, this Court entered, under seal, an Ex Parte Temporary Restraining Order with Asset

   Freeze, Appointment of a Temporary Receiver, and Other Equitable Relief, and Order to Show

   Cause Why a Preliminary Injunction Should Not Issue (the "TRO") [ECF No. 15], which, among

   other things, appointed Michael I. Goldberg as temporary receiver over the Receivership Entities

   with full powers of a temporary receiver in an equity receivership.

            On November 1, 2018, the Receiver took possession of the leased premises where the

   Defendants operated their business and presented the TRO to Mr. Dorfman. 2 The TRO provided

   for a hearing to take place on November 14, 2018 at which time Defendants shall appear before

   the Court to show cause, if there is any, why the Court should not enter a preliminary injunction,

   pending final ruling on the Complaint against Defendants. Upon the request of the FTC and the




   1 As more fully described in the Preliminary Injunction and the Receiver's First Report, the Defendants attracted
   consumers through a network of deceptive lead generation websites that led consumers to believe they were
   purchasing ACA-qualified and/or comprehensive health insurance, when they actually received limited indemnity
   plans or discount membership programs. See Preliminary Injunction, at Section II. Usually, it was not until the
   consumer attempts to use the policy that they learn the true nature of and limitations of their purchase. Id.
   2 The Defendants were also formally served with Summons. See ECF No. 32 — 38.


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   Defendants, the Court continued that hearing to December 6, 2018 [ECF No. 18]. In the interim,

    the Court extended the asset freeze and other restrictions set forth in the TRO. Id.

            In light of discovery motions and a request for a continuance filed by Mr. Dorfman, the

   Court rescheduled the hearing on the preliminary injunction to January 16, 2019 and extended the

   TRO [ECF No. 55]. On December 31, 2018, at the request of the FTC, due to the shutdown of the

   federal government, the Court temporarily stayed the case, including but not limited to, any

   scheduled proceedings, hearings, and/or discovery and briefing dates, until appropriations to the

   FTC were restored [ECF No. 59]. The deadlines were extended commensurate with the length of

   the stay. On January 29, 2019, the Court lifted the temporary stay and reopened the case [ECF

   No. 68]. The hearing on the preliminary injunction was rescheduled for April 16, 2019, where the

   Court heard testimony from customers and legal arguments from the FTC and Mr. Dorfman's

   counsel, and considered the Receiver's findings as detailed in his First Report. On May 14, 2019,

   the Court entered a Preliminary Injunction [ECF No. 139], extended the asset freeze and appointed

   Mr. Goldberg as permanent receiver over the Receivership Entities.3

                This Motion is submitted in compliance with Section XVII of the Preliminary Injunction,

   which acknowledged that the Receiver and all personnel hired by the Receiver, including counsel

   to the Receiver and accountants, are entitled to reasonable compensation for the performance of

   duties pursuant to the Preliminary Injunction and for the cost of actual out-of-pocket expenses

   incurred by them, for the assets now held by, in the possession or control of, or which may be

   receiver by the Receivership Entities. See ECF No. 139. The Preliminary Injunction directs the

   Receiver to file with the Court and serve on the parties periodic requests for the payment of such

   reasonable compensation, with the first such request filed no more than sixty dates after the date


   3 On May 14, 2019, Mr. Dorfman appealed the Preliminary Injunction to the Eleventh Circuit Court of Appeals. See
   ECF No. 140.

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    of entry of the Preliminary Injunction. Id. Accordingly, the Receiver submits this Motion for the

    Court's consideration.

            Work Performed by the Receiver and His Professionals

            A.      The Professionals

                    1.       Akerman LLP

            The Receiver is a partner at the law firm of Akerman LLP ("Akerman") and a founding

   member of Akerman's Fraud & Recovery Practice Group. The Receiver has practiced law for

   thirty years and specializes in receivership and bankruptcy cases. The Receiver has been appointed

   receiver in more than twenty state and federal receivership cases and has represented receivers and

   trustees in many other cases. The Receiver is working with a team of attorneys and paralegals at

   Akerman to administer this case. Since Akerman employs more than 700 lawyers and government

   affairs professionals through a network of 24 offices, the Receiver has ready access to

   professionals who specialize in litigation, real estate, corporate affairs, and other pertinent matters

   and has used their expertise to administer the receivership estate.

            The Receiver has agreed to reduce his billing rate and the rates of his professionals for this

   case, Instead of their standard billing rates, which range from $550.00 to $780.00, all partners are

   billed at $475; associate rates are capped at $275; paralegals and paraprofessionals are capped at

   $200, resulting in a blended rate of $365.12. These discounts equate to a $210,000 reduction in

   Akemian's fees. During the period covered by this Application, the Receiver and Akerman billed

   1,610.20 hours and seek payment of fees in the sum of $587,930 and reimbursement of expenses4

   in the sum of $14,263.60, for a total of $602,193.60.



   4 The list of disbursements in Exhibit "2" includes $12,351.42 in the category "Other Charges". Those amounts
   include the following: "Plug and Pay" technology fees: $4,455.31; UP3 Group Development of website, hosting and
   registration: $3,190.00; locksmiths: $1,877.09; Comcast: $1,227.41; storage of luxury vehicles: $738.30;

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            The Receiver's invoice is attached hereto as Exhibit "2", The time entries are provided in

    chronological order, separated by task codes.

                    2.       KapilaMukamal, LLP

            Soneet Kapila, CPA, and the accounting firm KapilaMukamal ("KM") provide accounting

   and forensic work for the Receiver. Mr, Kapila's practice is focused on restructuring, creditors'

   rights, bankruptcy, fiduciary matters and financial transactions litigation. He has conducted

   numerous forensic and fraud investigations, and has worked in conjunction with federal agencies

   including the FTC, the SEC, the FBI and the United States Attorney's Office, Mr. Kapila is also a

   panel trustee for the United States Bankruptcy Court for the Southern District of Florida.

            During the period covered by this Application, KM billed 281.90 hours and seeks payment

   of fees in the sum of $81,222.40 and reimbursement of expenses in the sum of $1,757.36 for a

   total of $82,979.76. KM's invoice is attached hereto as Exhibit "3".

            B.      Summary of Work Performed by the Receiver and his Professionals

            This is the professionals' first Fee Application. Like most receiverships, this first Fee

   Application is front-loaded due to the work the Receiver and his professionals conducted early in

   the case. During the first week on the Receiver's appointment, the Receiver utilized a dozen

   attorneys and paraprofessionals to assist him in securing and cataloging three locations where the

   Receivership Entities operated their business.' The professionals analyzed the business operations,

   secured the premises where the Receivership Entities conducted business, prepared inventories of

   the assets of the Receivership Entities, analyzed the Receivership Entities books and records and

   responded to inquiries from the former employees, and creditors during the Application period.



   transportation of luxury vehicles: $350.00; external drive to copy files: $105.99; and packing materials and moving
   expenses: $177.45.
   5 It turned out that the Dallas, Texas office had been shut down just prior to the Receiver's appointment. However,
   computers and other office furnishing still remained at the Dallas premises and needed to be secured and cataloged.

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    As more fully discussed in the Receiver's First Report [ECF No. 139], the Receiver has

    accomplished much for the benefit of the Receivership Estate and consumers since his

    appointment. Such accomplishments include the following:

            •       Secured business offices. The Defendants operated their businesses at three
                    locations. The Receiver coordinated with the FTC and law enforcement to
                    concurrently take possession of and secure each of the premises.

            •       Froze bank accounts. Immediately upon his appointment, the Receiver and his
                    professionals, in coordination with the FTC, took steps to secure the Receivership
                    Entities' bank accounts. To do this, the Receiver and his staff reviewed records
                    located at the Receivership Entities' offices and interviewed employees in order to
                    learn where the Receivership Entities maintained banking relationships. Once a
                    bank was identified, the Receiver caused a copy of the TRO to be served on the
                    bank and requested the bank to freeze the Receivership Entities' account(s). The
                    approximate sum of $3,186,655.48 has been frozen to date by the financial
                    institutions pursuant to the TRO.

            •       Identified and secured non-business related assets6 Upon his appointment, the
                    Receiver, with Dorman's cooperation, took control of three automobiles all titled
                    in the name of the Receivership Entities: (i) a 2013 Land Rover Range Rover; (ii)
                    a 2012 Lamborghini Aventador, and (iii) a 2015 Rolls-Royce Wraith. The Receiver
                    secured these vehicles in an air-conditioned, secure storage facility in Fort
                    Lauderdale.

            •       Secured/Returned vehicles. The Receiver later learned that the Lamborghini was
                    leased, and in his business judgment, determined that the lease should be terminated
                    to avoid unnecessarily continuing to incur large monthly lease payments. The
                    Receiver reached agreement with the leasing company to return the vehicle in
                    return for the leasing company waiving any deficiency. The Receiver filed a
                    motion with the Court to terminate the lease of the Lamborghini [ECF No. 70]. By
                    Order dated February 21 2019, [ECF No. 82], the Court granted the Receiver's
                    motion to terminate the lease of the Lamborghini [ECF No. 70]. The Receiver
                    returned the Lamborghini to the leasing company.

            •       Secured Jewelry. Upon his appointment, the Receiver worked with Dorfman and
                    his counsel to obtain the turnover of the jewelry listed in the TRO. Dorfman
                    through his counsel delivered 13 pieces of jewelry to the Receiver, including all of
                    the items listed in the TRO. The Receiver has secured each of these pieces of
                    jewelry in a vault pending further order of the Court.




    These are assets not used in the operation of the Receivership Entities' businesses, but paid with funds from the
   Receivership Entities' bank accounts.

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            •   Secured Sports Memorabilia. The Receiver discovered an extensive sports
                memorabilia collection in Dorfman's office at the time of his appointment. There
                appear to be numerous notable pieces, which are itemized in the Receiver's
                inventory attached to the Initial Report. The memorabilia is presently being secured
                by the Receiver.

            •   Identified Real Property. To the best of the Receiver's knowledge, Dorfman does
                not own any real property in Florida and rents an apartment in Miami where he
                resides with his wife. The only real property the Receiver is aware of that Dorfman
                has an interest in is an expensive, developable residential lot located in Las Vegas,
                Nevada. The Receiver filed the TRO in the chain of title to the Las Vegas property
                to prevent it from being transferred pending further order of the Court.

            •   Electronic Records. The Receiver has secured all of Simple Health's electronic
                records and has produced copies of those records to Dorfman's attorneys in
                response to their requests. To accomplish this task, the Receiver has retained the
                services of two of Simple Health's former IT employees.

            •   Took custody of and maintained personnel records. The Receiver has secured,
                among other things, Simple Health's accounting and payroll records, employee
                files, and all of the data associated with the company's primary business operations.

            •   Communicate with Employees. The Receiver terminated all of the employees as
                of November 1, 2018 and has endeavored to provide each employee with a W-2
                and/or 1099 form on a timely basis. To that extent, the Receiver utilized the
                services of Paycom and his accountants to perform the necessary accounting and
                paperwork. The Receiver provided 540 employees of Health Benefits One, LLC
                with W-2s; 27 employees of Innovative Customer Care, LLC with W-2s; and 125
                employees of Simple Insurance Leads, LLC with W-2s. The Receiver also
                provided 183 sales agents of Health Benefits One, LLC with 1099s that represents
                commissions payable to these sales agents from January 1, 2018 through June 2018,
                after which they were converted to W-2 employees.

            •   Analysis of Business Operations. In order to prepare to testify at the hearing on
                the Preliminary Injunction, the Receiver analyzed whether the business can be
                operated legally and/or profitably. The Receiver prepared a detailed report on the
                Defendants' business model.

            •   Return Leased Premises to Landlords. In order to conserve resources of the
                receivership estate, the Receiver coordinated the return of the premises located in
                Dallas, Texas, Miami, Florida and Pompano Beach, Florida to the landlords. His
                professionals research, drafted and revised the Motion for Authority to Cancel
                Leases [ECF No. 143], that was subsequently approved by the Court [ECF No.
                161].




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            Shortly after the commencement of the receivership, the Receiver retained KM as his

   forensic accountant and financial advisor in this matter. Since the receivership commenced, KM

   performed the following tasks in order to perform their forensic accounting investigation:

            •     KM met with the Receiver's team at the Hollywood office for the purpose of
                  obtaining QuickBooks files, bank statements, and other financial records for the
                  Receivership Entities.

            •     KM met with key employees to (a) gain an understanding of the financial structure
                  and condition of the Receivership Entities, identify the locations of the pertinent
                  financial data, locate potential assets and identify accounting transactions which
                  may require further investigation; (b) gain an understanding of the computer
                  applications utilized by the Receivership Entities and obtained an image of the
                  SalesForce data which tracked the status of prospective customers and the plans
                  enrolled for the purpose of determining the number of customers that may have
                  been impacted by the Receivership Entities.

            •     KM analyzed the Receivership Entities' general ledgers, which are maintained in
                  QuickBooks accounting software.

            •     KM reviewed the bank records obtained from the site visits and from financial
                  institution document productions.

            •     KM prepared a reconstruction of the Receivership Entities' cash receipts and
                  disbursements for the period from May 2013 to October 2018 using the
                  QuickBooks accounting records. KM analyzed intercompany transfers and activity
                  between and amongst the Receivership Entities and affiliated entities during the
                  period from May 2013 to October 2018 and identified $115 million in transfers
                  between the Receivership Entities and the affiliated entities.

            •     KM analyzed the credit card charges on certain American Express credit card
                  accounts maintained by the Receivership Entities. To date, KM analyzed the
                  approximately $23.7 million in charges made on the American Express cards and
                  noted more than $4 million in charges made by Dorfman appear to have been
                  personal in nature including luxury goods and wedding expenses including
                  wedding payments, transfers of cash to casinos, purchases of large automobiles,
                  and credit card payments for clearly personal items directly from the Receivership
                  Entities' bank accounts.

            •     KM prepared a consolidated profit and loss statement for the Receivership Entities.

            •     KM analyzed the activity recorded in the Receivership Entities' cash accounts
                  maintained in the general ledgers and prepared a reconstruction of the sources and
                  uses of cash per the general ledger. The Receiver intends to investigate if any of
                  these transfers are potentially recoverable.

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            •      KM organized tax files for all entities and prepared extensions for the Receivership
                   Entities' 2018 federal income taxes.

   III.     The Steps the Receiver Intends to Take in the Future

            The Court entered the Permanent Injunction on May 14, 2019. The Receiver has identified

   actions he intends to take, including, but not limited to disposing of the furniture, fixtures and

   equipment located at each office; disposing of the Rolls Royce and the Range Rover; disposing of

   the seized jewelry; selling the Las Vegas property; investigate the collectability of any accounts or

   loans receivable due to the Receivership Entities; seeking authorization to pay the back wages of

   non-managerial employees; identify additional assets of the receivership estate; investigate

   potential claims against third persons who may have liability with respect to the Receivership

   Entities' pre-receivership business dealings. The Receiver will report on the results of any such

   investigations in future reports.

   IX.      Memorandum of Law

            In determining attorneys' fees, a court must: (1) determine the nature and extent of the

   services rendered; (2) determine the value of those services; and (3) consider the factors set forth

   in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974), abrogated on other

   grounds, Blanchard v. Bergeron, 489 U.S. 87, 109 S.Ct. 939, 103 L.Ed.2d 67 (1989). In Johnson,

   the court set forth twelve factors a court should consider in determining reasonableness of an

   attorneys' fees award in a particular case. Id., 488 F.2d at 717-19. The Eleventh Circuit adopted

   these Johnson factors in Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292,

   1298-99 (11th Cir. 1988).

            A.     APPLICATION OF THE JOHNSON FACTORS

                   1.     Time and Labor Required




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             The foregoing summary, together with the Exhibits attached hereto, details the time, nature

    and extent of the professional services the Receiver and his professionals rendered during the

    period covered by this Application. The hour's expended evidence the extensive time devoted to

    this matter.

                    2.      The Novelty and Difficulty of the Service

             This case presents some interesting issues from a receivership perspective. Due to the

    nature of the product sold by the Receivership Entities, many consumers who unwittingly

    purchased limited benefit plans have not yet attempted to use them and make a claim, Therefore,

    many customers are not yet aware that they have been deceived and they have not yet incurred

    economic damage and are continuing to pay their monthly fees. As of early 2019, 59,308 customers

    were still making monthly payments.

                    3.      The Skill Requisite to Perform the Services Properly

             In order to perfoitn the legal services enumerated herein properly, substantive legal

    knowledge in the fields of litigation, healthcare and real estate is required. Moreover, the Receiver

    has extensive experience as a court-appointed Receiver. His attorneys and staff are also well

    versed in substantive and procedure matters that arise during the representation of Receivers.

    KM' s forensic skills were instrumental in their analysis of the financial records of the Receivership

    Entities and reconstruction of the transfers made by and among the Receivership Entities.

                    4.      The Preclusion of Other Employment

             Initially, the Receiver, his attorneys and accountants devoted great efforts and numerous

    professionals to this case, which for a limited period of time may have prevented them from

    focusing on other cases. However, the Receiver now works with a smaller group of professionals




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    who are well versed in administering a receivership case. It has not been necessary for the Receiver

    or his professionals to turn away other work due to this appointment.

                    5.      The Customary Fee

             The Receiver has agreed to reduce his billing rate and the rates of his professionals for this

    case. Instead of their standard billing rates, which range from $550 to $780, all partners are billed

    at $475; associate rates are capped at $275; paralegals and paraprofessionals are capped at $200.

    As a result, the rates charged by Applicant are somewhat lower than the rates for attorneys within

    the Southern District of Florida of similar skill and reputation.

                    6.      Whether the Fee is Fixed or Contingent

             The professionals' compensation is not fixed, as it is subject to the sufficiency of the estate

    to compensate the Receiver for his services. It is not contingent in the classic sense whereby

    compensation will only be given if the Receiver is successful in recovering money for creditors;

    however, it is contingent in the sense that it is subject to the availability of unencumbered funds

    and this Court's approval. There are presently funds available to pay the professionals for their

    services without causing a drain on the resources available to otherwise administer the case.

                    7.      Time Limitations Imposed by the Client or Other Circumstances

             As is the nature of receivership cases, the number of hours expended during the time

    covered by the initial fee application is usually higher than for subsequent fee applications. The

    initial responsibilities include securing the leased premises and assets of the Receivership Entities,

    notifying creditors and interested parties, taking control of bank accounts and analyzing business

    and banking records. However, after the completion of the initial phase in a new receivership case,

    the Receiver currently with a core group of professionals who assist him in his receivership cases

    and are skilled at administering such cases.



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                    8.      Amount involved and the results obtained

             The Receiver has shut down the business operations of the Receivership Entities and frozen

    $3.1 million in the Receivership Entities' bank accounts. He secured a 2012 Land Rover Range

    Rover and a 2015 Rolls-Royce Wraith; 13 pieces of jewelry; various sports memorabilia and

    placed a lien on undeveloped residential real property in Las Vegas. The Receiver holds more

    than $4.5 million in trust representing commissions on business sold by Simple Health. These

    funds were turned over from Health Insurance Innovations.

                    9.      Experience, Reputation and Ability of Applicant

             The Receiver has practiced law for thirty years and specializes in receivership and

    bankruptcy cases.     He has been appointed receiver in more than twenty state and federal

    receivership cases and has represented receivers and trustees in many other cases. Akerman is an

    established law firm having substantial experience dealing with healthcare issues, commercial

    litigation, corporate and real estate matters. Mr. Kapila has conducted numerous forensic and

    fraud investigations, and has worked in conjunction with many federal agencies. The attorneys

    and accountants have extensive experience with the avoidance and recovery of fraudulent transfers

    should it be necessary in this case.

                    10.     The Undesirability of the Case

             The case is not undesirable. The Receiver is honored to be selected to administer this case.

                    11.     The Nature and Length of the Professional Relationship

             The Receiver and his professionals have no prior relationship with the Defendants.

                    12.     Awards in Similar Cases

             The amount requested herein are not unreasonable in terms of awards in cases of like

    magnitude and complexity.



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             B.     Reimbursement of Expenses

             A receiver appointed by a court who reasonably and diligently discharges his duties is

    entitled to be fairly compensated for services rendered and expenses incurred. See SEC v. Byers,

    590 F.Supp.2d 637, 644 (S.D.N.Y. 2008); see also SEC v. Elliott, 953 F.2d 1560 (11th Cir. 1992)

    ("[I]f a receiver reasonably and diligently discharges his duties, he is entitled to compensation.").

             As more fully described herein and supported by the time records, the Receiver and his

    professionals have reasonably and diligently discharged their duties, and provided a benefit to the

    receivership estate, the investors and creditors.

             WHEREFORE, the Receiver seeks entry of an Order, in the form attached hereto as

    Exhibit "4", granting this motion and awarding the Receiver and his professionals their interim

    fees, reimbursement of costs as follows: (i) for the Receiver and Akerman, payment of fees in the

    sum of $587,930 and reimbursement of expenses in the sum of $14,263.60, for a total of

    $602,193.60; (ii) for Kapila Mukamal, payment of fees in the sum of $81,222.40 and

    reimbursement of expenses in the sum of $1,757.36 for a total of $82,979.76; and (iii) for such

    other relief that is just and proper.



                                    LOCAL RULE CERTIFICATION

             Pursuant to Local Rule 7.3, the Receiver hereby certifies that he has conferred with counsel

    for the Plaintiff Federal Trade Commission and counsel for Defendant Steven Dorfman, whom

    have no objection to the relief requested in the Application. A hearing is requested only in the




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    event that someone files an objection thereto.

                                                   Respectfully submitted,


                                                     Is/ Michael I. Goldberg
                                                   Michael I. Goldberg, Esq.
                                                   Florida Bar Number: 886602
                                                   Email: michael.goldberg@akerman.com
                                                   Court-Appointed Receiver
                                                   AKERMAN LLP
                                                   Las Olas Centre II, Suite 1600
                                                   350 East Las Olas Boulevard
                                                   Fort Lauderdale, FL 33301-2999
                                                   Phone: (954) 463-2700
                                                   Fax: (954) 463-2224


                                     CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

    August 12, 2019 via the Court's notice of electronic filing on all CM/ECF registered users entitled

    to notice in this case as indicated on the attached Service List.


                                                   By:      s/ Michael I. Goldberg
                                                               Michael I. Goldberg, Esq.




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                                             SERVICE LIST

     Counsel for Plaintiff Federal Trade            Counsel for Defendant Steven J. Dorfman
     Commission
                                                    Ryan Dwight O'Quinn
     Elizabeth C. Scott                             DLA Piper LLP (US)
     US Federal Trade Commission                    200 South Biscayne Boulevard
     Midwest Region                                 Suite 2500
     230 S. Dearborn St., Ste 3030                  Miami, FL 33131
     Chicago, IL 60604                              305-423-8553
     Email: escott@ftc.gov                          Fax: 305-675-0807
                                                    Email: ryan.oquinn@dlapiper.corn
     James Davis
     Federal Trade Commission                       Elan Abraham Gershoni
     55 West Monroe Street, Suite 1825              DLA Piper LLP (US)
     Chicago, IL 60603                              200 S. Biscayne Boulevard
     312-960-5611                                   Suite 2500
     Email: jdavisftc.gov                           Miami, FL 33131
                                                    305.423.8500
     Joannie Wei                                    Fax: 305.675.0527
     Federal Trade Commission                       Email: Elan.Gershoni @J.1Apiper.
                                                                          c          com
     230 South Dearborn Street, Suite 3030
     Chicago, IL 60603
     (312) 960-5607
     Email: jwei@ftc.gov

     Counsel for Court Appointed Receiver           Court Appointed Receiver

     Naim Surgeon                                   Michael Ira Goldberg
     Gera R. Peoples                                Akerman LLP
     Akerman LLP                                    Las Olas Centre
     Three Brickell City Centre                     350 E Las Olas Boulevard, Suite 1600
     98 Southeast Seventh Street, Suite 1100        Fort Lauderdale, FL 33301-0006
     Miami, FL 33131                                954-463-2700
     305-982-5679                                   463-2224 (fax)
     305-374-5095 (fax)                             michael.goldberg@akerman.com
     naim.surgeon@akerman.corn
     gera.peoples@akerman.corn

     Joan M. Levit
     Akerman LLP
     350 East Las Olas Blvd, Suite 1600
     Fort Lauderdale, FL 33301
     954-463-2700
     joan.levit@akerman.corn



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     Counsel for American First Finance, Inc.       Counsel for Amandra Hicks

     Eric J Silver                                  Janelle Alicia Weber
     Stearns Weaver Miller Weissler Alhadeff &      Law Office of Janelle A. Weber, P.A.
     Sitterson                                      1520 W Cleveland St., Ste. A
     150 West Flagler Street, Suite 2200            Tampa, FL 33606
     Miami, FL 33130                                813-9823663
     (305) 789-4175                                 813-982-3810 (fax)
     esilver@stearnsweaver.corn                     iweber@janelleweberlaw.corn




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                                              Exhibit 1
                                           CERTIFICATION

    STATE OF FLORIDA  )
                      ) SS:
    COUNTY OF BROWARD )

             BEFORE ME, the undersigned authority, personally appeared MICHAEL I.

    GOLDBERG (the "Applicant"), who, after first having been duly sworn, deposes and says:

             1.    The Applicant is a partner in the law firm of Akerman LLP ("Akerman") and the

    Receiver in this action. This Certification is based on the Applicant's first-hand knowledge of and

    review of the books, records and documents prepared and maintained by Akerman in the ordinary

    course of its business. The Applicant knows that the facts contained in this motion regarding work

    performed by the Receiver and his staff and the facts contained in this Certification are true, and

    the Applicant is authorized by Akerman to make this Certification. Having reviewed the time

    records and data which support the motion, the Applicant further certifies that said motion is well

    grounded in fact and justified.

             2.    The billing records of Akerman which are attached to this Application are true and

    correct copies of the records maintained by Akerman. These records were made at or near the

    time the acts, events, conditions or opinions described in such records occurred or were made. The

    Applicant knows that the records were made by persons with knowledge of the transactions or

    occurrences described in such records or that the information contained in the records was

    transmitted by a person with knowledge of the transactions or occurrences described in the records.

    The records were kept in the ordinary course of the regularly conducted business activity of

    Akerman and it is the regular business practice of Akerman to prepare these records.




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             3.    To the best of the Applicant's knowledge, information and belief formed after

    reasonable inquiry, this motion and all fees and expenses herein are true and accurate and comply

    with the Billing Instructions for Receivers in Civil Actions Commenced by the SEC.

             4.    All fees contained in this Application are based on the rates listed in the fee

    schedule attached hereto and such fees are reasonable, necessary and commensurate with the skill

    and experience required for the activity performed,

             5.    The Applicant has not included in the amount for which reimbursement is sought

    the amortization of the cost of any investment, equipment, or capital outlay (except to the extent

    that any such amortization is included within the peimitted allowable amounts set forth herein for

    photocopies and facsimile transmission).

             6.    In seeking reimbursement for a service which Akeiman justifiably purchased or

    contracted for from a third party, the Applicant requests reimbursement only for a service which

    the Applicant justifiably purchased or contracted for from a third party, the Applicant requests

    reimbursement only for the amount billed to the Applicant by the third-party vendor and paid by

    the Applicant to such vendor. If such services are performed by the Applicant, the Applicant will

    certify that he is not making a profit on such reimbursable service.



                                                  By: /s/ Michael I, Goldberg
                                                      Michael I. Goldberg, Esq.
                                                      Court Appointed Receiver




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                                     Exhibit 2
                   Akerman's Complete Time by Activity Code Category
                    For The Time Period Covered By This Application,
                             Sorted In Chronological Order




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       aker man                                                                                           Akerman LLP
                                                                                                    Post Office Box 4906
                                                                                                         Orlando, FL 32802
                                                                                                         Tel: 407,254,2305
                                                                                                         Fax: 407,254,3408

                                                                              Invoice Date                July 18, 2019
                                                                              Invoice No,                       ******


       MICHAEL 1. GOLDBERG - RECEIVER
       C/O ASE, FORT LAUDERDALE
       LAS OLAS CENTRE II, SUITE 1600
       350 EAST LAS OLAS BOULEVARD
       FORT LAUDERDALE, FL 33301


       Client Name:   GOLDBERG, MICHAEL I., AS RECEIVER
       Matter Name:   SIMPLE HEALTH PLANS
       Matter Number: 0346625



       For professional services rendered through June 30, 2019 as summarized below;

                Services                                               $587,930,00

                Disbursements                                           $14,263,60
                           TOTAL THIS INVOICE                         $602,193,60




                      To ensure proper credit to the above account, please indicate invoice no, ******
                                    Return remittance sheet with payment in US funds,
                                                    Wired funds accepted.'
                                             Akerman LLP Operating Account
                                              c/o SunTrust Bank, Atlanta, GA
                                                 ABA Number: 061000104
                                           Account Number: 0215-252207533
                                  Swift code SNTRUS3A (For International Wires Only)
                                                    IRS EIN XX-XXXXXXX
      akerman,com
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 Task Code:      501 ASSET ANALYSIS AND RECOVERY
 31-Oct-18       Research and prepare asset freeze letters and confer     JML              2.30       1,092,50
                 with paralegal.
 31-Oct-18       Revise asset freeze letter.                              JML              0,90         427.50
 31-Oct-18       Analysis of relevant case documents and TRO; draft       KS               3.40         680,00
                 Asset Freeze letters to Banks pursuant to TRO and
                 create Excel spreadsheet to track same,
 1-Nov-18        Revise and update Asset Freeze tracking chart for use    KS               0,80         160.00
                 by Receiver.
 1-Nov-18       Numerous telephone conferences with the various           KS               2.10         420,00
                institutions regarding receipt of and response to Asset
                Freeze letter,
 1-Nov-18        Work with the FTC and draft and serve Asset Freeze       KS               4,80         960.00
                 letters to numerous institutions,
 1-Nov-18       Multiple conferences with K. Shinder regarding            JML              0,60         285.00
                correspondence to financial institutions to freeze
                bank accounts.
 1-Nov-18       Review filings in Spiewak v. Dorfman case,                JML              0,80         380,00
 2-Nov-18       Meeting with FTC at Simple Health to review               MIG              6.00       2,850,00
                banking documents,
 2-Nov-18       Conference with                                           MIG              0.40         190.00

 2-Nov-18       Revise Asset Freeze tracking chart for Receiver's use     KS               0.60        120,00
                in case assessment and tracking of assets,
 2-Nov-18       Work with                                                 KS               0.60        120,00

 2-Nov-18       Draft and serve additional Asset Freeze letters to        KS               4,10        820.00
                various institutions.
 2-Nov-18       Numerous telephone conferences with the various           KS               1,70        340,00
                institutions regarding receipt of and response to Asset
                Freeze letter; review and respond to numerous email
                communications regarding same.
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 2-Nov-18      Meet with ICON management, Professional Auto              JSR              4.70       2,232.50
               Transport and RoboVault re: secure and storage of
               vehicles. Coordinate seizure and transportation of
               vehicles. Multiple communications with Goldberg,
               Multiple communications with FTC. Research re:
                                 Coordinate with Goldberg and
                   ate re                                       Meet
               with Samuels and Roman in Miami.
 2-Nov-18      Meet with FTC IT representatives to secure and copy       GRP              5,50       2,612,50
               computer network; secure Simple Health location;
               discuss with Simple Health employee about
               receivership,
 3-Nov-18      Reviewed documents and meeting with                       MIG              2.40       1,140.00

 3-Nov-18      Research data center lease information; Place call to     KAS              4,00         800,00
               Flexential regarding asset freeze; Prepare asset freeze
               letter to Flexential; Call with Bob Traitz regarding
               Pompano Storage Facility; Confer with Receiver
               regarding Suite 125 at Oakwood Plaza; Work on
               document orgranization.
 4-Nov-18      Sort and review personal property collected from          KAS              3,80         760,00
               Hollywood office and prepare asset and document
               inventory in connection with items recovered during
               take down (3.3) Correspond with Jarecki regarding
               meeting (.1); Monitor receivership emails (.4).
 5-Nov-18      Numerous correspondence with banks,                       MIG              0,40         190,00
 5-Nov-18      Revise inventory (0,5); finalize memo re Dallas           MDN              0.90         427,50
               immediate access (0.4)
 6-Nov-18      Reviewed documents received from J, Davis.                MIG              0.30         142.50
 6-Nov-18      Download and review and analysis of FTC photos            KAS              0.60         120.00
               and company data.
 7-Nov-18      Prepare memo to M. Goldberg regarding site visit;         KAS              0.50        100.00
               Receipt and review of Employee Questionnaire from
               J. Jean and forward copy to FTC.
 7-Nov-18      Conference with                                           MIG              0.50        237,50

 7-Nov-18      Conference with K. Abbate re accounts frozen,             MIG              0,80        380.00
               property and meeting with facilities manager,
 7-Nov-18      Conference with Nairn NMI.                                MIG              0,20          95,00
 7-Nov-18      Reviewed Robbins letter                                   MIG              0.20          95,00
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 8-Nov-18       Conference with K, Abbate re                           MIG              0.20          95.00

 8-Nov-18       Corresponded with                                      MIG              0,20          95,00
 8-Nov-18       Corresponded with                                      MIG              0.20          95.00
 8-Nov-18       Corresponded with Davis re emails.                     MIG              0.20          95,00
 8-Nov-18       Reviewed banking documents,                            MIG              0,50         237,50
 8-Nov-18       Respond to calls from Simple Health Employees;         KAS              1,80         360,00
                Download, review and discuss UBS response to
                TRO; Update Asset Chart; Review HBO/SHP
                insurance portfolio from1111111111 Call with JP
                Morgan Chase regarding bank accounts; Send
                extension TRO to bank; Multiple calls with

                                       eview employee questionnaires
                 or in orma ion; Review email from F. Rehmatwala
                regarding interest in purchasing Dorfman vehicles;
                Update mailing list with potential creditor in
                formation; Review and respond to email re: web ads.
 8-Nov-18       Study and review files about the Receivership          JSR              1,40         665.00
                Entities,.
 9-Nov-18       Multiple communications with Goldberg and              JSR              0,90         427.50

 9-Nov-18       Work on arrangements for FTC representatives to        KAS              0.70         140.00
                access data center,
 9-Nov-18       Corresponded with K. Abbate re                         MIG              0,20          95,00
 12-Nov-18      Conference call with                                   MIG              0,70         332.50

 12-Nov-18      Conference re background on Receivership Entities,     MIG              0,60         285.00
 12-Nov-18      Corresponded with Davis re documents.                  MIG              0,20          95.00
 12-Nov-18      Corresponded with Flexential re access.                MIG              0,20          95.00
 12-Nov-18      Reviewed documents on consumer complaints.             MIG              0.80         380,00
 12-Nov-18      Research and revise asset freeze and data storage      IML              0.70         332,50
                letter to Salesforce,
 12-Nov-18      Work on download and organization of FTC records,      KAS              0,40          80.00
 12-Nov-18      Review asset freeze responses and confer with          KAS              0,60         120,00
                paralegal and provide direction on follow up needed.
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 12-Nov-18      Review correspondence regarding Salesforce;               KAS              1,40         280,00
                Perform intemet research for company information in
                preparation of asset freeze/preservation letter; Confer
                with attorney regarding matter.
 12-Nov-18      Coordinate site visits at Oakwood/Peak 10 with FTC        KAS              0,40          80,00
                representatives.
 12-Nov-18      Numerous telephone conferences with American              KS               0,30          60,00
                Express regarding asset freeze letter and accounts
                held by them.
 12-Nov-18     Numerous telephone conferences with Patriot Health         KS               0.40          80,00
               regarding asset freeze letter and accounts held by
               them.
 12-Nov-18     Revise and update master asset freeze chart to include     KS               0.40          80,00
               additional information regarding assets and amounts
               held by entities.
 12-Nov-18      Communicate with                                          KS               0,30          60,00

 12-Nov-18     Review and respond to several email communications         KS               0,20          40,00
               with Royal Bank of Canada regarding asset freeze
               letter and accounts held by them
 12-Nov-18     Several telephone conferences with Royal Bank of           KS               0.40          80,00
               Canada regarding asset freeze letter and accounts
               held by them,
 12-Nov-18     Review and respond to several email communications         KS               0,20          40,00
               from Hinshaw & Culbertson regarding asset freeze
               letter and accounts held by them,
 12-Nov-18     Numerous telephone calls with SunTrust Bank                KS               0,40          80,00
               regarding asset freeze letter and accounts held by
               them,
 12-Nov-18     Numerous telephone calls with Credit One regarding         KS               0,30          60,00
               asset freeze letter and accounts held by them,
 13-Nov-18     Work with FTC regarding asset freeze amounts held          KS               0,30          60,00
               by entities,
 13-Nov-18     Review and respond to email communications from            KS               0,20          40.00
               Paycom regarding assets held by them,
 13-Nov-18     Revise and update master asset freeze chart to include     KS               1,10        220.00
               additional information regarding assets and amounts
               held by entities,
 13-Nov-18     Multiple communications with                               JSR              0,80        380,00
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 13-Nov-18      Communications with attorney and paralegal               KAS              0,70         140,00
                regarding asset freeze matters,
 13-Nov-18      Correspond with Paycom regarding asset freeze,           KAS              0,40          80,00
 13-Nov-18      Follow up on asset freeze responses; Review              KAS              0.30          60,00
                correspondence re: same,
 13-Nov-18      Follow up with Receiver regarding                        KAS              0.10          20,00

 13-Nov-18      Work on records organization.                            KAS              0.90         180,00
 13-Nov-18      Research and follow up regarding asset freeze letters.   JML              3,70       1,757,50
 13-Nov-18      Con'es onded with                                        MIG              0,60         285,00

 13-Nov-18      Corresponded with Gershoni re discovery.                 MIG              0,30         142,50
 13-Nov-18      Corresponded with Sales Force attorney re access,        MIG              0,30         142,50
 13-Nov-18      Reviewed bank correspondence re asset freeze.            MIG              0,20          95,00
 13-Nov-18      Conference with                                          MIG              0,60         285.00

 13-Nov-18      Corresponded with Merdihar re documents.                 MIG              0,10          47,50
 14-Nov-18      Conference with                                          MIG              0,40         190.00

 14-Nov-18      Conference with Salesforce attorney,                     MIG              0.30         142.50
 14-Nov-18      Conference with Kapila re Quickbooks and                 MIG              0,30         142.50
                receivership filling.
 14-Nov-18      Conference with                                          MIG              0,20          95,00
 14-Nov-18      Corresponded with Bank re frozen account.                MIG              0.20          95.00
 14-Nov-18      Work on FTC document download matters,                   KAS              0.50         100,00
 14-Nov-18     Coordinate and discuss obtaining Quickbooks files         KAS              0,60         120,00
               from Oakwood office for forensic evaluation; Call
               with accountants regarding meeting.
 14-Nov-18     Conference with paralegal regarding Banco Popular         KAS              0,50         100,00
               and Greenpay; Review updated asset chart for follow
               up items,
 14-Nov-18     Research and send relevant documents to forensic          KAS              0.60         120,00
               accountants re: Form 56,
 14-Nov-18     Prepare status update regarding all assets and            KS               0,40          80.00
               amounts in control of Receiver.
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 14-Nov-18      Revise and update master asset freeze chart to include   KS               1,10         220,00
                additional information regarding assets and amounts
                held by entities,
 14-Nov-18      Telephone conference with Wells Fargo Bank               KS               0,30          60,00
                regarding asset freeze letter and accounting of all
                accounts and amounts held by them.
 14-Nov-18      Prepare correspondence on behalf of the Receiver         KS               0.20          40,00
                regarding Patriot Health asset freeze letter and
                accounting of all accounts and amounts held by them,
 14-Nov-18      Telephone conference representing Patriot Health         KS               0.30          60.00
                regarding asset freeze letter and accounting of all
                accounts and amounts held by them.
 14-Nov-18      Review and respond to email communication from           KS               0.10          20,00
                Greenpay Outsourcing Services regarding asset
                freeze letter and accounting of all accounts and
                amounts held.
 14-Nov-18      Telephone conference with First Progress Card            KS               0:50         100,00
                regarding asset freeze letter and accounting of all
                accounts and amounts held,
 14-Nov-I8      Telephone conference with Wells Capital                  KS               0,30          60,00
                Management regarding asset freeze letter and
                accounting of all accounts and amounts held.
 14-Nov-18      Telephone conference with translators to Banco           KS               0.60         120,00
                Popular Dominican Republic regarding asset freeze
                letter and accounting of all accounts and amounts
                held at the bank
 14-Nov-18      Communicate and work with Nathaniel Al-Najar with        KS               0,60         120,00
                the FTC regarding status of asset freeze letters and
                amounts held by the Receiver,
 15-Nov-18      Revise and update master asset freeze chart to include   KS               0.60         120.00
                additional information regarding assets and amounts
                held by entities,
 15-Nov-18      Prepare chart tracking request for bank/account          KS               0,40          80.00
                statements and responses thereto,
 15-Nov-18      Several communication with                               KS               0,50         100,00
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 15-Nov-18      Telephone conference with and draft correspondence      KS               0,30          60,00
                to Wells Fargo Bank regarding Receiver's request for
                bank/account statements requesting all statements
                from inception to date of asset freeze for accountant
                to track assets,
 15-Nov-18     Telephone conference with and draft correspondence       KS               0,40          80,00
               to IberiaBank regarding Receiver's request for
               bank/account statements requesting all statements
               from inception to date of asset freeze for accountant
               to track assets,
 15-Nov-18     Telephone conference with and draft correspondence       KS               0,30          60,00
               to U.S. Century Bank regarding Receiver's request
               for bank/account statements requesting all statements
               from inception to date of asset freeze for accountant
               to track assets,
 15-Nov-18     Telephone conference with and draft correspondence       KS               0.40          80,00
               to JP Morgan Chase Bank regarding Receiver's
               request for bank/account statements requesting all
               statements from inception to date of asset freeze for
               accountant to track assets.
 15-Nov-18     Several telephone conferences with JP Morgan Chase       KS               0.40          80,00
               regarding responding to asset freeze letter and TRO,
 15-Nov-18     Several telephone conferences with Wells Fargo           KS               0.30          60,00
               Asset Management regarding responding to asset
               freeze letter and TRO,
 15-Nov-18     Several telephone conferences with Wells Fargo           KS               0,40          80,00
               Bank regarding responding to asset freeze letter and
               TRO,
 15-Nov-18     Work with translators on communication with Banco        KS               0,40          80,00
               Popular Dominican Republic to obtain accounting of
               assets held by bank,
 15-Nov-18     Appear on site at Hollywood location to meet with        NSS              5.70       2,707,50
               forensic accountants and confer with company
               accountant. Confer with GoDaddy regarding error
               messages with repointing websites,
 15-Nov-18     Review multiple correspondence with Salesforce' in-      JML              0.40         190,00
               house counsel regarding access to e-files,
 15-Nov-18     Corresponded with Liebhan re Wellness,                   MIG              0,20          95.00
 15-Nov-18     Conference with Gupta re Sales Force.                    MIG              0,20          95,00
 15-Nov-18     Corresponded with Shiner re computers.                   MIG              0,10          47.50
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 16-Nov-18       Corresponded with UBS re private equity investment.     MIG              0,30         142.50
 16-Nov-18       Numerous calls re Salesforce.                           MIG              0,60         285.00
 '16-Nov-18      Review correspondence from Salesforce regarding         JML              0,20          95.00
                 access to reports,
 16-Nov-18       Research                                                JML              0,90         427.50

 16-Nov-18       Communications with                                     KAS              0.30          60,00

 16-Nov-18       Calls with IT personnel to coordinate meeting at        KAS              0.50         100.00
                 Oakwood regarding commission reports; Call with
                 accountant re: same.
 16-Nov-18       Confer with J, Robbins regarding                        KAS              0,10          20,00
 16-Nov-18       Confer with J. Levit regarding computer turnover and    KAS              0,30          60,00
                 inspection,
 16-Nov-18      Confer with counsel for UBS regarding commitment         NSS              0,60         285,00
                to provide capital,
 16-Nov-18      Telephone conference with Iberia Bank regarding          KS               0,40          80,00
                bank statements an liquidation of one account held by
                them for the benefit of the Receiver
 16-Nov-18      Revise and update master asset freeze chart to include   KS               0.30          60,00
                additional information regarding assets and amounts
                held by entities
 16-Nov-18      •Work with FTC regarding asset freeze letters and        KS               0.40          80,00
                 coordination of responses received by FTC and
                 Receiver.
 16-Nov-18      Review and respond to numerous email                     KS               0,20          40,00
                communications with Wells Fargo regarding various
                accounts holding assets by them and accounting of
                same to Receiver,
 16-Nov-18      Telephone conference with Wells Fargo regarding          KS               0,30          60,00
                assets held by them and accounting of same to
                Receiver,
 16-Nov-18      Telephone conference with TD Ameritrade regarding        KS               0,40          80,00
                assets held by them and accounting of same to
                Receiver.
 16-Nov-18      Multiple communications with                             JSR              0.40        190,00
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 19-Nov-18        Revise and update asset chart, bank statement chart   KS               0,40          80,00
                  and accounting chart for use of Receiver to track
                  assets,
 19-Nov-18        Confer with and work with the FTC regarding assets    KS               0,30          60,00
                  in control of the Receiver,
 19-Nov-18        Telephone conference with Iberia Bank regarding       KS               0.20          40.00
                  liquidating bank account pursuant to request of
                  Receiver.
 19-Nov-18        Telephone conference with JPMorgan Chase Bank         KS               0,40          80,00
                  regarding bank statements and account documents for
                  accountant review,
 19-Nov-18        Telephone conference with Wells Fargo Bank            KS               0,30          60,00
                  regarding bank statements and account documents for
                  accountant review,
 19-Nov-18        Telephone conference with Iberia Bank regarding       KS               0.20          40,00
                  liquidation of bank account at the request of the
                  Receiver,
 19-Nov-18        Telephone conference with Iberia Bank regarding       KS               0.30          60,00
                  bank account statements and account documents for
                  accountant review.
 19-Nov-18        Review email from Berlowe regarding All Web           KAS              0.10          20.00
                  Leads,
 19-Nov-18        Meet forensic accountant and Pinerio regarding        KAS              6.80       1,360,00
                  commission reporting and data; Meet with B, Traitz
                  regarding facility maintenance,
 19-Nov-18        Conference with K. Abbate re banking issues,          MIG              0,20          95.00
 20-Nov-18        Researched1M11111                                     MIG              1,20        570.00
 20-Nov-18        Confer with K, Shinder regarding liquidation of       KAS              0,30          60,00
                  Iberia Bank account,
 20-Nov-18        Confer with J. Levit regarding M. Spiewack laptop.    KAS              0,20          40,00
 20-Nov-18        Review of correspondence from FTC; Download           KAS              1,70        340,00
                  records.
 20-Nov-18        Telephone conference with D. Shiner regarding         JML              1.20        570,00
                  Spiewak's computer and state court case (.6) review
                  correspondence regarding potential privileged
                  information (2); prepare correspondence and
                  arrangements for pick up of computer (.2); and
                  discuss with parale gal (.2).
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 20-Nov-18      Revise and update asset chart, bank statement chart     KS               0.60         120,00
                and accounting chart for use of Receiver to track
                assets.
 20-Nov-18      Numerous telephone conferences with Citibank            KS               0.40          80,00
                regarding bank assets.
 20-Nov-18      Meeting at Iberia Bank regarding liquidating of         KS               0,40          80,00
                account assets and retrieval of funds,
 20-Nov-18      Additional telephone conference with Iberia Bank        KS               0.30          60,00
                regarding liquidating of account assets concerning
                instructions not to close account and availability of
                funds,
 20-Nov-18      Additional telephone conference with Locke Lord         KS               0.20          40,00
                regarding account statements,
 20-Nov-18      Telephone conference with Wellness Plan of America      KS               0,20          40,00
                regarding account information and assets held by
                institution,
 20-Nov-18      Telephone conference with Jeffrey Baskies regarding     KS               0,20          40.00
                account information and assets held by institution
 20-Nov-18      Telephone conference with Sarah Raggio at Locke         KS               0.20          40,00
                Lord regarding Receiver's request for account
                statements giving specific instructions and
                parameters
 20-Nov-18      Draft correspondence to Iberia Bank regarding           KS               0,20          40,00
                liquidating of account assets and instructions for
                same
 20-Nov-18      Telephone conference with Nicholas Leibham of           KS               0.30          60,00
                K&L Gates, counsel for Wellness Plan of America,
                regarding Receiver's request for account statements
                giving specific instructions and parameters
 20-Nov-18      Telephone conference with Wellness Plan of              KS               0,30          60.00
                America, Andrew Comitter, regarding Receiver's
                request for account statements giving specific
                instructions and parameters
 20-Nov-18      Telephone conference with Ethoca regarding              KS               0,20          40,00
                Receiver's request for account statements giving
                specific instructions and parameters
 20-Nov-18      Telephone conference with Credit One Bank               KS               0,30          60.00
                regarding Receiver's request for bank statements
                giving specific instructions and parameters
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 20-Nov-18      Telephone conference with Citibank regarding             KS               0.30          60,00
                Receiver's request for bank statements giving specific
                instructions and parameters
 20-Nov-18      Draft correspondence to Capital One Bank regarding       KS               0,20          40,00
                Receiver's instructions on request for bank statements
 20-Nov-18      Telephone conference with JPMorgan Chase Bank            KS               0,20          40.00
                regarding Receiver's request for bank statements
                giving specific instructions and parameters
 20-Nov-18      Telephone conference with Capital One Bank               KS               0,30          60.00
                regarding Receiver's request for bank statements
                giving specific instructions and parameters
 20-Nov-18      Telephone conference with Bank of America                KS               0,20          40,00
                regarding Receiver's request for bank statements
                giving specific instructions and parameters
 20-Nov-18                                                               JSR              2,40       1,140,00
                                 u tip e communications wi
                Goldberg and Abbate,
 20-Nov-18      Commence analysis of e-mails, prior motions, and         RBB              0,50         137.50
                case background in preparation of Motion to Direct
                Release of Funds to Receiver,
 21-Nov-18      Research case law in support of Motion to Direct         RBB              1,70         467.50
                Release of Funds,
 21-Nov-18      Continue analysis of prior pleadings, attorney notes,    RBB              4.10       1,127,50
                emails, and order in furtherance of Motion to Direct
                Turnover of Funds,
 21-Nov-18      Multiple communications with                             JSR              0.60         285,00

 21-Nov-18     Download and organize voluminous scanned records          KAS              2,00         400.00
               from FTC,
 21-Nov-18     Confer with Robbins on                                    KAS              0.20          40,00
 21-Nov-18     Receipt and review of correspondence from Bank of         KAS              0,10          20,00
               America in response to TRO,
 21-Nov-18     Attended meeting and reviewed documents at Simple         MIG              1.80         855.00
               Health's offices,
 25-Nov-18     Continue draft of Motion to Direct Turn Over of           RBB              1,20         330.00
               Settlement Funds.
 26-Nov-18     Continue draft of Motion to Direct Turn Over of           RBB              4.20       1,155,00
               Settlement Funds.
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 26-Nov-18      Communicate with                                         JSR              0.60         285.00

 26-Nov-18      Draft correspondence to Kapila Mukinial regarding        KS               0,20          40,00
                receipt of account statements of assets for accounting
                purposes.
 26-Nov-18      Draft correspondence to JPMorgan Chase regarding         KS               0,30          60,00
                specific requests of Review regarding account
                statements pursuant to the TRO,
 26-Nov-18      Review and analyze statements received from TD           KS               0.40          80,00
                Ameritrade in response to Receiver request for all
                account statements pursuant to the TRO,
 26-Nov-18      Several telephone conferences with JPMorgan Chase        KS               0,40          80,00
                regarding Receiver request for all account statements
                pursuant to the TRO.
 26-Nov-18      Telephone conference with TD Ameritrade regarding        K5               0,30          60,00
                Receiver request for all account statements pursuant
                to the TRO,
 26-Nov-18     Revise and update asset chart, bank statement hart        KS               0,30          60,00
               and accounting chart for use of Receiver to track
               assets.
 26-Nov-18     Telephone conference regarding accounting of assets       KS               0,20          40.00
               held by Receiver,
 26-Nov-18     Telephone conference with TD Ameritrade regarding         KS               0,30          60,00
               electronic transfer of account statements from FTP
               site and list of assets,
 26-Nov-18     Review and respond to email communications with           KS               0,20          40,00
               FTC regarding Asset Freeze Letter responses and list
               of assets.
 26-Nov-18     Review and respond to numerous email                      KS               0.20          40.00
               communications regarding account information for
               accounts at Wells Fargo Management and Wells
               Fargo Advisors,
 26-Nov-18     Telephone conference regarding accounts and               KS               0,30          60.00
               amounts at Wells Fargo Management and Wells
               Fargo Advisors,
 26-Nov-18     Corresponded with Gashoni re documents,                   MIG              0,20          95,00
 26-Nov-18     Confer with K. Shinder regarding bank responses to        KAS              1,00        200.00
               asset freeze; Update chart; Correspond with account
               regarding same; Confer with Receiver regarding bank
               document requests.
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 26-Nov-18      Review correspondence                                      KAS              0,30          60,00


 27-Nov-18      Confer with paralegal regarding bank statement             KAS              0,30          60,00
                requests and provide instructions.
 27-Nov-18      Confer with K. Shinder regarding Locke Lord                KAS              0,30          60,00
                response to document request; Review production
                and provide instruction on additional documents
                needed.
 27-Nov-18      Conference with K. Shinder regarding further action        KAS              0,20          40,00
                to be taken with Banco Popular to acknowledge
                TRO,
 27-Nov-18      Review and revise draft letter to Banco Popular;           KAS              0,60         120,00
                Multiple conferences with paralegal regarding
                repitration of assets from Dominican Republic,
 27-Nov-18      Correspond with e-discovery vendor regarding               KAS              0,50         100.00
                project,
 27-Nov-18      Review and respond to several email communications         KS               0.20          40.00
                with FTC 111111111111111111111111111.1=
 27-Nov-18      Telephone conference with Locke Lord regarding             KS               0,40          80,00
                Receiver's request for account statements.
 27-Nov-18      Draft email correspondence to Locke Lord regarding         KS               0,10          20.00
                Receiver's request for account statements.
 27-Nov-18      Analysis of TRO regarding foreign assets and draft         KS               0.50         100.00
                correspondence to Banco Popular regarding their
                violation of TRO by failing to respond to TRO and
                repatriate funds to the United States.
 27-Nov-18      Telephone conference with First Progress Card              KS               0,40          80.00
                regarding their violation of TRO by failing to respond
                to TRO and provide accounting.
 27-Nov-18      Review and respond to several email communications         KS               0,20          40.00
                from TD Ameritrade regarding assets and account
                amounts,
 27-Nov-18      Telephone conference with Nathaniel Al-Najar at the         KS              0,20          40,00
                FTC regarding assets and account amounts; entities
                who have failed to respond to the asset freeze letter to
                date,
 27-Nov-18      Revise and update asset chart, bank statement chart         KS              0,40          80.00
                and accounting chart for use of Receiver to track
                assets,
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 27-Nov-18        Research regarding                                    KS               0.50         100,00

 27-Nov-18        Review and analyze documents received from Bank       KS               0,30          60,00
                  of America in response to Receiver request for bank
                  statements,
 27-Nov- I 8      Draft email communication to Bank of America          KS               0,20          40,00
                  regarding additional documents needed by Receiver
                  after review of documents sent in response to
                  Receiver' request for bank statements.
 27-Nov-18        Telephone conference with JPMorgan Chase              KS               0,50         100,00
                  regarding account statements, request for extension
                  of time to respond to Receiver's request for bank
                  statement an scope of work needed by Receiver.
 27-Nov- I 8      Commence research                                     RBB              1,20         330,00




 28-Nov-18                                                              RBB              0.30          82.50



 28-Nov-18        Continue analysis of case law                         RBB              0.90         247,50




 28-Nov-18        Telephone conference with JPMorgan Chase              KS               0,30          60,00
                  regarding bank account statement request by
                  Receiver
 28-Nov-18        Revise correspondence to Banco Popular regarding      KS               0.20          40.00
                  violation of TRO.
 28-Nov-18        Telephone conference with First Progress ,Card        KS               0,40          80.00
                  regarding violation of TRO,
 28-Nov-18                                                              JSR              1,80         855,00



 28-Nov-18        Work on preparing inventory. Of assets for Oakwood    K AS             5,50       1,100.00
                  location
 28-Nov-18        Review and revise demand letter to Banco Popular,     JML              0.20          95,00
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 29-Nov-18        Research and investigate                                 KAS              5,00       1,000.00



 29-Nov-18        Continue to work on Oakwood Inveptory,                   KAS              1.20         240.00
 29-Nov-18        Corresponded With Gerstoni re discovery:,                MIG              0,40         190,00
 29-Nov-18        Telephone conference with WMOrgan Chase :                KS               0,30          60.00
                  regarding update to Receiver's requeSt for all account
                  statements of all bank accounts held by institution,
 29-Nov-18                                                                                  3.60         990.00




 30-Nov-18        Finalize draft of Motion to Direct Turnover of Funds     RBB              2.70         742,50
                  for review by partner.
 30-Nov-18        Revise and update asset chart, bank statement chart      KS               0.20          40.00
                  and accounting chart for use of Receiver to track
                  assets,
 30-Nov-18        Telephone conference with WMorgan Chase                  KS               0.20          40,00
                  regarding time frame and type of documents
                  responsive to Receiver's Request for bank statements,
 30-Nov-18        Telephone conference with First Progress Card            KS               0.30          60.00
                  regarding violation of TRO,
 30-Nov-18        Study and review QBE claim response. Communicate         JSR              0,90         427.50
                  with Goldberg re: same,
 30-Nov-18        Conference re commissions and receivables.               MIG              0.50         237.50
 3-Dec-18         Revise and update asset chart, bank statement chart      KS               0.30          60.00
                  and accounting chart for use of Receiver to track -
                  assets,
 3-Dec-18         Telephone conference with general counsel for First      KS               0,30          60,00
                  Progress Card regarding information on account held
                  by them subject to the TRO,
 3-Dec-18         Telephone conference with supervisor at First            KS               0.30          60,00
                  Progress Card, regarding failure to comply with TRO
                  and escalation of request by Receiver for information.
 3-Dec-18         Telephone conference with First Progress Card            KS               0.30          60.00
                  regarding failure to comply with TRO,
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 3-Dec-18      Telephone conference with JPMorgan Chase                KS               0.20          40.00
               regarding bank account statements for all accounts
               subject to the TRO.
 3-Dec-18      Telephone conference with JPMorgan Chase                KS               0,30          60,00
               regarding bank account statements for all accounts
               subject to the TRO.
 4-Dec-18                                                              KS               0.40          80.00



 4-Dec-18      Telephone conference with JPMorgan Chase                KS               0,40          80.00
               regarding opening and closing dates of all accounts
               held historically or currently by Chase Bank that are
               subject to the TRO,
 4-Dec-18                                                              KS               0.20          40,00



 4-Dec-18      Review and respond to several email communications      KS               0.20          40,00
               with First Progress Card regarding assets held and
               account information of accounts subject to the TRO.
 4-Dec-18      Telephone conference with First Progress Card           KS               0.20          40.00
               regarding account information of accounts subject to
               the TRO.
 4-Dec-18      Call with                                               KAS              0,20          40.00

 4-Dec-18      Correspond with Receiver regarding Dorfman's            KAS              0,50         100,00
               requirements under the TRO to repatriate accounts
               outside of US,
 4-Dec-18      Follow up on status of Banco Popular freeze of          KAS              0.50         100,00
               Defendant's accounts.
 4-Dec-18      Confer with N. Surgeon regarding Homer Bonner           KAS              2,00         400,00
               production; Upload and process records for Relativity
               and FileSite; Confer regarding Defendants document
               production request,
 5-Dec-18      Confer with K. Shinder regarding Wellness Plan of       KAS              0,10          20.00
               America.
 5-Dec-18      Communications regarding bank assets.                   KAS              0.70         140.00
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 5-Dec-18      Draft document control index of chronology of            KS               0,80         160,00
               document production of records seized or produced
               by the parties or third parties to track documents and
               assets for use by the Receiver in discovery and case
               management.
 5-Dec-18      Draft correspondence to bank institutions the            KS               0,50         100,00
               Receiver requested bank statements from regarding
               extension of preliminary hearing and extension of
               TRO,
 5-Dec-18      Communicate with and work with Kapila Mukirnal,          KS               0,80         160,00
               outside accountants appointed in case, concerning
               forensic review of bank statements and accounting
               documents.
 5-Dec-18      Additional telephone conference with Wells Fargo         KS               0.20          40.00
               regarding bank statements of all accounts subject to
               the TRO and response letter to Asset Freeze from
               Wells Fargo Advisors,
 5-Dec-18                                                               KS               0.40          80.00



 5-Dec-18      Additional telephone conference with Wellness Plan       KS               0,20          40,00
               of America regarding details of account
               statements/records concerning amounts held by them
               subject to the TRO,
 5-Dec-18      Additional telephone conference with Locke Lord          KS               0.30          60.00
               regarding details of firm trust account records
               concerning amounts held by Finn subject to the TRO.
 5-Dec-18      Review and analyze documents and statements from         KS               0,40          80,00
               Wellness Plan of America for all accounts subject to
               the TRO.
 5-Dec-18      Telephone conference with Nicholas Leibham at            KS               0,30          60,00
               Wellness Plan of America regarding status of
               Receiver's request for account statements of all
               accounts subject to the TRO
 5-Dec-18      Review and respond to several email communications       KS               0.20          40,00
               with Iberia Bank regarding status of Receiver's
               request for bank statements of all accounts subjea to
               the TRO.
 5-Dec-18      Several telephone conferences with Iberia Bank           KS               0.40          80,00
               regarding bank statements of all accounts subject to
               the TRO.
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 5-Dec-18      Telephone conference with Locke Lord regarding           KS               0,30          60,00
               bank statements of all accounts subject to the TRO,
 5-Dec-18      Telephone conference with TD Aineritrade regarding       KS               0.20          40,00
               bank statements of all accounts subject to the TRO,
 5-Dec-18      Telephone conference with Wells Fargo regarding          KS               0,30          60.00
               bank statements of all accounts subject to the TRO.
 5-Dec-18      Review asset freeze letters, Draft correspondence to     NSS              1,80         855,00
               opposing counsel on issues related to freeze.
 6-Dec-18      Revise and update asset chart, bank statement chart      KS               0,20          40,00
               and accounting chart for use of Receiver to track
               assets,
 6-Dec-18      Draft correspondence to Kapila Mukimal regarding         KS               0.10          20,00
               bank records received from Iberia Bank for account
               statements of all accounts subject to the TRO,
 6-Dec-18      Review and analyze bank records received from            KS               0.30          60,00
               Iberia Bank for account statements of all accounts
               subject to the TRO,
 6-Dec-18      Telephone conference with Iberia Bank regarding          KS               0,20          40.00
               status of Receiver's request for account statements of
               all accounts subject to the TRO,
 7-Dec-18      Communicate with and work with the FTC regarding         KS               0,30          60.00
               assets held at Banco Popular for all accounts subject
               to the TRO,
 7-Dec-18      Review and analyze documents from Banco Popular          KS               0.20          40.00
               regarding account information for all accounts
               subject to the TRO,
 7-Dec-18                                                               KS               1,30         260,00




 7-Dec-18      Review and respond to Banco Popular,                     NSS              0,70        332,50
 7-Dec-18      Work on record keeping and updating inventory;           KAS              1.30         260,00
               Confer with A. McLaughlin on related matters,
 7-Dec-18      Review correspondence from Banco Popular in              KAS              0,10          20,00
               response to asset freeze,
 7-Dec-18      Correspond with team regarding Banco Popular             KAS              0,40          80,00
               response.
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 10-Dec-18      Review and respond to email cOmmunicat on with           KS               0,20          40,00
                Locke Lord regarding TRO.
 10-Dec-18                                                               KS               0,30          60.00



 10-Dec-18      Draft correspondence and provide link to Kapila          KS               0.20          40,00
                Mukimal to access bank statements received from
                JPMorgan Chase Bank in response to Receiver's
                request for all bank statements subject to the TRO.
 10-Dec-18      Review, analyze and organize three boxes of bank         KS               0.80         160,00
                statements received from JPMorgan Chase Bank in
                response to Receiver's request for all bank statements
                subject to the TRO,
 10-Dec-18     Draft correspondence and provide link to Kapila           KS               0,20          40.00
               Mukimal to access bank statements received from
               Wells Fargo Bank in response to Receiver's request
               for all bank statements subject to the TRO.
 10-Dec-18     Review and analyze documents received from Wells          KS               0,40          80.00
               Fargo bank in response to Receiver's request for all
               bank statements subject to the TRO,
 10-Dec-18     Additional telephone conference with Wells Fargo          KS               0,20          40.00
               regarding bank statements of all accounts subject to
               the TRO,
 10-Dec-18     Telephone conference with JPMorgan Chase                  KS               0,20          40.00
               regarding bank statements of all accounts subject to
               the TRO,
 10-Dec-18     Telephone conference with Wells Fargo and Wells           KS               0.30          60.00
               Fargo Advisors bank/account statements of all
               accounts subject to the TRO,
 10-Dec-18     Draft correspondence to Wells Fargo Advisors              KS               0.10          20,00
               regarding bank/account statements of all accounts
               subject to the TRO,
 10-Dec-18     Draft correspondence to Wells Fargo Bank regarding        KS               0,20          40,00
               bank statements of all accounts subject to the TRO,
 10-Dec-18                                                               KS               1,40        280,00




 11-Dec-18     Telephone conference with Wells Fargo regarding           KS               0,20          40.00
               TRO,
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 11-Dec-18       Review and respond to email communication from            KS               0,10          20,00
                 Locke Lord regarding TRO,
 11-Dec-18       Review and respond to email communication from            KS               0.10          20,00
                 Kapila Mukimal regarding bank statements and assets
                 of Plaintiffs,
 11-Dec-18                                                                 KS               0,20          40.00



 11-Dec-18       Review, analyze and organize additional bank              KS               0.60         120.00
                 statements received from Wells Fargo Advisors for
                 all accounts subject to the TRO.
 11-Dec-18       Update and revise inventory assets and documents of       KS               1.40         280,00
                 Hollywood location of Simple Health,
 11-Dec-18       Telephone conference with FPL regarding cash only         KS               0.60         120.00
                 account status of three property accounts of Plaintiffs
                 and turnover of accounts to receiver for all locations.
 11-Dec-18       Draft proposed Order on Motion to Direct Turnover         RBB              0.20          55,00
                 of Settlement Proceeds.
 12-Dec-18       Draft correspondence to RoboVault with instructions       KS               0,20          40.00
                 for changing over account to Receiver concerning
                 storage charges of Defendant's three vehicles,
 12-Dec-18       Draft correspondence and link to access documents to      KS               0.20          40.00
                 Kapila Mukimal regarding additional bank records
                 received from JPMorgan Chase in response to
                 Receiver's request for all bank statements subject to
                 the TRO.
 12-Dec-18       Review, analyze and organize additional bank              KS               0.60         120.00
                 records received from JPMorgan Chase in response
                 to Receiver's request for all bank statements subject
                 to the TRO,
 13-Dec-18       Telephone conference JPMorgan Chase regarding             KS               0,30          60.00
                 extension of Preliminary Hearing and update as to
                 TRO.
 13-Dec-18       Telephone conference with Locke Lord regarding            KS               0.30          60.00
                 extension of Preliminary Hearing and update as to
                 TRO,
 13-Dec-18       Telephone conference with Wells Fargo Bank                KS               0.20          40,00
                 regarding extension of Preliminary Hearing and
                 update as to TRO.
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 13-Dec-18      Telephone conference ins with TD Bank regarding       KS               0.30          60,00
                extension of Preliminary Hearing and update as to
                TRO.
 13-Dec-18      Telephone conference with FPL regarding removing      KS               0.40          80,00
                restrictions to three FPL accounts held by the
                Receiver in the name of Simple Health.
 13-Dec-18      Draft revisions to Homer Bonner motion,               NSS              2,30       1,092,50
 17-Dec-18      Telephone call and communicate with Florida Power     KS               0.30          60.00
                and Light regarding three offices billing.
 17-Dec-18      Revise and update Oakwood inventory spreadsheet       KS               3,80         760,00
                detailing additional assets for recovery by the
                Receiver
 18-Dec-18      Inventory additional assets at Hollywood office for   KS               6,50       1,300,00
                recovery by the Receiver,
 19-Dec-18      Revise and update Oakwood inventory spreadsheet       KS               3,10         620.00
                detailing additional assets for recovery by the
                Receiver.
 20-Dec-18      Revise and update Oakwood inventory spreadsheet       KS               2,60         520,00
                detailing additional assets for recovery by the
                Receiver.
 20-Dec-18      Inventory additional assets at Hollywood office for   KS               4.70         940.00
                recovery by the Receiver.
 21-Dec-18      Revise and update Oakwood inventory spreadsheet       KS               4.30         860.00
                detailing additional assets for recovery by the
                Receiver.
 3-Jan-19                                                             JSR              0,30         142,50
 3-Jan-19       Revise Oakwood inventory spreadsheet detailing        KS               0,40          80,00
                assets seized,
 8-Jan-19       Reviewed LJBS documents received from Wells,          MIG              0.70         332,50
 9-Jan-19                                                             KAS              0.20          40,00 '



 17-Jan-19      Go to Pompano Warehouse to inspect same; Confer       KAS              2.00         400,00
                with Receiver on matter,
 18-Jan-19                                                            MIG              1,00         475,00
 22-Jan-19                                                            MIG              0.20          95,00
 22-Jan-19                                                            MIG              0.40        190,00
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 22-Jan-19      Prepare email                                          KAS              0.10          20,00
                attachment,
 22-Jan-19      Communications with Receiver                           KAS              0.20          40.00
 23-Jan-19      Conference with                                        MIG              0,20          95,00
 24-Jan-19      Review and discus                         ith          KAS              0,20          40,00
                Receiver,
 24-Jan-19      Multiple conferences regarding forensic review of      KAS              0,40          80.00
                hard drive.
 24-Jan-19      Telephone conference with Cole re:                     JSR              0.40         190.00

 25-Jan-19      Communicate with Cole re:                              JSR              0.20          95,00
 26-Jan-19      Prepare memo to Receiver regarding Pompano             KAS              0.40          80,00
                Storage,
 28-Jan-19      Confer regarding Pompano Warehouse inspection,         KAS              0,20          40,00
 28-Jan-19      Meet with S. Dorfman and his counsel at Pompano        KAS              2,50         500,00
                Warehouse to view and inspect contents; Follow up
                with Receiver regarding status of inspection,
 28-Jan-19      Call with vendor regarding analysis of hard drive.     KAS              0,20          40,00
 29-Jan-19      Correspond with former employee regarding              KAS              0,10          20,00
                employment letter.
 30-Jan-19      Prepare revised draft of motion to turn over           NSS              1,20         570,00
                settlement funds,
 1-Feb-19       Reviewed documents received from Wells.                MIG              0,30         142,50
 5-Feb-19       Correspond with N. Surgeon regarding Dorfman           KAS              0,50         100,00
                personal property; Contact RoboVault regarding
                Dorfman's golf clubs,
 11-Feb-19      Prepare for and attend conference call with Roselike   JSR              0,70         332.50
                (Phelps Dunbar) and Cole to discuss appearance in
                case, claims, coverage issues.
 12-Feb-19      Composed email to Surgeon, Nairn:                      KAS              0,10          20.00

 13-Feb-19      Work on re-establishing intemet connectivity with      KAS              3,90         780,00
                both Comcast and AT&T at Oakwood offices for
                purposes of conducting searches in response to
                Defendant's discovery requests,
 13-Feb-19      Communicate with Goldberg re:                          JSR              0.40         190.00
 22-Feb-19      Corresponded with Pave and Robbins re return of car    MIG              0.30         142.50
                and release.
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 28-Feb-19      Finalize motion to turn over settlement funds, Confer   NSS              1,90         902.50
                with vendor regarding payroll service,
 1-Mar-19       Reviewed turnover motion,                               MIG              0,30         142,50
 7-Mar-19       Finalize and file motion to turnover stt1ement funds    NSS              2,40       1,140.00
                and proposed order.
 13-Mar-19      Communicate with Goldberg                               JSR              0,30         142,50

 15-Mar-19      Multiple communications with                            JSR              0,90         427.50
                Levit and Smiley re: auto
 18-Mar-19      Multi le communications with Smiley, Goldberg and       JSR              0.40         190.00

 18-Mar-19      Conference with Birnbaum re HII receivable,             MIG              0,40         190,00
 19-Mar-19      Multiple communications with Goldberg, Smiley and       JSR              0.40         190.00
                Fiorentino re:
 20-Mar-19     Analyze account statement from JP Morgan                 KAS              0,50         100,00
               regarding Simple Insurance Leads LLC and contact
               bank regarding improper offset from account despite
               asset freeze.
 20-Mar-19     Receive funds from HII and prepare escrow deposit        KAS              0.40          80,00
               form regarding commissions on business sold by
               Simple Health; Update chart.
 26-Mar-19     Review responsive documents from Daskall Bolton          KAS              0.50         100.00
               accountants; Prepare and send copy of prior years tax
               returns to Receiver's accountants,
 26-Mar-19     Finalize and send asset freeze /document request         KAS              0,40          80.00
               letter to Daskall Bolton Accountant and Advisors.
 26-Mar-19     Corresponded with Melissa Davis re forensic analysis     MIG              0.30         142.50
               on commingling and dissipation.
 29-Mar-19     Review cones' ondence and follow up with                 KAS              0.30          60.00
                                               J. Robbins and NI,
               Goldberg.
 29-Mar-19                                                              JSR              0,30         142,50

 29-Mar-19       onter witthird-party
                          h            counsel regarding motion to      NSS              0,90        427,50
               turnover funds and logistics for responding to the
               motion.
 1-Apr-19      Multiple communications with Goldberg and                JSR              0.40        190.00
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 1-Apr-19       Review correspondence regarding                       KAS              0,10          2000
                                                                                                       .
 3-Apr-19       Review and revise letter to Miami Dade Tax            KAS              0,40          80,00
                Collector regarding TRO, '
 3-Apr-19       Confer with counsel for Plaintiff in TCPA case        NSS              0,50         237,50
                regarding Receiver's motion to turnover settlement
                funds.,,
 8-Apr-19       Review bank records from Iberia Bank for              KAS              0.70         140,00
                information pertaining to commission payments.
 11-Apr-19      Multiple communications with Goldberg and             JSR              0.60         285.00

 15-Apr-19      Research                                         H    RBB              1,60         440,00

 16-Apr-19      Multiple communications with                          JSR              0.30         142.50

 17-Apr-19      Reviewed UBS documents,                               MIG              0.20          95,00
 19-Apr-19      Receipt and reviewvv of opposition motion to          KAS              0.20          40.00
                Receiver's motion to direct turnover of funds.
 19-Apr-19      Analyze Opposition to Receiver's Motion for           RBB              0.70         192.50
                Turnover of Settlement Funds.
 22-Apr-19      Receipt and review of A. Hick's Memorandum of         KAS              0,20          40,00
                Law in Opposition to Receiver's Motion for Order
                Directing Homer Bonner Jacobs PA to turn over
                Settlement Funds to Receiver,
 23-Apr-19     Commence research ISO Reply to Hicks' Response in      RBB              1.50         412.50
               Opposition to Receiver's M Direct Turnover of
               Funds,
 23-Apr-19     Review cases cited in Hicks response. Confer           NSS              0,90         427,50
               regarding reply,
 24-Apr-19     Commence research of case law.and                      RBB              5,00       1,375,00
               contemporaneous draft of Reply, to Hick's Opposition
               to Receiver's M Turnover of Funds.
 25-Apr-19     Continue research of case law and contemporaneous      RBB              7.20       1,980.00
               draft of Reply to Opposition filed by Hicks.
 25-Apr-19     Telephone call with Bank United regarding status of    KAS              0.20          40,00
               TRO,
 8-May-19      Multiple communications with Cole and Goldberg re:     JSR              0,30        142,50

 4-Jun-19      Corresponded rellMill                                  MIG              0.30        142.50
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 7-Jun-19        Multi le communications with Goldber , Smiley and      JSR                0.30         142.50

 11-Jun-19                                                              JSR                0,20          95.00
 19-Jun-19                                                              KAS                0,20          40,00

 24-Jun-19                                                              JSR                0,50         237,50

 27-Jun-19                                                              JSR                0,40         190,00



                        Subtotal for Code 501 ASSET ANALYSIS AND                         288,10      84,565,00
                                         RECOVERY

 Task Code:      502 ASSET DISPOSITION
 2-Nov-18        Prepare memo regarding Dallas immediate access         MDN                3.30       1,567.50
                 (2.5); Correspond with M Goldberg re teiminating
                 subleases on Dallas offices (0,3); Correspond with J
                 Allen re sublease and furniture in 5720 LBJ office
                 (0,2); review sublease for 12005 Ford office (0,3),
 2-Nov-18        Close Doral location. Work with GoDaddy to resolve     NSS                3.90       1,852,50
                 issues with website.
 5-Nov-18        Confer with FTC. Confer with web hosting counsel       NSS                1,90         902,50
                 regarding website takedown,
 5-Nov-18        Conference with Weinstein re Kimko lease,              MIG                0.20          95,00
 5-Nov-18        Conference with landlord re lease.                     MIG                0,20          95,00
 5-Nov-18        Conference with Davis re HII,                          MIG                0,30         142,50
 5-Nov-18        Reviewed documents re HIT.                             MIG                1.40         665,00
 6-Nov-18        Conference with N. Surgeon re websites.                MIG                0,20          95,00
 6-Nov-18        Conference with Weinstein re landlord,                 MIG                0.30         142.50
 6-Nov-18        Numerous correspondence re websites.                   MIG                0,40         190.00
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 6-Nov-18      Review updates from FTC on asset freeze response       KAS              5,50       1,100.00
               from EVO; Call with government regarding
               subpoena; Call with B. Martin, In-House Counsel to
               Flexential regarding compliance with asset freeze
               order and Receiver's demands; Call with Wells Fargo
               regarding as set freeze; Prepare update to FTC;
               Attend status call with FTC, Receiver and Surgeon;
               Update to-do list with follow up items; Review
               correspondence from JP Morgan Chase in response to
               asset freeze. Review materials regarding
                              Confer with Receiver regarding
                 ompano Storage Unit; Call with Levit regarding 754
               filings; Confer regarding Brickell property
               ownership; Work on creating voice recording for
               phone line at Simple Health's office; Confer with J.
               Levit regarding Montana litigation; Spo ke with
               Landlord for Pompano Storage and prepare and send
               asset freeze letter; Review correspondence from
               counsel regarding Oakwood shopping center lease.
 6-Nov-18      Confer with FTC regarding updates.                     NSS              0,80         380.00
 7-Nov-18      Communicate with                                       JSR              0,80         380,00
               Communicate with Rehmatwala re: sale of vehicles
               and apartment. Research re: ownership of ICON
               apartment.
 7-Nov-18      Meet with roofing company at Oakwood office to         KAS              3,80         760,00
               inspect damage caused to ceiling tile and assess
               whether any additional damage incurred; Meet with
               B. Travitz, Facilities Manager, to obtain personal
               tools and equipment in Suite 125; discuss facility
               operations and inspect property.
 7-Nov-18      Confer with K, Abbate regarding condition of           JML              0,30         142,50
               premises,
 8-Nov-18      Confer with GoDaddy and FTC regarding website          NSS              2,60       1,235,00
               shutdown and other matters related to web presence
               of receivership entities,
 9-Nov-18      Met with Locksmith at Oakwood office to secure         KAS              3,80         760.00
               Suite 125; Met with former facilities manager to
               supervise remove personal tools, etc from Suite 125;
               Meet with J. Brewer from Advantage Roofing to
               assess damage cause to ceiling in Suite 125; Work on
               website update.
 9-Nov-18      Corresponded with N. Surgeon re websites.              MIG              0,20          95,00
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 12-Nov-18      Review multiple correspondence regarding access to   JML              0,20          95,00
                leased premises and prepare response,
 12-Nov-18      Review email and call with Sighla Finazzo of Kimco   KAS              0.20          40,00
                regarding showing property to prospective tenant.
 12-Nov-18      Calls with Flexential representatives and FTC        KAS              0,40          80,00
                regarding site visit.
 12-Nov-18     Work with realty company regarding showing office     KS               0.40          80,00
               space to potential prospects,
 12-Nov-18      Telephone conference with Sighla Finazzo regarding   KS               0,30          60.00
                office space of Simple Health,
 12-Nov-18     Review and respond to numerous email                  KS               0,30          60,00
               communications from Kimco regarding
               property/offices of Simple Health.
 13-Nov-18     Telephone conference with KimCo Realty regarding      KS               0,30          60,00
               leased premises of Simple Health Plans LLC and
               related entities.
 13-Nov-18     Correspond with Kimco regarding property showing.     KAS              0,10          20,00
 13-Nov-18     Conference with Birnbaum re HII.                      MIG              0,40         190,00
 14-Nov-18     Corresponded with N. Surgeon re websites.             MIG              0.20          95,00
 14-Nov-18     Corresponded with Abbate re Quickbooks and bond.      MIG              0.30         142,50
 14-Nov-18     Corresponded with employee re personal items.         MIG              0.30         142,50
 14-Nov-18     Corresponded with Abbate re Sand.                     MIG              0,10          47.50
 14-Nov-18     Corresponded with Sand re personal property.          MIG              0.10          47.50
 14-Nov-18     Read email from aseem,gupta@salesforce,com: Re:       KAS              0,10          20.00
               Asset Freeze Letter - Salesforce,
 14-Nov-18     Call with Kimco realty regarding appointment.         KAS              0,10          20,00
 14-Nov-18     Telephone conference with Carol Cowan of Kimco        KS               0.30          60.00
               regarding showing of premises of Simple Health
               Plans LLC and related entities
 14-Nov-18     Review and respond to email communication from        KS               0,10          20,00
               Kimco regarding real estate premises of Simple
               Health Plans LLC and related entities
 16-Nov-18     Correspond with M Goldberg re subleases on Dallas     MDN              0.20          95,00
               office space,
 16-Nov-18     Communications with Y. Pineiro regarding Unicorn      KAS              0.20          40.00
               Platform and meeting.
 16-Nov-18     Call with B, Traitz regarding facilities issues,      KAS              0.20         40.00
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 16-Nov-18      Call with Kimco representatives regarding property    KAS              0,10          20,00
                showing.
 16-Nov-18      Review correspondence from Mrs counsel in             KAS              0,30          60,00
                response to asset freeze,
 16-Nov-18      Review correspondence from The Odoud Law Fiim         KAS              0.20          40.00
                regarding Health Benefits One default of sublease
                with Credit Protection Association, L.P.
 16-Nov-18      Call with FPI, to put on notice of TRO and change     KAS              0.90         180,00
                over accounts to Receiver; Change login credentials
                online,
 16-Nov-18      Conference with team with Weinstein re landlord.      MIG              0.10          47,50
 20-Nov-18      Conference with Yaniv Adar and Adam Schwartz re       MIG              0.30         142,50
                All Web,
 20-Nov-18      Telephone conference with Y. Pinero regarding         KAS              0.20          40.00
                gighub,
 20-Nov-18      Take possession of Matt Spiewack computer desktop     KAS              0.20          40,00
                received from Shiner Law Group.
 20-Nov-18      Telephone conference with Kimco Realty regarding      KS               0,20          40,00
                status of premises of Defendants
 21-Nov-18      Confer with GoDaddy regarding name server issue       NSS              1,40         665,00
                preventing all websites from being forwarded,
 21-Nov-18      Begin inventory of assets at Oakwood office; Meet     KAS              3,00         600,00
                with employee, T. Richards to remove personal
                belongings; secure premises.
 26-Nov-18      Correspond regarding Kimco lease,                     KAS              0,10          20,00
 26-Nov-18      Corresponded with Birnbaum re HII,                    MIG              0,30         142.50
 26-Nov-18      Confer with GoDaddy regarding final name              NSS              1,20         570,00
                forwarding issue,
 28-Nov-18      Telephone conference with Oakwood Business            KS               0,30          60.00
                Center regarding Simple Health office space,
 28-Nov-18      Telephone conference with Sighhla Finazzo at Kimco    KS               0,20          40.00
                Realty regarding leasing of office space held by
                Defendants,
 4-Dec-18       Confer with N, Surgeon regarding asset repatriation   KAS              0.40          80,00
                and assemble information.
 5-Dec-18       Confer with team regarding HIL                        KAS              0,20          40,00
 5-D ec-18      Review correspondence from Pave, Multiple             JSR              0,70         332,50
                communications with Pave re: Lamborghini,
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 6-Dec-18       Review IBFS Notice and discuss with Goldberg and     JSR              0,60         285,00
                Abbate (.2), Communicate with Pave (.2),
 7-Dec-18       Telephone conference with Kimco Realty regarding     KS               0,20          40,00
                Simple Health office space.
 7-Dec-18       Call with Kimco regarding property showing;          KAS              0.20          40.00
                coordinate same,
 10-Dec-18      Multiple communications with Goldber• and            JSR              0,40         190,00

 10-Dec-18      Multiple communications with Pave and Robovault      JSR              0.60         285.00
                re: leasing issues and condition of vehicles,
 11-Dec-18      Review multiple correspondence from Nicolas.         JSR              0.20          95,00
 11-Dec-18     Confer with GoDaddy sales about steps needing to be   NSS              0,80         380,00
               taken by receiver to preserve domains through
               hearing on TRO,
 12-Dec-18     Confer with counsel representing landlord of Doral    NSS              0,50        237.50
               location about status of property.
 12-Dec-18     Multiple communications with Pave re: lease. ,Study   JSR              0,80        380.00
               and review lease documents re: Lamborghini.
 12-Dec-18     Telephone conference with Kimco Realty regarding      KS               0,20          40,00
               potential leasing of Hollywood office space
 13-Dec-18     Corresponded with Gershoni and O'Quinn re Dallas      MIG              0.20          95.00
               lease and discovery,
 13-Dec-18     Corresponded with Napoli re Dallas lease,             MIG              0,10          47,50
 18-Dec-18     Confer with counsel regarding vehicles,               JML              0,30        142,50
 19-Dec-18     Multiple communications with Pave and Goldberg re:    JSR              0.80        380.00
               car issue and review documents from Pave,
 19-Dec-18     Telephone conference with VA Leasing Company          KS               0,30          60.00
               regarding Defendant's Lamborghini lease.
 20-Dec-18     Communicate with Pave re: vehicles. Communicate       JSR              0,60        285,00
               with Levit re: motion to turn-over,
 20-Dec-18     Review Vehicle Lease Agreement for Lamborghini,       JML              0,30        142.50
 20-Dec-18     Conference re Lamborghini,                            MIG              0.20          95,00
 21-Dec-18     Conference re closing warehouse,                      MIG              0,40        190.00
 21-Dec-18     Follow up regarding outstanding motions, review and   JML              2.40       1,140.00
               revise,
 21-Dec-18     Research                                              JML              2,30       1,092.50
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 28-Dec-18      Multiple communications with Pave,                      JSR              0.20          95,00
 2-Jan-19       Communicate with Kissane (.2). Confer with Abbate       JSR              0.40         190,00
                re: autos,
 2-Jan-19       Correspond with J Allen re status of receivership and   MDN              0,20          95,00
                claim for rent,
 2-Jan-19       Correspond with M Goldberg re motion to terminate       MDN              0,10          47,50
                leases,
 2-Jan-19       Correspond with J Allen and M Goldberg re               MDN              0,20          95,00
                termination of sublease,
 2-Jan-19       Dealt with Dallas lease issues,                         MIG              0,20          95.00
 4-Jan-19      Confer with N. Surgeon regarding returning leased        JML              0,30        142,50
               properties to landlords.
 4-Jan-19      Correspond with J Allen re sublease on 5720 LBJ          MDN              0.10          47,50
               Freeway.
 4-Jan-19      Research and prepare motion for authority to             MDN              2,50       1,187,50
               terminate Dallas office leases,
 4-Jan-19      Correspond with L O'Dowd re Ford Road sublease.          MDN              0.10          47.50
 7-Jan-19      Prepare motion for leave to terminate Dallas leases,     MDN              0,40        190,00
 7-Jan-19      Multiple communications with Pave re: Lamborghini.       JSR              0,20          95,00
 8-Jan-19      Prepare motion to terminate subleases.                   MDN              0,50        237,50
 8-Jan-19      Review email from Napoli regarding 5720 Midtown          KAS              0.10         20,00
               sublease agreement.
 9-Jan-19      Corresponded with O'Quinn re cars and leases.            MIG              0.40        190.00
 9-Jan-19      Conference with Surgeon re leases and other issues,      MIG              0.30        142.50
 10-Jan-19     Confer with A, McLaughlin regarding Doral                KAS              010          20.00
               inventory.
 17-Jan-19     Multiple communications with Pave and Goldberg re:       JSR              0,40        190,00
               VA Leasing claims.
 18-Jan-19     Review multiple correspondence and make revisions        JML              2,90      1,377.50
               to motion to terminate lease.
 23-Jan-19     Review Receiver's comments to Motion to Cancel           JML              230       1,092.50
               Vehicle Lease and additional documents provided by
               Lessor and revise Motion; Prepare proposed Order
               approving Motion; and prepare follow up
               correspondence to Receiver,
 23-Jan-19     Review and discuss draft motion to turnover vehicle      KAS              0,20         40,00
               lease.
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 24-Jan-19      Follow up with Receiver regarding Motion to Cancel        JML              0,20          95,00
                Lease,
 25-Jan-19      Follow up with N. Surgeon regarding FTC's position        JML              0,30         142,50
                on Motion to Cancel Vehicle Lease and status of
                leased premises.
 26-Jan-19      Review of lease agreement for Pompano Storage to          KAS              0,20          40.00
                determine lease period and monthly payment.
 30-Jan-19      Conference with Pave re Lamborghini motion.               MIG              0,20          95,00
 31-Jan-19      Reviewed Lamborghini motion and conference with           MIG              0,30         142.50
                Levit re same.
 31-Jan-19      Corresponded with counsel for Lamborghini re              MIG              0.20          95,00
                motion.
 31-Jan-19      Review correspondence from Receiver; review and           JML              1.80        855,00
                revise Motion to Cancel Lease and proposed Order
                prior to filing; prepare follow up correspondence to
                Receiver,
 31-Jan-19      Communicate with RoboVault re: status of vehicles         JSR              0,70        332,50
                (.2). Review Receiver's Motion for Authority to
                Cancel Lease (.2), Multiple communications with
                Goldberg, Pave and Levit re: same (.3).
 1-Feb-19       Review Motion re: termination of lease and discuss        JSR              0,60        285,00
                with Pave and Goldberg.
 5-Feb-19       Correspond with M Goldberg re Texas leases,               MDN              0,10          47.50
 5-Feb-19       Confer with paralegal regarding Doral lease.              JML              0,10          47.50
 5-Feb-19       Revise Motion to Cancel Leases to include Doral           JML              1.40        665.00
                property, Review Doral lease and further revise
                motion,
 5-Feb-19       Review eviction case filed by landlord for Doral          JML              2.10        997,50
                property (.2); review court docket for information on
                case status (A); prepare Suggestion of Bankruptcy
                (.6); contact landlord's counsel regarding receivership
                stay (.2); review court docket in receivershi p case to
                update status of TRO (.7).
 5-Feb-19       Follow up regarding lease issues.                         JML              1.50        712.50
 5-Feb-19       Reviewed motion to terminate leases.                      MIG              0,30        142.50
 6-Feb-19       Revise Motion to Cancel Leases; prepare                   JML              1,80        855,00
                correspondence to N. Surgeon regarding additional
                information needed to finalize motion.
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 7-Feb-19       Review correspondence from Canteen Miami Service        KAS              0,20          40,00
                regarding return of equipment; Confer with Receiver
                on matter,
 8-Feb-19       Follow up regarding lease issues.                       JML              0,40         190.00
 8-Feb-19       Review motion to teiminate lease agreements.            NSS              0,80         380,00
 12-Feb-19      Conference with creditor re lease.                      MIG              0,10          47,50
 13-Feb-19      Dealt with lease issue.                                 MIG              0,20          95,00
 14-Feb-19      Confer with counsel regarding lease rejection motion,   JML              0,20          95,00
 15-Feb-19      Multiple telephone conferences with counsel for         JML              0,40         190,00
                Doral landlord.
 15-Feb-19      Review correspondence regarding filing Motion to        JML              0,30         142,50
                Cancel real property leases; prepare follow up
                correspondence to counsel for Doral landlord,
 15-Feb-19      Correspond regarding Pompano and Oakwood leases.        KAS              0,30          60.00
 15-Feb-19      Multiple communications with Pave re: lease             JSR              1,80         855.00
                termination and research re: same (.7). Review
                Phelps Dunbar correspondence and documents re:
                reservation of rights and exclusions (1,1),
 18-Feb-19      Confer with J. Levit regarding lease cancellations,     KAS              0,40          80,00
 18-Feb-19     Follow up with Receiver regarding turnover matters       KAS              0,30          60,00
               with regard to Pompano warehouse,
 18-Feb-19     Receive call from Landlord of Pompano Warehouse          KAS              0,30          60,00
               regarding lease turnover.
 18-Feb-19      Review lease motion.                                    JML              2,80       1,330,00
 18-Feb-19     Confer with paralegal regarding Hollywood and            JML              0,30         142,50
               Pompano properties,
 18-Feb-19     Review Lease Agreement and First Amendment for           JML              0,50         237,50
               Hollywood office for inclusion in Motion to
               Terminate Lease.
 18-Feb-19     Review Lease Agreement for Pompano Beach                 JML              0,30         142,50
               warehouse for inclusion in Motion to Cancel Leases.
 19-Feb-19     Work on issues relating to cancellation of leases.       JML              1,20         570.00
 19-Feb-19     Spoke with Pompano warehouse landlord regarding          KAS              0.40          80.00
               turnover options; Multiple communications with
               Receiver on matter,
 19-Feb-19     Meet with Landlord to discuss vacating space and         KAS              1,60        320.00
               removal of signage,
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 19-Feb-19      Correspond with Canteen Miami regarding                   KAS              0.30          60.00
                equipment,
 20-Feb-19      Conference with Receiver regarding Pompano lease.         KAS              0.20          40,00
 20-Feb-19      Review and revise motion to cancel leases; Confer         KAS              0.70         140,00
                with J, Levit re: same,
 20-Feb-19      Correspond with Kimco regarding Oakwood site              KAS              0,10          20,00
                visit.
 20-Feb-19      Review updated from Pompano Storage Landlord              KAS              0,20          40.00
                regarding prospective tenant; Confer with Receiver
                on matter,
 20-Feb-19      Work on issues regarding cancellation of leases;          JML              2,70       1,282,50
                confer with paralegal; review motion and prepare
                correspondence to Receiver.
 20-Feb-19      Conference with Pave re automobile,                       MIG              0,10          47,50
 20-Feb-19     Review motion to cancel non-residential leases,            NSS              0,80         380,00
 21-Feb-19     Study and review Motion and Order to Cancel Lease          JSR              0,70         332.50
               (.3), Multiple communications with Goldberg and
               Levit re: same (.2). Communicate with Pave re:
               logistics (.2).
 21-Feb-19     Conference with K. Smiley re leases and car,               MIG              0.20          95.00
 21-Feb-19     Prepare response to correspondence from landlord's         JML              0.20          95.00
               counsel for Dotal property.
 21-Feb-19     Review order to cancel vehicle lease; Confer with J,       KAS              0.40          80.00
               Robbins on matter.
 22-Feb-19     Visit Oakwood office to meet with vendor for               KAS              1,50        300.00
               equipment return,
 22-Feb-19     Multiple follow up conferences regarding leases,           JML              0,30        142,50
 22-Feb-19     Review Order granting motion to cancel vehicle lease       JML              1,30        617,50
               (.1); prepare Release and Hold Harmless Agreement
               (,9); multiple correspondence with Receiver
               regarding Agreement (,3),
 22-Feb-19     Corresponded with Weinstein re lease termination.          MIG              0,10          47.50
 22-Feb-19     Multiple communications with Goldberg, Levit, Pave         JSR              2,40       1,140.00
               and Justo re: lease termination (.7). Review and
               revise Release (,3). Meet with Justo at storage facility
               (1,4).
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 26-Feb-19      Travel to Oakwood office to meet with landlord and       KAS              3,20         640.00
                two prospective tenants to view premises; discuss
                terminating lease and sale of furnishings; Inspect and
                secure premises.
 27-Feb-19      Follow up regarding status of leased premises.           JML              0,20          95,00
 27-Feb-19      Review status of leaseholds and draft revisions to       NSS              2,30       1,092,50
                motion to cancel,
 28-Feb-19      Confer with Cotler regarding Vegas Property and          KAS              1.40         280,00
                putting cloud on title; Draft letters to property
                appraiser, water district and HOA regarding asset
                freeze; Call to HOA regarding payment.
 28-Feb-19      Conference with David Weinstein re Hollywood             MIG              0.20          95,00
                lease.
 1-Mar-19       Confer with A. Wamsley regarding placing lien on         CRC              0.40          80.00
                Las Vegas property; attend conference call with A.
                Stern on matter,
 1-Mar-19       Teleconference with Nevada attorney regarding lien       AJW              0.50        237.50
                issues; research Nevada lien issues.
 4-Mar-19       Receive call from J. Sooden, Landlord, Pompano           KAS              0,30          60,00
                Warehouse to discuss lease termination; Confer with
                Receiver on matter.
 4-Mar-19       Spoke with S. Finazzo, Kimco, regarding prosepctive      KAS              0,30          60,00
                tenant and lease termination,
 4-Mar-19       Strategy conferences with J. Levit and Receiver to       KAS              0,50        100,00
                discuss vacating leases; property clean out matters.
 4-Mar-19       Prepare cease and desist letter to B. Traitz regarding   KAS              0,60        120,00
                Pompano Storage Unit; Multiple conferences with
                Landlord, Receiver and Traitz on matter,
 5-Mar-19       Receive call from Summerin Homeowners                    KAS              0,90        180,00
                Association Master Association for Enclave
                regarding past due fees and property details; Place
                call to sub-association manager and leave detailed
                voicemail message regarding asset freeze order; Draft
                letter to sub-ass ociation,
 5-Mar-19       Communications with prospective tenant and Kimco         KAS              0,40          80,00
                regarding access to Oakwood offices and sale of
                furniture.
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 5-Mar-19       Telephone conferences with Summerlin and The           KAS              0.60         120,00
                Enclave homeowner's association regarding Nevada
                property; Draft asset freeze letter and send to The
                Enclave,
 5-Mar-19       Work on leave rejection matters,                       JML              1,20         570.00
 5-Mar-19       Reviewed lease motion.                                 MIG              0,20          95,00
 5-Mar-19       Confer with K. Smiley on matter and research Florida   CRC              0,60         120.00
                UCC Registry and Btoward County Public Records
                as to filed UCC Financing Statements and other
                recorded documents.
 7-Mar-19       Conference with N. Surgeon regarding Nevada            KAS              0,20          40.00
                property,
 7-Mar-19       Meeting with Stampler Auctions regarding Oakwood       KAS              0.90        180,00
                inventory,
 7-Mar-19      Receive all from Pompano Warehouse lease                KAS              0.50        100,00
               regarding cleanout and inspection; Draft email to
               landlord relinquishing property; Update chart re:
               same; Update Receiver on matter.
 7-Mar-19      Confer with Receiver regarding prospective tenant       KAS              0,30          60,00
               for Oakwood and status of Oakwood lease and
               motion to terminate lease,
 7-Mar-19      Conference with real estate paralegal to discuss        KAS              0,30          60.00
               research needed for UCC liens on furniture and
               fixtures at Oakwood needed to be determined prior to
               auction or sale.
 7-Mar-19      Multiple conferences with B. Traitz regarding           KAS              1,40        280,00
               Pompano warehouse clean out and inspection. Meet
               with B. Traitz to obtain hard drives from Pompano
               warehouse storage.
 7-Mar-19      Call with Stiles Corporation regarding showing of       KAS              0,80        160,00
               Oakwood property; Travel to Oakwood to meet with
               broker and prospective tenants,
 8-Mar-19      Correspond with Stumpier regarding auction.             KAS              0,30         60.00
 8-Mar-19      Corresponded re appraisal of FF&E.                      MIG              0,20         95,00
 11-Mar-19     Telephone conference with J. Soodeen, warehouse         KAS              0.50        100,00
               Landlord regarding finalization of teitnination of
               lease; Draft letter over Receiver's signature
               confirming same,
 12-Mar-19     Confer with N. Surgeon regarding Nevada property        KAS              0.20         40,00
               matters,
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 12-Mar-19       Analyze correspondence from L. Roberts of RPMG         KAS              0.60         120,00
                 regarding construction penalties charged on Nevada
                 property; Prepare follow up email.
 12-Mar-19       Meet with prospective tenant at Hollywood office to    KAS              2,30         460,00
                 view property and discuss purchase of furniture and
                 fixtures; Follow up with Kimco regarding lease,
 12-Mar-19       Finalize retainer with Stampler Auctions and           KAS              0,20          40,00
                 schedule inspection.
 13-Mar-19       Follow up on FPL deposit refund for Pompano            KAS              0,20          40,00
                 warehouse,
 13-Mar-19      Review and respond to email from C. Kelley              KAS              0.40          80,00
                regarding Nevada property payoff demand for sub-
                association HOA dues; Confer with Receiver on
                matter,
 13-Mar-19      Follow up communications with J, Levit and M,           KAS              0,40          80,00
                Goldberg regarding Oakwood lease,
 13-Mar-19      Confer with J. Levit to provide update on status of     KAS              0,20          40.00
                Pompano Warehouse and Oakwood Leases.
 13-Mar-19      Corresponded with Smiley and Levit re lease.            MIG              0,10          47,50
 13-Mar-19      Conference with Weinstein and clients re lease          MIG              0.50         237,50
                termination,
 13-Mar-19      Review and provide edits regarding hand back of         NSS              1,20         570,00
                property,
 13-Mar-19      Respond to inquiry from counsel for Doral office        JML              1,40         665.00
                (.1); confer with paralegal regarding new infonnation
                about Hollywood lease (2); revise Motion to Cancel
                Leases (,9); prepare correspondence to Receiver
                regarding motion, outlining missing information (,2)
 14-Mar-19      Multiple follow up correspondence regarding leases      JML              0.70        332,50
                and removal of property from lease premises,
 14-Mar-19      Revise and update lease motion; prepared                JML              2,80       1,330,00
                correspondence to Receiver with questions regarding
                status of office equipment,
 14-Mar-.19     Multiple conferences and correspondence regarding       JML              0.60        285.00
                HOA lien on vacant Nevada land,
 14-Mar-19      Negotiate with counsel for Las Vegas property           NSS              0,60        285,00
                manager regarding fee reduction.
 14-Mar-19      Numerous correspondence with Smiley and Surgeon         MIG              0,30        142.50
                re Nevada property,
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 14-Mar-19       Corresponded with Weinstein and Smiley re lease          MIG              0.20          95.00
                 access.
 14-Mar-19       Meet with Stampler Auctions at Oakwood office to         KAS              1,20         240,00
                 discuss and begin appraisal of furniture and fixtures,
 14-Mar-19       Correspond with Weinstein regarding Kimco access         KAS              0,20          40.00
                 to Oakwood office.
 14-Mar-19       Investigate Nevada sales details and multiple            KAS              1,40         280.00
                 communications with attorney regarding potential
                 fraudulent transfer; Prepare draft check request for
                 payment of past due HOA dues to preserve property;
                 Correspond with Kapila regarding check details;
                 Confer with N. Surgeon regarding fee reduction for
                 post receivership accrued fees,
 15-Mar-19       Corresponded with Smiley re Doral lease and              MIG              0,20          95,00
                 appraisal.
 15-Mar-19       Corresponded with Levit re lease termination,            MIG              0,20          95,00
 15-Mar-19      Multiple correspondence and follow up regarding           JML              0,70         332,50
                status of rejection of leases,
 15-Mar-19       Revise lease motion and prepare multiple follow up       JML              1,30         617,50
                 correspondence,
 16-Mar-19      Correspond with Stampler regarding Doral office           KAS              0,20          40,00
                furnishings and equipment appraisal.
 18-Mar-19      Conference with N, Surgeon regarding Doral lease          KAS              0,20          40.00
                deposit offset by Landlord,
 18-Mar-19      Confer with J. Levit regarding Doral lease and plan       KAS              0.20          40.00
                for office furnishings, etc.
 18-Mar-19      Correspond with Stampler regarding Doral office           KAS              0,10          20,00
                appraisal; Review and finalize contract for services,
 18-Mar-19      Confer with N. Surgeon regarding Nevada property          KAS              0,40          80,00
                assessments,
 18-Mar-19      Confer with paralegal regarding status of appraisals      JML              0,30        142,50
                for office furnishings,
 19-Mar-19,     Follow up with N. Surgeon regarding payroll reports,      KAS              0,20          40,00
 20-Mar-19      Conference with Weinstein re lease.                       MIG              0,20          95.00
 20-Mar-19      Multiple conferences regarding lease rejection,           JML              0.40        190.00
 20-Mar-19      Correspond with J Allen and J Levit re sublease at        MDN              0.20          95.00
                5720 Midtown.
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 21-Mar-19      Review follow up email from Real Properties           KAS              0,30          60,00
                Management Group regarding The Enclave
                Community Assns payoff and follow up with N.
                Surgeon on matter.
 22-Mar-19      Correspond with M Goldberg re 5720 Midtown            MDN              0,10          47,50
                sublease,
 22-Mar-19      Review correspondence regarding lease rejection.      JML              1,30         617.50
 25-Mar-19      Correspond with M Goldberg and J Levit re             MDN              0,10          47.50
                American First Finance sublease -- 5720 Midtown
                Dallas,
 25-Mar-19     Composed email Stampler Auctions regarding             KAS              0.20          40,00
               appraisal,
 25-Mar-19     Composed email to Surgeon and Goldberg re: Simple      KAS              0,10          20,00
               Health - Appraisal (Oakwood)
 25-Mar-19     Composed email re The Enclave - 1709 Enclave           KAS              0.20          40.00
               Court, Las Vegas NV.
 25-Mar-19     Reviewed Stampler approval and conference with         MIG              0.20          95,00
               Smiley re offer,
 26-Mar-19     Confer with J. Levit regarding Doral assets; Spoke     KAS              0.50        100,00
               with Receiver regarding possible auction; Follow up
               with Stampler regarding appraisal,
 26-Mar-19     Correspond with prospective tenant regarding           KAS              0,20          40,00
               Receiver's offer to purchase
               furnitures/fixtures/equipment at Oakwood office;
               Confer with Receiver on matter,
 26-Mar-19     Confer with paralegal regarding valuation of office    JML              0,40        190,00
               furnishings in Doral office; confer with Receiver
               regarding office leases; confer with Dallas counsel
               regarding Dallas leases,
 27-Mar-19     Teleconference with L O'Dowd re sublease at 12005      MDN              0,10          47.50
               Ford Road,
 27-Mar-19     Correspond with J Levit re cancellation of Texas       MDN              0,10          47.50
               leases,
 28-Mar-19     Confer with counsel for Las Vegas property             NSS              0,60        285.00
               regarding outstanding fees,
 1-Apr-19      Correspond with A Adair re motion to release leases.   MDN              0,10         47,50
 1-Apr-19      Teleconference with A Adair (American First            MDN              0,10         47,50
               Finance) re sublease -- 5720 Midtown,
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 1-Apr-19       Teleconference with J Levit re status of motions to     MDN              0.10          47.50
                abandon leases.
 1-Apr-19       Follow up regarding lease rejection,                    JML              0.80         380.00
 2-Apr-19       Edited doe Simple Health "Doral" Inventory.             KAS              0.10          20.00
 2-Apr-19       Reviewed on-site inventory for Hollywood location.      KAS              0.10          20,00
 9-Apr-19,      Revise lease rejection motion and prepare follow up     JML              1.60         760.00
                correspondence.
 9-Apr-19       Correspond with J Levit re Dallas leases,               MDN              0,10          47.50
 9-Apr-19       Review and revise motion to abandon leases,             MDN              0,30         142.50
 10-Apr-19      Multiple follow up conferences regarding                JML              0,30         142.50
                abandonment of office equipment,
 10-Apr-19      Strategy conference with attorney regarding office      KAS              0,30          60,00
                equipment at Doral and Texas locations,
 15-Apr-19      Study and review Robovault documents and                JSR              0,30         142,50
                communicate with Riley.
 17-Apr-19      Reviewed Nevada property issue,                         MIG              0,10          47.50
 19-Apr-19     Corresponded with Wells re UBS claim against             MIG              0,20          95,00
               Nevada property.
 19-Apr-19      Confer with N. Surgeon regarding Paycom subpoena        KAS              0,30          60,00
                and Nevada property.
 19-Apr-19      Correspond with A Adair (American First Finance) re     MDN              0,20          95,00
                PI hearing,
 23-Apr-19     Receive call from prospective tenant for Oakwood         KAS              0,50         100.00
               office regarding case status and next steps to work
               with Landlord and Receiver to takeover space and bid
               on furniture and fixtures; Confer with Receiver on
               matter,
 24-Apr-19     Prepare email to K, Konstaantin, prospective tenant,     KAS              0,20          40,00
               for Oakwood office regarding inventory of items for
               sale,
 26-Apr-19     Confer with Receiver regarding sale of assets at         KAS              0.30          60.00
               Oakwood and status of potential tenant to lease
               premises,
 26-Apr-19     Assemble and package memorabilia located at              KAS              4,60        920,00
               Hollywood office, meet with prospective tenant to
               view inventory for sale and discuss takeover of space,
 29-Apr-19     Prepare response to proposal from Vegas HOA,             NSS              0.90        427,50
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 1-May-19       Review multiple correspondence regarding Doral           JML              0,20          95,00
                lease,
 2-May-19       Confer with counsel for Las Vegas HOA, Draft             NSS              1,20         570.00
                proposal to resolve outstanding dues and fees,
 2-May-19       Meet with vendor at Hollywood office to work on          KAS              4.50         900.00    '
                securing, packaging and cataloging memorabilia.
 3-May-19       Correspond with prospective tenant for Oakwood           KAS              0,10          20,00
                location regarding case status.
 7-May-19       Review multiple correspondence regarding status of       JML              0,30         142.50
                personal items at Doral premises.
 8-May-19       Follow up with N. Surgeon regarding Las Vegas            KAS              0.20          40,00
                property HOA dues.
 10-May-19      Correspond with Stampler Auctions regarding              KAS              0.10          20,00
                proposal,
 12-May-19      Work on packing securing of memorabilia located in       KAS              4.50         900,00
                Dorfman's office to be transported to Receiver's
                office,
 13-May-19      Call with Stumpier Auction regarding auction             KAS              1,20         240,00
                proposal; Analyze proposal and apprasial and prepare
                memo to Receiver, N. Surgeon and J. Levit regarding
                estimated recovery to estate taking into consideration
                all costs and claims involved,
 13-May-19      Corresponded with Surgeon re Dallas lease,               MIG              0,20          95.00
 13-May-19      Confer with N. Surgeon regarding status of lease         JML              1,40         665,00
                rejection motion and follow up.
 15-May-19      Corresponded with Smiley re Doral lease and move.        MIG              0.20          95.00
 15-May-19      Edited document re on-site inventory at Doral            KAS              0,20          40,00
                Location,
 16-May-19      Corresponded with N. Surgeon re leases and notice        MIG              0,30        142,50
                process.
 16-May-19      Review Preliminary Injunction and revise Motion to       JML              0,90         427.50
                Cancel Leases to reflect entry of Preliminary
                Injunction.
 16-May-19      Follow up regarding lease rejection.                     JML              0,90        427.50
 16-May-19      Correspond with M Goldberg re termination of             MDN              0,20          95,00
                Dallas leases.
 16-May-19      Correspond with A Adair re termination of 5720 LBJ       MDN              0,20          95,00
                lease.
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 17-May-19      Review inventories for 12005 Ford,                     MDN              0.40        190,00
                Correspond with L O'Dowd     teimination of lease at   MDN              020          95,00
 17-May-19                             . •re
                12005 Ford.
 17-May-19      Correspond with M Goldberg re termination of           MDN              0,20         95,00
                Dallas leases.
 17-May-19      Finalize packing and move of memorabilia from          KAS              2,10        420.00
                Simple Health's Hollywood Office to Akethian LLP ,
 20-May-19      Conference with Silver, Surgeon and Gershoni re        MIG              0.20         95.00
                lease,
 20-May-19      Conference with Silver and Surgeon release,            MIG              0,20         95,00
 20-May-19      Confer with FTC regarding cancellation of leases.      NSS              1,50        712.50
                Confer with counsel for Dallas landlord and
                defendant's counsel regarding cancellation. Finalize
                motion for cancellation of leases.
 21-May-19      Research                                               JML              2.80       1,330,00

 21-May-19      Confer with Receiver regarding abandonment of          KAS              0,30         60.00
                Doral office furniture and fixtures.
 21-May-19      Research information and update asset freeze charts    KAS              0,50        100.00
                regarding payments from HIT,
 21-May-19      Confer with Receiver and FTC regarding Wellness        KAS              0,40         80,00
                Plans of America.
 22-May-19      Conference with Surgeon re officer closure.            MIG              0,20         95.00
 22-May-19      Reviewed lease motion,                                 MIG              0,30        142,50
 22-May-19      Multiple follow up conferences and review revised      JML              2.60       1,235.00
                motion to cancel leases; research legal standard for
                abandonment.
 22-May-19      Finalize and file motion to cancel leases.             NSS              1,20        570.00
 24-May-19      Review and revise proposed Order granting              JML              0,70        332.50
                Receiver's motion to cancel leases.
 29-May-19      Confer with Receiver and paralegal regarding           JML              0.30        142.50
                obtaining court approval to auction property at
                Hollywood location.
 29-May-19      Conference with Smiley and Levit re Hollywood          MIG              0.20         95.00
                lease,
 29-May-19                                                             KAS              0,60        120,00
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 29-May-19      Follow up with auctioner regarding proprosal for          KAS              0.20          40,00
                Hollwyood location; Confer with J. Levit regarding
                same.
 30-May-19      Confer and correspond with N. Surgeon regarding           JML              0,30         142.50
                tenns of Order approving motion to cancel leases,
 30-May-19      Review and finalize revised proposed order,               NSS              0,30         142,50
 31-May-19      Follow up with revisions to proposed Order granting       JML              1.20         570.00
                Motion to Cancel Leases; confer with counsel for
                Dallas landlord regarding terms of proposed Order,
                and revise Order,
 3-Jun-19       Confer with paralegal regarding Hollywood premises        JML              0.30         142,50
                and auction.
 3-Jun-19       Confer with Receiver regarding Hollywood lease            KAS              0,10          20,00
                matters.
 5-Jun-19                                                                 MIG              3.10       1,472,50
                                                         ciratted reply
                o   or man s opposition.
 5-Jun-19       Reviewed response to motion to cancel leases.             MIG              0.20          95,00
 5-Jun-19       Review and revise Reply to Response to Motion to          JML              0.60         285,00
                Cancel Leases.
 5-Jun-19       Review CCR for Vegas property, Prepare for call           NSS              1.20         570.00
                with property manager's attorney.
 10-Jun-19      Follow up regarding lease issues; confer with             JML              1,70         807,50
                paralegal,
 10-Jun-19      Corresponded with Weinstein re lease.                     MIG              0.10          47,50
 10-Jun-19      Review and respond to FTC regarding Wellness              KAS              0.10          20.00
                Plans of America,
 11-Jun-19      Review court's Order granting Receiver's motion for       KAS              0.50         100,00
                authority to cancel non-residential leases and discuss
                with attorney; Arrange for web posting,
 11-Jun-19      Multiple correspondence regarding entry of court          JML              0,40         190,00
                order canceling leases,
 11-Jun-19      Follow up regarding status of Hollywood leased            JML              0,70         332.50
                premises.
 12-Jun-19      Teleconference with L O'Dowd re 12005 Ford lease          MDN              0.10          47.50
 12-Jun-19      Confer with attorney regarding account liquidations.      KAS              0,20          40,00
 13-Jun-19      Follow up with J, Levit regarding status of lease of      KAS              0.20          40,00
                Oakwood office,
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 13-Jun-19      Follow up regarding lease issues.                      JML              0,40         190,00
 14-Jun-19      Research and prepare Notice of Abandonment,            JML              0.90         427.50
 14-Jun-19      Follow up with paralegal regarding personal property   JML              0.30         142,50
                remaining at leased premises and tax bill.
 14-Jun-19      Prepare memo with Receiver, J. Levit and N.            KAS              0,60         120.00
                Surgeon regarding Hollywood office; Follow up
                conferences re: same.
 14-Jun-19      Correspond regarding Las Vegas property liens,         KAS              0,20          40.00
 14-Jun-19      Inspect property at Hollywood location.                KAS              0.60         120.00
 17-Jun-19      Review production from FTC regarding Wellness          KAS              0,70         140.00
                Plans of America; Update chart as to account
                balances; Correspond with FTC re: same.
 17-Jun-19                                                             KAS              0,40          80.00

 17-Jun-19      Follow up with N. Surgeon regarding status of          KAS              0,20          40.00
                payment of fees at Las Vegas property.
 17-Jun-19      Prepare memo to Receiver, Levit and Surgeon            KAS              0,50         100,00
                regarding matters to address before vacating
                Hollywood office,
 17-Jun-19      Confer with paralegal regarding actions needed to be   JML              0.40         190.00
                completed prior to turnover of Hollywood premises,
 17-Jun-19      Confer with Receiver regarding turnover of             JML              0,20          95.00
                Hollywood premises.
 18-Jun-19     Multiple correspondence with counsel for Doral          JML              0,40         190,00
               property regarding abandonment of the personal
               property.
 18-Jun-19                                                             JML              0.20          95,00

 18-Jun-19     Confer with paralegal regarding auction at              JML              0,20          95,00
               Hollywood property
 18-Jun-19     Follow up regarding scope of abandonment and            JML              0,20          95,00
               removal of files,
 18-Jun-19     Confer with J. Levit regarding Hollywood lease and      KAS              0.60         120,00
               auction of furniture and fixtures; Follow up with
               auction company re: same.
 19-Jun-19     Multiple correspondence regarding abandonment of        JML              0.30         142.50
               personal property at Doral location and Notice of
               Abandonment,
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 19-Jun-19      Multiple correspondence regarding 'status of rejection.   JML              0.30         142,50
                of 'Hollywood lease.
 20-Jun-19      Edited Motion to Cancel Lease,                            JML              1.30         617,50
 20-Jun-19      Review correspondence regarding abandonment of            JML              0,20          95.00
                personal property at Doral location.
 20-Jun-19      Review correspondence and follow up regarding             JML              0.40         190.00
                abandonment of computers located in Dallas office,
 21-Jun-19      Review, research and revise motion for authority to       JML              3.60       1,710.00
                auction property and cancel lease,
 21-Jun-19      Revise Notice of Abandonment to include additional        JML              0.20          95.00
                property.
 21-Jun-19      Confer with counsel for party interested in               JML              0,30         142,50
                purchasing Nevada property and prepare
                correspondence to Receiver.
 21-Jun-19      Review auction proposal and revise motion to include      JML              0,80         380,00
                summary of auction.
 21-Jun-19      Review multiple correspondence regarding                  JML              0,20          95.00
                abandonment of computers located at Dallas
                property,
 21-Jun-19      Communicate with Storage King re: storage of              JSR              0,30         142.50
                vehicles and insurance.
 21-Jun-19      Repeated correspondence with L O'Dowd re clearing         MDN              0.50         237.50
                out 12005 Ford
 21-Jun-19      Teleconference and correspondence with J Levit re         MDN              0.20          95,00
                disposal of computers in Dallas
 21-Jun-19      Corresponded with Levit and Napoli re hard drives in      MIG              0.20          95,00
                Dallas space.
 24-Jun-19      Call with N. Surgeon regarding Las Vegas property         KAS              0,20          40,00
                settlement with Homeowner's Association regarding
                fees,
 24-Jun-19      Corresponded re lease termination and auction.            MIG              0.20          95.00
 24-Jun-19      Corresponded with Naim re abandonment.                    MIG              0,20          95.00
 24-Jun-19      Revise Motion to Cancel Lease at Hollywood                JML              5,20       2,470.00
                location and Approve Auction Sale of Personal
                Property; revise terms of auction and research case
                law,
 25-Jun-19      Review and and provide comments on draft motion to        KAS              0.60         120,00
                vacate Hollywood lease,
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 25-Jun-19      Multiple conferences regarding auction of property,      KAS              0,60         120,00
 26-Jun-19      Review several court filings regarding Doral             KAS              0,50         100,00
                abandoned property; C000rdinate with Dorfman's
                counsel regarding meeting in Doral for Dorfman to
                pickup same.
 26-Jun-19      Call with R, Pena at Flexential to discuss equipment     KAS              0,40          80,00
                storage and removal; Update Receiver on matter.
 26-Jun-19      Review correspondence and court filings pertaining       KAS              0,30          60,00
                to Texas personal property.
 26-Jun-19      Corresponded with Napoli re Dallas office.               MIG              0,20          95,00
 26-Jun-19      Conference with FTC and Surgeon re abandonment.          MIG              0.20          95,00
 26-Jun-19      Worked on draft response to Dorfman abandonment          MIG              1.60         760.00
                motion,
 26-Jun-19      Corresponded re abandonment of FF&E,                     MIG              0.20          95,00
 26-Jun-19      Conference with Smiley and Levit re Doral office,        MIG              0.20          95,00
 26-Jun-19      Confer with Receiver on status of personal property      JML              0.20          95.00
                at Doral location and status of motion to cancel lease
                for Hollywood location.
 26-Jun-19      Review Dorfman's Emergency Motion to Retrieve            JML              0.40         190,00
                Abandoned Property and endorsed Order; prepare
                correspondence to landlord's counsel and discuss
                with Receiver.
 26-Jun-19      Multiple follow up correspondence regarding entry of     JML              0,60         285,00
                Order on Motion to Cancel Leases and Notice of
                Abandonment.
 26-Jun-19      Correspond with L O'Dowd and M Goldberg re               MDN              0,10          47,50
                12005 Ford.
 26-Jun-19      Confer with opposing counsel and coordinate access       NSS              0.60         285,00
                to Doral premises,
 27-Jun-19      Review motion to cancel Hollywood lease.                 NSS              0.60         285,00
 27-Jun-19      Review multiple filings regarding abandonment of         JML              0,30         142,50
                personal property,
 27-Jun-19      Multiple conferences with paralegal and Receiver         JML              2,80       1,330.00
                regarding auction terins and terms for abandonment.
 27-Jun-19      Multiple follow up correspondence regarding Motion       JML              0,40         190,00
                to Cancel Lease after Auction,
 27-Jun-19      Reviewed and revised motion to terminate                 MIG              0.80         380,00
                Hollywood lease.
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 27-Jun-19       Confer with N. Surgeon regarding status of records at   KAS                0,30          60.00
                 Hollywood location,
 27-Jun-19       Review and revise motion to cancel Hollywood            KAS                0.60         120.00
                 Lease and conduct auction,
 27-Jun-19       Telephone conference with Stampler Auctions             KAS                0.40          80,00
                 regarding proposed auction of Hollywood office
                 personal property and logistics; Confer with Receiver
                 on matter.
 27-Jun-19       Review and revise second draft of motion to cancel      KAS                0,60         120.00
                 Hollywood lease and discuss same with J. Levit,
 27-Jun-19       Review auction proposal and telephone conference        KAS                0.70         140,00
                 with Stampler to discuss buyer's premium and
                 commission basis; Discuss same with Receiver and
                 Levit in preparation of motion to auction,
 28-Jun-19       Communications with J. Levit regarding Doral            KAS                0,20          40,00
                 property turnover,
 28-Jun-19       Prepare for and meet S. Dorfman at Doral office to      KAS                1,90         380.00
                 obtain furniture and fixtures abandoned by Receiver;
                 Multiple conferences with Landlord's attorney,
                 management company, Receiver and Dorfman's
                 counsel re: same,
 28-Jun-19       Conference with Surgeon re abandonment of assets        MIG                0,30         142.50
                 and lease rejection,
 28-Jun-19       Review multiple correspondence regarding Motion to      JML                0,30         142.50
                 Cancel Hollywood lease and auction personal
                 property.
 28-Jun-19       Review correspondence from counsel for Doral            JML                0.60         285,00
                 landlord and follow up with telephone call to
                 landlord's counsel; confer with paralegal regarding
                 Dorfman's interest in abandoned personal property,
 29-Jun-19       Correspond with team and counsel for Defendant          KAS                0,40          80.00
                 regarding update on status of Doral property
                 turnover.
                         Subtotal for Code 502 ASSET DISPOSITION                          244.60      91,655.00

 Task Code:      503 BUSINESS OPERATIONS
 30-Oct-18       Meeting with FTC attorneys to review background         MIG                2,20       1,045,00
                 facts and to discus plans to shutdown operations,
 30-Oct-18       Reviewed pleadings in state case and victim             MIG                1,20         570,00
                 declarations,
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 30-Oct-18      Initial Meeting with FTC, M, Goldberg, N. Surgeon;        KAS              7.00       1,400,00
                Review initial pleadings and declarations for case
                background; Post meeting matters, website setup;
                assembly organization of records; confer with
                paralegal re: asset freeze; review F TC filings; Confer
                with J. Levit regarding receivership stay for Spiewak
                State Court Action; Retrieve SEC Filings for Health
                Insurance Innovations; Website/Telephone setup.
 30-Oct-18      Review complaint and memorandum in support of              LP              1.60         760.00
                temporary restraining order,
 30-Oct-18      Confer with N. Surgeon regarding take down,                LP              0.20          95.00
 30-Oct-18      Begin review and analysis of the Ex Parte Temporary       VS               0,40         110,00
                Restraining Order with Asset Freeze, Appointment of
                a Temporary Receiver, and Other Equitable Relief,
                and Order to Show Cause Why a Preliminary
                Injunction Should Not Issue.
 30-Oct-18      Conference with N. Surgeon regarding FTC matter;          MAM              1.80         360,00
                download and organize documents per request.
 30-Oct-18     Confer with FTC to prepare takedown and review             NSS              5,40       2,565.00
               supplemental materials.
 31-Oct-18      Confer and prepare for immediate access.                  NSS              8,50       4,037.50
 31-Oct-18     Preparation of "Frequently Asked Questions" sheet          AAS              1,20         570.00
               for employees; analyzed Ex Parte TRO and Related
               Relief; attendance at team meeting re: preparation for
               11/1/18 actions
 31-Oct-18     Prepare for 4:00 meeting to discuss on-site event at       T,B,E            0,70         332.50
               Simple FIealth tomorrow at 9:00 AM,
 31-Oct-18     Attend meeting re: Receivership and discuss next           T,B,E            1,10         522,50
               steps and plans for tomorrow's onsite visit.
 31-Oct-18     Email and telephone conference with K. Abbate              MAM              0.60         120,00
               regarding locksmith; research area and secure same.
 31-Oct-18     Attend the conference call for the Federal Trade           VS               1.50         412,50
               Commission/Receivership matter.
 31-Oct-18     Review the photographs provided by law                     VS               0.10          27.50
               enforcement and the Federal Trade Commission.
 31-Oct-18     Review TRO re: Simple Health; meet with FTC                GRP              4.00       1,900.00
               representatives and other M. Goldberg, N. Surgeon as
               well as other team members re: the execution of the
               TRO on Simple Health facilities,
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 31-Oct-18      Review and analyze the Complaint for Permanent           VS               1,60         440,00
                Injunction, the Memorandum in Support of Plaintiffs
                Motion, and complete review and analysis of the Ex
                Parte Temporary Restraining Order with Asset
                Freeze.
 31-Oct-18      Telephone conference with Akerman attorneys and          LP               1,20         570.00
                FTC attorneys regarding take down,
 31-Oct-18      Telephonic conference with FTC regarding                 REW              4,30       1,182,50
                coordinated takeover of Simple Health's offices (1.5);
                Review and analyze pleadings and temporary
                restraining order (1.2); Conference with Akerman
                Dallas team regarding takeover of Simple Health's D
                alias office (1); Prepare for takeover of Simple
                Health's Dallas office (,6),
 31-Oct-18      Attend planning call with Akerman and FTC team           MDN              4.40       2,090.00
                (1.4); review TRO and other court papers (1.5);
                instruct team as to handling take down of Dallas
                office (0,8); Teleconference with K Slaughter (FTC)
                re logistics (0.3); Teleconfe rence with M Goldberg
                re questioning employees (0,1); prepare memo to
                Dallas take down team re employee questions (0,3)
 31-Oct-18      Prepare for Simple Health Dallas call center             JEB              1.70         340,00
                document collection (1,0); planning and strategy
                meeting w/M, Napoli, R. Weitzel, and T, Engar (.7).
 31-Oct-18      Multiple meetings with Goldberg, FTC, Surgeon and        JSR              4.20       1,995,00
                Abbate, Study and review TRO, Complaint and
                supporting documents, Prepare and coordinate for
                Simple Health execution of TRO,
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 31-Oct-18      Attend multiple strategy meetings regarding                KAS              9.00       1,800,00
                takedown and case background; Strategize regarding
                asset freeze; Review and revise draft asset freeze
                letters; Instruct staff on matters; Work on website
                create; Setup voicemail; Draft Employee
                Questionnaire; Confer with Sawyer re: FAQ's and
                review and revise same; Research information on
                Landlord for Oakwood location; Work with FTC
                representatives re: first day matters; Confer with
                Receiver regarding identification of assets; Confer
                with A, McLaughlin regarding organization of
                records; Prepare attorney files for first day matters in
                Hollywood and Doral; Multiple communication with
                K. Shinder regarding redirection of generational
                websites; Confer with IT vendor on matters;
                Coordinate locksmith; Spoke with paralegal
                regarding locksmith for Doral,
 31-Oct-18      Preparation for interviews with employees,                 JML              0,80         380.00
 31-Oct-18      Attend Meeting with Receiver and FTC                       JML              1.40         665.00
                representatives regarding visit to Simple Health
                headquarters to secure property and interview
                employees.
 31-Oct-18      Follow up meeting with Receiver and FTC                    JML              0,80         380,00
                representatives regarding visit to Simple Health
                headquarters,
 31-Oct-18      Analyze TRO and supporting documents.                      JML              1,80         855,00
 31-Oct-18      Meeting with FTC and team re first day receivership        MIG              1.80         855.00
                strategy.
 31-Oct-18      Review TRO,                                                MIG              0,60         285,00
 31-Oct-18      Conference with Scott and Davis re questions to ask        MIG              0,80         380.00
                employees and document recovery,
 31-Oct-18      Conference with Panamanian counsel re freeze.              MIG              0,30         142,50
 31-Oct-18     Reviewed victim declarations.                               MIG              0,70         332.50
 31-Oct-18      Second meeting with team and FTC to discuss and            MIG              1,00         475,00
                coordinate first day office takedown procedures.
 31-Oct-18     Conference with Abbate re employee questionnaire            MIG              0,40         190,00
               and asset freeze,
 31-Oct-18     Meeting with N. Surgeon to discuss coordination of          MIG              0,40         190,00
               takedown,
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 31-Oct-18      Conference with Michael Napoli re questions to ask      MIG               0,20          95,00
                employees,
 1-Nov-18       Attended seizure of corporate headquarters.             1VIIG            12,00       5,700,00
                Conference with Ryan O'Quinn re assets, Conference
                with J. Sonn re case, Numerous meetings with FTC
                re securing assets and information,
 1-Nov-18       Attend debriefing with Federal Trade Commission,        KAS              12,20       2,440,00
                law enforcement and others to discuss
                implementation of Temporary Restraining Order;
                Participate in execution of order by securing assets,
                working with team to interview employees, answer
                questions and obta in employee questionnaires;
                Multiple communications regarding asset freeze
                letters; Work on securing premises of Oakwood
                location; Confer with team regarding securing
                Pompano Warehouse; Discussions regarding site visit
                to data center; Conference with land lord, Kimco,
                regarding TRO and ability to show property to
                mitigate damages; Work on document gathering;
                Communications with J. Robbins on vehicle seizures,
 1-Nov-18       Multiple conferences with K, Abbate regarding           JML               0.40         190.00
                securing Pompano Beach warehouse,
 1-Nov-18       Join Receiver and FTC in take over of Simple Health     JML               3,80       1,805,00
                Plans' office; interview employees and confer with
                Receiver,
 1-Nov-18       Meet with law enforcement and FTC at Hollywood          JSR               7,80       3,705,00
                location. Attend seizure of corporate headquarters.
                Interview Simple employees, Review corporate
                records, Arrange for seizure of vehicles,
 1-Nov-18       Meet M. Napoli, R. Weitzel, T. Engar, FTC Dallas        JEB               7,50       1,500,00
                office, and Dallas County Constables (Dallas Team)
                and prepare for entry in call center (.4); enter 5720
                LBJ Freeway, Dallas TX with Dallas team and assess
                location for information (.7); travel to and enter
                12005 Ford Road, Dallas TX with Dallas team (,3);
                photograph and inventory Simple Health property
                (6,1).
 1-Nov-18       Attend take down of Simple Health Doral location,       LP                6.00       2,850,00
 1-Nov-18       Review potential questions to ask employees,            LP                0,60         285.00
 1-Nov-18       Review and analyze the questions to be asked to the     VS                0,10          27.50
                employees of Simple Health Plans, LLC,
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1-Nov-18       Participate in the execution of the Temporary              VS                7,20       1,980,00
               Restraining Order and asset freeze of Simple Health
               Plans LLC,
1-Nov-18       Review and analyze the Declaration of Terena Baker         VS                0,60         165,00
               and the Declaration of Lovely Seraphin, in
               preparation of executing the temporary restraining
               order and asset freeze,
1-Nov-18       Participate in immediate access to Simple Health           MDN               9,50       4,512,50
               offices in Dallas,
1-Nov-18       Review pleadings, TRO, and email correspondence            REW               3,80       1,805,00
               with FTC and receive in preparation for takeover of
               Simple Health's Dallas office (.7); Attend takeover of
               Simple Health's Dallas office (3,1),
1-Nov-18       Meet with law enforcement officers and other team          GRP              13.00       6,175,00
               members to discuss the execution of the Temporary
               Restraining Order (TRO); participate in the execution
               of the TRO; assist in the securing of Simple Health's
               documents; search file cabinets and desks for r
               elevant business financial and operational documents;
               interview Simple Health employees re: employment
               and contact infoiniation at Doral location; with work
               FTC attorneys and investigators and IT to secure
               location; assist with securing Simple Health
               Hollywood location; work with FTC attorneys,
               investigators and IT to secure location; interview
               Simple Health employees,
1-Nov-18       Participate in on-site review of documents,                T,B,E             3,10       1,472.50
               computers, and other business assets at Simple Health
               facility in Dallas Texas,
1-Nov-18       Conduct immediate access entries to Miami and              NSS              12,00       5,700,00
               Hollywood business locations.
1-Nov-18       Attendance at staging for and raid on SHP                  AAS               6,90       3,277,50
               Hollywood location; participated in employee
               interviews/information gathering; travel to/attendance
               at off site storage facility Flexential to ensure server
               preserved and related actions; exchange of
               correspondene e with team throughout process,
6-Nov-18       Revise inventory of property located at 12005 Ford         JEB               0,60         120,00
               Road, Dallas TX,
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                       Subtotal for Code 503 BUSINESS OPERATIONS                       182.00         72,180.00

 Task Code:      504 CASE ADMINISTRATION
 2-Nov-18        Work on setting up meeting with voice mail service       KS                0.80         160.00
                 company of Simple Health to change voice mail
                 recording of incoming calls concerning the
                 appointment of a Receiver and redirecting questions
                 to Receiver phone number and website,
 2-Nov-18        Multiple conferences regarding unsealing Complaint,      JML               1,60         760.00
                 court deadlines and upcoming hearing on Order to
                 Show Cause,
2-Nov-18         Confer with K. Abbate and K. Shinder regarding           JML               0.30         142,50
                 contacting Simple Health's voice mail service,
2-Nov-18         Confer with Receiver and K, Abbate and address           JML               2.30       1,092,50
                 unsealing Complaint and TRO,
2-Nov-18         Prepare case summary for use on receivership             JML               1,30         617,50
                 website,
2-Nov-18        Work on website development and narrative;                KAS              10,40       2,080.00
                Numerous calls with employees regarding payroll
                inquiries, case status and personal belongings;
                Contact various employees to obtain laptop
                computers and passcodes requested by FTC; Confer
                with T. Richards regarding payroll and Paycom
                accounts; Prepare memo to team regarding notes
                from call; Research information on data center
                location and access in conjunction government
                request; Call with government re: same; Redact
                Menjavar affidavit for service on GoDaddy;
                Communications with K. Shinder regarding Simple
                Health phone lines; Communications with P. Stanley
                of Intelliquent regarding compliance with TR and
                voicemail options; Confer with Levit regarding
                unsealing complaint and TRO for 754 filings; Review
                emails regarding suggestion of receivership to be
                filed in other litigation; Work with paralegal on asset
                freeze chart and updates,
2-Nov-18        Several conferences with Ryan O'Quinn to discuss          MIG               0,50        237,50
                case.
5-Nov-18        Conference with FTC and Naim re status.                   MIG               0.50        237.50
5-Nov-18        Conference with Sonn re Speiwak,                          MIG               0,20          95,00
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5-Nov-18       Confer with K. Abbate about FAQs for Receiver's           JML              0,10          47,50
               website,
5-Nov-18       Multiple correspondence and conferences with              JML              3,20       1,520,00
               Receiver, paralegal and N. Surgeon regarding access
               to sealed court docket,
5-Nov-18       Monitor and respond to calls and emails to                KAS              6,80       1,360.00
               receivership; Confer regarding Kimco lease and
               request for show property; Multiple communications
               with team regarding asset freeze matters; Updates to
               asset freeze chart and follow-up; Receive call from J.
               Brewer, Advantage Roofing regarding roof damage
               caused at Oakwood; Prepare memo and confer with
               Receiver on matter and coordinate inspection of
               same;
                                                           Follow up
               wiih status of toll free me; Work on organization of
               employee questionnaire data; Work on website
               updates to include FTC press release; Call with
               Penny at Onvoy/Intelliquent regarding voicemail
               options; Work on case organization matters; Call
               with B. Traitz; Call with employees regarding wages;
               Review Dallas immediate access memo; Prepare
               asset freeze letter and serve on Paycom; Follow up
               with Flexential due to no response to asset freeze;
               Research contact information for legal counsel; Call
               with government regarding reco rds; Call T, Richards
               regarding employee information; Spoke with
               Kirschner regarding laptop; Prepare memo of call and
               forward to Receiver; Spoke with employee regarding
               status and send follow up email with questionnaire
               for completion; Receive call from NY Times
               regarding case status and notify Receiver; Call with
               employee regarding reimbursement for pre-
               receivership travel expenses; Work on additional
               updates to asset freeze chart.
6-Nov-18       Confer with K. Abbate regarding upcoming                  JML              0,30         142.50
               deadlines, lift of seal or records and filing Complaint
               and TRO in other jurisdictions.
6-Nov-18       Review and outline TRO deadlines and extended             JML              0,60         285,00
               deadlines.
6-Nov-18       Reviewed Intelliquent correspondence,                     MIG              0.30         142,50
6-Nov-18       Conference with K. Abbate re storage.                     MIG              0.20          95,00
6-Nov-18       Attended call with FTC re status,                         MIG              0,50         237.50
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 7-Nov-18       Reviewed documents received from FTC.                     MIG              0,60         285,00
 7-Nov-18       Prepare report to Receiver on deadlines and               JML              0.90         427,50
                Receiver's initial report,
7-Nov-18        Multiple communications with B. Traitz regarding          KAS              4,70         940.00
                Oakwood office matters; Several emails/calls with
                employees regarding status of pay; Follow up
                telephone conference with Paycom regarding TRO;
                Receipt and review of email from counsel for
                Paycorn regarding s tatus; Prepare website update;
                Receive call from R. Dorfman regarding hearing;
                Organization of records; Review and discuss case
                deadlines and follow up actions to be taken;
                                                    , Prepare list of
                action items; Multiple strategy conferences with staff
                regarding
                regarding same; Correspond with FTC regarding
                asset freeze; Review and discuss asset freeze status
                matters with Receiver; Correspond with P. Ching-
                Sang regarding Premiu m Health Quotes Ad; Update
                asset chart with responses received from freeze letters
                Vaupen Financial, EVO Payments Intl; Nevada
                Property 1, LLC; Review email correspondence and
                invoice from Hispanic Group regarding media
                marketing campaign; Commence prepa ration of
                mailing list for potential creditors; Review documents
                from FTC,
7-Nov-18        Attend call with Receiver and FTC Team regarding          KAS              0.70         140,00
                follow matters,
8-Nov-18        Call with Nevada and Texas Clerk regarding 28 USC         KAS              0,90         180,00
                754; Prepare check requests; Draft letters to clerk
                with enclosures,
8-Nov-18        Prepare for and attend call with FTC, M, Goldberg,        KAS              0,80         160.00
                N. Surgeon regarding pending matters,
 8-Nov-18       Gather information for Receiver's Initial Report and      JML              3,40       1,615,00
                begin outline for report.
 8-Nov-18       Attended status call with FTC,                            MIG              0,40         190.00
 8-Nov-18       Corresponded with victims re status,                      MIG              0.30         142,50
 8-Nov-18       Review and edit draft notice of appearance; file draft    GRP              0,20          95,00
                notice of appearance,
 9-Nov-18       Review TRO response letters to incorporate into           KAS              0,60         120.00
                FAQs,
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9-Nov-18        Finalize 754 filings in Nevada and Texas,             KAS              0.80         160,00
12-Nov-18       Multiple conferences regarding Q&A's for customers,   JML              0,60         285,00
12-Nov-18       Review correspondence regarding insurance             KAS              0,20          40,00
                premiums due,
12-Nov-18       Review and discuss numerous calls and emails from     KAS              1,10         220,00
                consumers and employees.
12-Nov-18       Conference with Sonn re Spiewack.                     MIG              0.30         142.50
12-Nov-18       Confer with C. Girouard,                              NSS              1,30         617,50
13-Nov-18       Repoint main websites and third-party lead            NSS              3,10       1,472,50
                generation websites to receiver's web page. Conduct
                testing,
13-Nov-18       Corresponded with Grumer re Spiewack.                 MIG              0,20          95,00
13-Nov-18       Work on Status Report,                                JML              2,60       1,235,00
14-Nov-18       Research and prepare Receiver's Initial Report,       JML              4,80       2,280,00
14-Nov-18       Review Dorfman's motion for reasonable living         JML              0,30         142,50
                expenses and related correspondence.
14-Nov-18       Follow up with attorney regarding status report       KAS              0,40          80,00
                matters,
14-Nov-18       Communications with Receiver regarding employee       KAS              0.30          60,00
                retrieval of personal items and 754 filings.
14-Nov-18       Work on obtaining Receiver's bond; Communications     KAS              0.90         180,00
                with Receiver re: same,
14-Nov-18       Attend call with FTC, Receiver and Surgeon re:        KAS              0,50         100,00
                status updates.
14-Nov-18       Meeting and conference call with Sand, Davis, Scott   MIG              1,50         712,50
                and Wei.
14-Nov-18       Conference with O'Quinn re living expense and         MIG              0.40         190,00
                reviewed proposed motions.
14-Nov-18       Conference with K. Abbate re 754 filings,             MIG              0,20          95.00
14-Nov-18       Confer with FTC regarding case status.                NSS              1,20         570,00
15-Nov-18       Conference with Wei, Davis, & Scott re report.        MIG              0.50         237.50
 15-Nov-18      Corresponded with Gromer re Spiewack.                 MIG              0,20          95,00
15-Nov-18       Outlined fraud section of report.                     MIG              0,80         380.00
15-Nov-18       Numerous correspondence with Davis re documents       MIG              1,10         522,50
                and reviewed documents,
15-Nov-18       Corresponded with O'Quinn re stay,                    MIG              0.20          95.00
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15-Nov-18       Cormsponded with Rogan re bond,                        MIG              0,20          95,00
15-Nov-18       Conference with Abbate re commission reports.          MIG              0.20          95.00
15-Nov-18       Reviewed                                               MIG              0,80         380,00
15-Nov-18       Conference with Dorfman's lawyers and FTC.             MIG              0.40         190.00
15-Nov-18       Responded to creditor emails.                          MIG              0,40         190,00
15-Nov-18       Meet with employees to obtain personal items at        KAS              8,00       1,600.00
                Oakwood offices; Meet with
                                           Assemble information
                needed for FPL accounts; asset freezes; Calls with
                Shinder regarding Banco Popular accounts; Call with
                Receiver r egarding possible new accounts; Confer
                with Receiver regarding commission reports;
                Continue to work on Receiver's bond.
15-Nov-18       Review voice-mail messages and prepare FAQ's.          JML              0.70         332.50
15-Nov-18       Review multiple correspondence regarding               JML              0.60         285,00
                extensions requested by Dorfman's counsel.
15-Nov-18       Prepare status report and multiple correspondence      JML              2,40       1,140,00
                relating to report,
16-Nov-18       Revise report and prepare follow up correspondence.    JML              0.30         142,50
16-Nov-18       Conference call with Receiver and accountants          JML              0,40         190.00
                regarding preparation of First Interim Report,
16-Nov-18       Research and respond to numerous inquiries             JML              3,80       1,805,00
                regarding receivership stay.
16-Nov-18       Telephone conference with G, Eklund of Marsh, Inc.     KAS              0.20          40,00
                regarding Receiver's bond.
16-Nov-18       Monitor calls and ernails to receivership and confer   KAS              0.70         140.00
                with attorneys on responding to inquiries,
16-Nov-18       Review Second Joint Motion To Continue                 KAS              0,20          40,00
                Preliminary Injunction Hearing, Extend The
                Temporary Restraining Order, And Extend Briefing
                Schedule For Preliminary Injunction Hearing and
                arrange for web posting,
 16-Nov-18      Attend strategy call with Receivership and             KAS              0.50         100.00
                accounting teams

 16-Nov-18      Continue to work on obtaining surety bond for          KAS              0,90         180,00
                Receiver pursuant to TRO,
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16-Nov-18      Review correspondence regarding receivership stay     KAS              0,30          60,00
               matters,
16-Nov-18      Conference with team re rei)ort.                      MIG              0.40         190,00
16-Nov-18      Corresponded with Davis re report,                    MIG              0.30         142.50
16-Nov-18      Corresponded with Abbate re employees.                MIG              0,40         190.00
16-Nov-18      Conference with Wei, Surgeon and Davis re report,     MIG              0.50         237.50
16-Nov-18      Meeting to diScuss case background with N. Surgeon,   MIG              1,60         760.00
16-Nov-18      Reviewed case law on                                  MIG              0.30         142,50

16-Nov-18      Reviewed                                              MIG              1,80         855.00

16-Nov-18                                                            NSS              1,50         712.50
16-Nov-18      Confer with FTC.                                      NSS              0.70         332,50
19-Nov-18      Corresponded with counsel re escrowed funds,          MIG              0.20          95.00
19-Nov-18      Reviewed documents re complaints.                     MIG              0,70         332,50
19-Nov-18      Conference with                                       MIG              0,40         190,00

19-Nov-18      Work on Receiver's Report,                            JML              2,40       1,140,00
19-Nov-18      Multiple correspondence regarding court filings and   IML              0,60         285,00
               Receiver's Report,
20-Nov-18      Prepare Notice of Filing Receivr's Bond.              KAS              0.20          40,00
20-Nov-18      Call with two employees regarding personal            KAS              0,30          60.00
               belongings,
20-Nov-18      Review and complete surety application; Meet with     KAS              0,70         140,00
               Receiver to execute, and discus's same; Correspond
               with underwriter,
20-Nov-18      Review motion on modification of asset freeze;        KAS              0,30          60,00
               Confer with K, Shinder regarding same,
26-Nov-18      Confer with Receiver regarding consumer inquiries.    KAS              0.30          60.00
26-Nov-18      Conference                                            MIG              0.40         190.00
26-Nov-18      Corresponded                                          MIG              0,40         190.00
26-Nov-18      Conference with -Surgeon re                           MIG              0,40         190,00
27-Nov-18      Corresponded re Dorfman living expenses.              MIG              0.20          95,00
27-Nov-18      Corresponded re Massachusetts AG.                     MIG              0,20          95,00
27-Nov-18      Corresponded with!..."                                MIG              0,20          95,00
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28-Nov-18       Prepared for and attended call with FTC and           MIG              0,80         380,00
                Surgeon,
28-Nov-18       Follow up conference with N. Surgeon regarding        KAS              0,40          80,00
                various pending matters,
28-Nov-18       Confer with Receiver regarding voicemails; Calls      KAS              0.80         160,00
                with multiple IT employees re same; Coordinate
                                                   ,,
                meeting at office.
28-Nov-18       Draft letter on                                       NSS              0,70         332,50

28-Nov-18       Strategize and analyze report and issues concerning   NSS              1,00         475.00
                fact gathering,
29-Nov-18                                                             NSS              4.80       2,280.00
29-Nov-18       Monitor calls, emails; Confer with Receiver on        KAS              0,50         100,00
                inquiries,
29-Nov-18       Conference with                                       MIG              0.40         190,00
29-Nov-18       Reviewed Gerstoni correspondence,                     MIG              0,20          95.00
29-Nov-18       Reviewed sales calls and customer service calls at    MIG              2.70       1,282.50
                Simple Health offices.
29-Nov-18       Numerous correspondence with                          MIG              0,60         285.00
30-Nov-18       Reviewed                                              MIG              1,60         760.00
                prepare report.
30-Nov-18       Meet with A. McLaughlin regarding payment to          KAS              1.50         300,00
                employees; payment of FPL; Draft cover letter to
                employees enclosing compensationfor assisting
                Receiver with post-receivership matters; Review
                incoming voicemails/emails,
30-Nov-18                                                             NSS              2.70       1,282,50

3-Dec-18        Multiple ,communications with Goldbe g and Cole re:    JSR             1,10         522.50



3-Dec-18        Research and anal ze                                  KAS              4,00         800,00




3-Dec-18        Review correspondence from FPL regarding deposit      KAS              0.10          20,00
                credit,
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                         .. f.„
                    ;
3-Dec-18        Review arid analysis of incoming callS/emails; Confer    KAS              0,60         120,00
                with attorney on matters at issue,
3-Dec-18        Confer with outside 'Counsel regarding postponement
                                                            ,            JML              0.30         142,50
                of status conference.    ,,,
                                                   4,1•;
3-Dec-18        Reviewed sales calls,                         -,•        MIG              1,10         522,50
4-Dec-18        Correspond with N, Surgeon and M, Goldberg               KAS              0,30          60,00
                regarding investor inquiries and FAQs,
                                 -
4-Dec-18        Review correspondence from                               KAS              0.10          2000
                                                                                                          ,
4-Dec-18        Multi sle communications with                            JSR              0,80         380.00

5-Dec-18        Correspond with                                          KAS              0.10          20,00

5-Dec-18        Work out of Oakwood office                               KAS              1,90         380,00

5-Dec-18        Review update from                                       KAS              0,10          20,00
5-Dec-18        Confer with paralegal regarding status of discovery      JML              0.30         142,50
                and updates to Initial Report.
6-Dec-18        Correspond with Receiver regarding                       KAS              0,20          40,00

6-Dec-18        Review court order on lift of asset freeze for payment   KAS              0.60         120.00
                of Dorfman's legal and living expenses; Prepare
                relevant check requests; Correspond with Receiver
                re: same,
6-Dec-18        Confer with N. Surgeon regarding lift of asset freeze.   KAS              0,10          20.00
6-Dec-18        Visit Oakwood office                                     KAS              3.00         600.00



6-Dec-18        Conference with Aim rehearing.                           MIG              0,20          95.00
7-Dec-18        Reviewed                                                 MIG              2,40       1,140.00
7-Dec-18        Confer with McLauglin regarding employee inquiry         KAS              0,20          40.00
                to.. ohtain 'personal property from premises,
7-Dec-18        Review information on                                    KAS              0.10          20,00
7-Dec-18        Confer regarding                                         KAS              0,20          40.00
7-Dec-18        Review and update information for Initial Report,        JML              2,30       1,092,50
10-Dec-18        Follow up with outside counsel in Azroui matter         JML              0,20          95,00
            ,   'regarding payment of attorneys fees.
10-Dec-18       Drafted email to Allison O'Neill,                        MIG              0,10          47,50
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10-Dec-18      Reviewed Cam Gerard deposition transcript and         MIG              3.10       1,472.50
               exhibits,
                         ,
10-Dec-18      Conference with                                       MIG              0,30         142.50

10-Dec-18                                                            MIG              1,80         855.00

11-Dec-18      Conference with Nairn re repori.                      MIG              0.20          95,00
11-Dec-18      Reviewed                                              MIG              0,60         285,00
11-Dec-18      Telephone conference with SunTrust Bank regarding     KS               0,40          80,00
               IOTA account for transfer of funds to pay expenses.
11-Dec-18      Work on accounting issues concerning invoices for     KS               0,60         120,00
               payment of expenses.
12-Dec-18      Telephone conference with RoboVault regarding         KS               0.30          60,00
               storage charges of Defendant's three vehicles,
12-Dec-18      Draft section of report                               NSS              3.20       1,520,00
12-Dec-18      Conference with N. Surgeon re report,                 MIG              0.20          95,00
12-Dec-18      Reviewed                                              MIG              1,60         760,00
12-Dec-18      Conference with                                       MIG              0,50         237,50
               matters,
13-Dec-18      Reviewed exhibits to TRO to prepare report.           MIG              2.40       1,140,00
14-Dec-18      Reviewed                                              MIG              1.40         665.00
              •C orresponded
14-Dec-18      Review                                                NSS              2,60       1,235,00
14-Dec-18      Review correspondenceillIMMIIMM                       JSR              0.40         190.00
17-Dec-18      Confer with SEC and seek access to Ad Works.          NSS              1,90         902,50
17-Dec-18      Reviewed                                              MIG              1.40         665.00
18-Dec-18      Conference with AWC re status,                        MIG              0.40         190.00
19-Dec-18      Review court filings.                                 JML              0,30         142.50
19-Dec-18      Review court docket for information for use in        JML              0,70         332,50
               motion for authority to release vehicle to lessor.
19-Dec-18      Communicate with Goldberg and                          JSR             0.30         142.50
               issue.
20-Dec-18      Conferende-With K. Ocalvo re.Goggle ad..              MIG              0,30         142.50
20-Dec-18      Conference with Caldes re Litmos and other issues,    MIG              0.30         142.50
20-Dec-18      Reviewed                                              MIG              0.50         237.50
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21-Dec-18      CoTiferenceiwith Receiver regarding pending matters,     KAS              0,20          40,00
21-Dec-18      Multiple conferences with McLaughin regarding            KAS              0,70         140,00
               inventory and pending inquiries; Review emails from
               third parties,
21-Dec-18      Review pleadings and court orders regarding              GRP              0.10          47.50
               pleading injunction, discovery and other matters.
26-Dec-18      Review Multiple correspondence                           JSR              0,20          95,00
26-Dec-18      Reviewed                                                 M1G              1.80         855,00
27-Dec-18      Reviewed Sales taxes,                                    MI6              0.70         332,50
27-Dec-18      Conference with lawyer for bonding company re:           MIG              0,60         285,00
               Ivantage and corresponded with FTC re same.
27-Dec-18     Confer with McLaughin on case administration              KAS              0.40          80,00
              matters,
27-Dec-18     Monitor calls and entails to receivership; Confer with    KAS              0,50         100,00
              McLaughin on matters.
27-Dec-18      Review and analyze FPL invoices for payment.             KAS              0,20          40,00
27-Dec-18      Confer RoboVault contract and fees for stored •          KAS              0.40          80,00
               vehicles; Review and discuss invoices,
27-Dec-18                                                               JML              3.80       1,805,00

27-Dec-18      Confer with paralegal regarding payment to               JML              0,80         380,00
               employees; review relevant case law.
27-Dec-18     Multiple communications with Robovault and discuss        JSR              0,40         190,00
              with Goldberg,
27-Dec-18      Review sale§ recordings and draft sections of report.    NSS              2,70       1,282.50
28-Dec-18      Confer with N. Surgeon regarding legal research on       JML              0.20          95,00



28-Dec-18      Conferences with N, Surgeon and J. Levit regarding       KAS              0,60         120.00
               pending motions and status report.
28-Dec-18      Follow up on payments to Dorfman for living              KAS              0.10          20,00
               expenses.
2-Jan-19       Work on address change request with US Postal            KAS              0,60         120,00
               Service for receivership entities; Mutiple conferences
               with A. McLaughlin re: same,
2-Jan-19       Correspond regarding                                     KAS              0.40          80.00
                                                         Health
                ene its
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                                   •i•   I-         •••

2-Jan-19       Confer wiON, Surgeon regarding 'employment .,            KAS              0.10          20,00
               verification requests,
2-Jan-19       Review multiple correspondence regarding case and        JML              0,30         142.50
               confer with N. Surgeon,
3-Jan-19       Review email                                             KAS              0.50         100.00


3-Jan-19       Communicate with                                         JSR              0,60         285,00
               IIIIIMI(,4), Commun
                                .1 111
                                    ea e,w
                                        11.1          1,   1.o
                                                             . am1111
               (,2),
4-Jan-19       Multiple communications with Goldberg, Abbate,           JSR              0.90         427.50
               Guzzi and
4-Jan-19                                                                GJG              0,40         190.00


4-Jan-19       Visit Doral site to gather documents, including HR       NSS              4.10       1,947.50
               verification info,
4-Jan-19                                                                KAS              2.50         500,00




4-Jan-19       Receive communications regarding employee                KAS              0,40          80,00
               verification; Confer with attorney regarding same,
4-Jan-19       Review and analysis of inquires to receivership and      KAS              0.70         140,00
               address issues with attorneys,
4-Jan-19       Work on matters for status report.                       JML              3,20       1,520,00
4-Jan-19                                                                MIG              0.40         190.00

 7-Jan-19                                                               KAS              0,30          60,00

                                              itsme; repare
               check request in payment of same,
 7-Jan-19                                                               KAS              0.10          20,00
                                                 ,
 8-Jan-19     ' Conference with Kelly O'Brien from HII re notices to    MIG              0,40         190,00
                insureds,
 8-Jan-19      conference with Julian Wells re UBS lien,                MIG              0,30         142.50
 9-Jan-19      Corresponded With ex-employees re matters.               MIG              0,30         142.50
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 9-Jan-19       Corresponded 'with                                    MIG              0.20          95,00
 9-Jan-19       Review caseactivity and attorney aSsignments and      JML              3.20       1,520,00
                prepare information   Status.ROOrt,
 10-Jan-19      Correspond with Flexential's counsel regarding        KAS              0,20          40,00
                payment,
10-Jan-19       Conference with •Penman re HIL                        MIG              0,20          95,00
 10-Jan-19      COnference with Brian Martin of Flexenthal re         MIG              0,50         237,50
                computer service.
11-Jan-19       Reviewed correspondence from Salesforce,              MIG              0,20          95,00
11-Jan-19       Conference with Salesforce re bankruptcy.             MIG              0,30         142,50
 11-Jan-19      Confer with Receiver and paralegal regarding FAQ's.   JML              0,20          95.00
14-Jan-19       Multiple correspondence regarding payment of          JML              0.40         190,00
                outside counsel,
14-Jan-19       Corresponded with creditor re status.                 MIG              0,20          95.00
 15-Jan-19      Worked on draft of report.                            MIG              1,30         617.50
 15-Jan-19                                                            MIG              0,50         237,50

 15-Jan-19      Multiple correspondence regarding Status Report,      JML              0,30         142.50
 15-Jan-19      Communications with Receiver on matters regarding     KAS              0,40          80,00

 15-Jan-19      Draft report,                                         NSS              1.70         807,50
 16-Jan-19      Review additional consumer calls to prepare           NSS              2,50       1,187.50
                Receiver's report.
 16-Jan-19      Attend status conference on case management issues.   NSS              1,00         475,00



 16-Jan-19      Conference with Brian from Flexinthal re status.      MIG              0,20          95.00
 17-Jan-19      Communications with Surgeon regarding status          KAS              0,20          40.00
                report,
 17-Jan-19      Confer regarding access to Paycom.                    NSS              0.50         237,50
 18-Jan-19      Draft Receiver's report.                              NSS              2,10         997,50
 18-Jan-19      Review court filings.                                 JML              0.30         142.50
 21-Jan-19                                                             JSR             0,40         190,00

 22-Jan-19      Prepare Receiver's Report.                            NSS              2.40       1,140,00
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22-Jan-19      Review ernail.from Past employee regarding              KAS              0,20          40,00
               obtaining personal item from Oakwood office;
               Research inventory re: same,
22-Jan-19      Confer with attorney regarding Receiver's report,       KAS              0,20          40,00
22-Jan-19      Conference with Naim re report,                         MIG              0,20          95,00
22-Jan-19      Conference with Steve R re status,                      MIG              0,30         142.50
23-Jan-19      Conference with Naim re report.                         MIG              0,40         190.00
23-Jan-19      Drafted initial, report dealing With cuStorner calls.   MIG              4.80       2,280,00
23-Jan-19      Confer with McLaughlin regarding FPL payment.           KAS              0.10          20,00
23-Jan-19      Monitor receivership emails and calls.                  KAS              0,30          60,00
23-Jan-19      Review status update from accountants regarding         KAS              0,30          60.00

23-Jan-19      Draft sections of Receiver's report.                    NSS              4.30       2,042.50
24-Jan-19      Draft receivers report.                                 NSS              3,10       1,472,50
24-Jan-19      Conference with Naim re report.                         MIG              0,20          95.00
24-Jan-19      Conference with Jim Davis at FTC re update.             MIG              0,40         190,00
24-Jan-19      Reviewed sales scripts.                                 MIG              0,30         142,50
24-Jan-19      Continued drafting First Interim Report.                MIG              3,10       1,472,50
24-Jan-19      Reviewed and executed computer forensic                 MIG              0,10          47,50
               documents.
25-Jan-19      Prepare overnight package to vendor regarding hard      KAS              0,30          60.00
               drive.
25-Jan-19      Retrieve message from B, Traitz regarding personal      KAS              0,10          20.00
               belongings,
25-Jan-19      Review invoice from IPFS corporation regarding          KAS              0,10          20,00
               final installment payment.
25-Jan-19      Draft Receiver's report.                                NSS              2,20       1,045.00
26-Jan-19      'Follow up on matter regarding Dorfman's request for    KAS              0,10          20.00
                personal items,
28-Jan-19      Review court filings and follow up.                     JML              0,20          95,00
29-Jan-19      Call with                                               KAS              0,10          20,00
29-Jan-19      Review court updates and discuss status with            KAS              0,30          60.00
               attorney,
29-Jan-19      Call with former employee to pick up personal           KAS              0.20          40,00
               belongings at Oakwood office and arrange for same.
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30-Jan-19      Meet with D. Pore at Simple Health's office to obtain   KAS              0,60         120,00
               personal items,
30-Jan-19      Draft letter over Receiver's signature for employee     KAS              0,20          40,00
               regarding employment termination.
30-Jan-19      Confer with attorneys regarding Dorfman personal        KAS              0,20          40.00
               property.                         .0.
                             ,               ,
30-Jan-19      Corresponded with Ryan'O'Quirtnre perscinal             MIG              0,20          95,00
               property,
30-Jan-19      Draft responses to Defendant's counsel regarding        NSS              0,80         380,00
               inquiries concerning document production and
               Defendant's personal effects,
30-Jan-19      Confer with FTC regarding status of receivership.       NSS              1,00         475,00
31-Jan-19      Corresponded with UBS counsel re funds.                 MIG              0,20          95,00
31-Jan-19      Reviewed spreadsheet received from HII counsel and      MIG              0.40         190.00
               corresponded with FTC re same,
31-Jan19       Corresponded with counsel for HIT re accounting.        MIG              0.30         142,50
31-Jan-19      Confer with N. Surgeon regarding Salesforce,            KAS              0,10          20.00
31-Jan-19      Confer with RoboVault regarding storage payment.        KAS              0,20          40,00
1-Feb-19                                                               KAS              0,10          20,00

1-Feb-19       Follow up with payments to Robovault.                   KAS              0,10          20.00
1-Feb-19       Correspond regarding issuance of employee 1099's,       KAS              0.30          60,00
1-Feb-19       Conference with FTC                                     MIG              0.40         190.00

1-Feb-19       Conference with Naim re Salesforce.                     MIG              0,10          47.50
1-Feb-19       Corresponded with111111111111111                        MIG              0,20          95,00
1-Feb-19       Conference with Julian Wells re UBS.                    MIG              0,30         142.50
4-Feb-19       Review follow up communications regarding El            KAS              0,20          40,00

4-Feb-19       Receipt and review of returned W2 forms from US         KAS              0.60         120,00
               Postal Service and perform research to locate better
               address to resend same to foi flier employees; Call
               with former employee re: address change,
4-Feb-19        Review and respond to emails regarding Salesforce      KAS              0,40          80,00
                account; Review invoice and prepare draft wire
              , transfer instructions to pay data storage for period
                11/10/18 - 2/9/19,
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 4-Feb-19      Review information for Status Report.                 JML              0.90         427,50
 5-Feb-19      Confer with Receiver regarding consumer inquries      KAS              0.30          60,00
               regarding policy cancellation:
 5-Feb-19      Multiple conferences with Receiver and N. Surgeon     KAS              0,50         100.00
               regarding records access and vacating Oakwood
               office.
 5-Feb-19      Conference with Rubino re status,                     MIG              0,20          95,00
 5-Feb-19      Conference with Scott re Simple discovery.            MIG              0,30         142,50
 5-Feb-19      Corresponded with                                     MIG              0.20          95.00
 5-Feb-19      Conduct searches for additional documents requested   NSS              1.50         712,50
               by Defendant's counsel,
6-Feb-19       Conference with Smiley re Dorman personal property    MIG              0.20          95,00
               and discovery,
6-Feb-19       Conference with Smiley re meeting.                    MIG              0,10          47.50
6-Feb-19       Conference with Naim rediscovery.                     MIG              0,30         142,50
6-Feb-19       Conference with FTC rescheduling.                     MIG              0,20          95.00
 6-Feb-19      Multiple conferences with Receiver and Surgeon to     KAS              0.40          80.00
               discuss case matters.
6-Feb-19       Visit RoboVault to obtain personal item from Range    KAS              0,70         140,00
               Rover belonging to Defendant in advance of
               scheduled meeting to return personal items.
 6-Feb-19      Review court's directive regarding outcome of         KAS              0,10          20,00
               discovery hearing.
 6-Feb-19      Review email from R. Birnbaum, Esquire regarding      KAS              0,10          20.00
               HII customer support.        '
 6-Feb-19      Confer with Receiver regarding consurner inquiries    KAS              0,20          40,00
               regarding policy matters,
 6-Feb-19      Meet with Dorfman and R. O'Quinn at Oakwood           KAS              2,70         540.00
               office to review documents and pickup personal
               items,
 6-Feb-19      Correspond with Dorfman's counsel to arrange for      KAS              0,20          40,00
               meeting at Oakwood office to pickup personal items,
 6-Feb-19      Correspond with vendor regarding hard drive.          KAS              0,10          20.00
 7-Feb-19      Monitor receivership emails and calls,                KAS              0,40          80,00
 7-Feb-19      Update master mailing list with information on        KAS              0,30          60.00
               potential claimant.
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     7-Feb-19       Dealt with former employee requests to obtain .       KAS              0,40         80,00
                    personal items frorri Office. •
                                        .      .
    7-Feb-19        Conference with FTC and HHS re enrollment of          MIG              0.40        190,00
                    consumers,•
     7-Feb-19       Corresponded with Birnbam re data. '                  MIG              0,10         47,50
    7-Feb-19        Conference with Brian Martin of Flexenthal re         MIG              0,20         95.00
                    computers,
    7-Feb-19        Corresponded with Dorfman's lawyers re discovery.     MIG              0,20         95,00
    7-Feb-19        Conference with Libby Scott and Joanie Wen of         MIG              0,50        237.50
                    FTC.
    7-Feb-19        Multiple communications                               JSR              0.40        190,00

     8-Feb-19       Confer with vendor regarding establishing access to   NSS              0.70        332.50
                    account,
    8-Feb-19        Draft Receiver's interim status report.               NSS              2,60       1,235,00
     8-Feb-19       Conference with Joanie and Jim re filing.             MIG              0,30        142,50
     8-Feb-19       Reviewed and revised interim report.                  MIG              1.60        760.00
    8-Feb-19        Correspond with N. Surgeon regarding SalesForce       KAS              0,10         20,00
                    account information,
    8-Feb-19        Analyze accountants report on business operations.    JML              0,60        285.00
    9-Feb-19        Monitor receivership emails and follow up on case     KAS              0,80        160.00
                    status matters,
    9-Feb-19        Correspond with investor regarding personal items.    KAS              0.10         20,00
    9-Feb-19        Review court docket and determine updates for         KAS              1,50        300.00
                    receivership website,
,   11-Feb-19       Communications with N. Surgeon regarding              KAS              0.50        100,00
                    reactivation of Salesforce account; Arrange for '
                    expedited payment by wire transfer in payment of •
                    past due amounts owed,
    11-Feb-19       Monitor receivership calls and emails; Confer with    KAS              0.50        100,00
                    Receiver regarding various inquiries.
    11-Feb-19       Conference with Naim re Sales Force,                  MIG              0,20          95.00
     11-Feb-19      Reviewed and executed checks.                         MIG              0.10          47,50
     11-Feb-19      Review and revise frequently asked questions for      NSS              0.70        332,50
                    website.
     12-Feb-19      Confer with new SalesForce account executive          NSS              0.60        285.00
                    regarding receivership needs for SalesForce data,
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12-Feb-19       Confer with accountant,                                NSS              0,70         332,50
12-Feb-19       Corresponded with attorneys for UBS.                   MIG              0,20          95.00
12-Feb-19       Review of mail received on behalf of receivership      KAS              0,60         120,00
                entities and deteintine next steps or if response
                necessary; Confer with A. McLauglin on follow up
                matters,
12-Feb-19       Update master chart to track receivership vendors      KAS              0,40          80.00
                with outstanding sums due,
12-Feb-19       Review and respond to email inquiry regarding          KAS              0,30          60,00
                Amex.
12-Feb-19       Monitor receivership emails and calls.                 KAS              0,60         120,00
12-Feb-19       Review correspondence regarding new Salesforce         KAS              0,40          80,00
                user agreement; Arrange for payment of user license
                under new contract,
13-Feb-19       Review receivership mail from USPS mailboxes,          KAS              0,10          20,00
13-Feb-19       Prepare and send follow up letter to US Postal         KAS              0.20          40,00
                Service regarding Receiver's appointment and request
                to forward mail,
13-Feb-19       Dealt with Christina from the US Department of         MIG              0,10          47.50
                Labor,
13-Feb-19       Dealt with AT&T issue.                                 MIG              0,20          95,00
13-Feb-19       Negotiate with Salesforce regarding renewal of         NSS              0,60         285,00
                licenses and new rates.
14-Feb-19                                                              NSS              2,10         997.50

14-Feb-19                                                              MIG              1,20         570,00
14-Feb-19       Reviewed N, Surgeon correspondence,                    MIG              0,10          47,50
15-Feb-19       Corresponded with K. Smiley re Hollywood lease,        MIG              0,20          95.00
15-Feb-19       Meet with cleaning company at Oakwood office           KAS              2,60         520,00
                regarding estimate for maintenance of business
                premises; Meet with Landlord regarding status of
                receivership and vacating premises,
15-Feb-19       Correspond with Paramount regarding equipment          KAS              0,20          40,00
                return,
 17-Feb-19                                                             NSS              3,20       1,520,00

 18-Feb-19      Receive call from State of Iowa regarding records      KAS              0,40          80,00
                request (,3); Confer with N. Surgeon on matter (,1),
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18-Feb-19       Confer with J. Levit regarding status report items,     KAS              0.30          60,00
18-Feb-19       Reviewed and executed expense checks.                   MIG              0.30         142,50
19-Feb-19       Conference with Jim Davis, Libby Scott, Naim and        MIG              0,30         142,50
                Joannie Wei re status,
19-Feb-19       Reviewed Birnbaum letter and drafted letter to          MIG              0,40         190,00
                Grumer,
19-Feb-19       Follow up on payment to Salesforce; Review wire         KAS              0,10          20,00
                confirmation details,
20-Feb-19       Follow up with utility payments for Oakwood             KAS              0,20          40,00
                property.
20-Feb-19       Review and analyze vendor invoices and catalog          KAS              0,50         100,00
                same.
21-Feb-19       Receipt and review of invoice from J. Jarecki           KAS              0,30          60.00
                regarding Skill Path; Update chart.
21-Feb-19       Review and respond to inquiry from creditor             KAS              2.40         480,00
                regarding hardship request and collection of past due
                debt (,5); Prepare updates to master mailing/claims
                list (,5); Review FTC Response; upload response to
                website (.4); Work on second request to USPS
                regarding address changes for receivership entities
                (.6).
21-Feb-19                                                               NSS              0.70         332,50
21-Feb-19       Review additional call recordings obtained by           NSS              2.30       1,092.50
                Defendant,
22-Feb-19       Telephone conference with B. Dinneen regarding          KAS              0,20          40.00
                showing property to prospective tenant.
22-Feb-19       Monitor receivership calls and emails; Confer with      KAS              0.70         140.00
                clerk regarding handling of miscellaneous mail.
22-Feb-19       Travel to Simple Health to meet with cleaning           KAS              2,50         500.00
                company and supervise same; Prepare update to
                inventory sheet,
22-Feb-19       Conference with N. Surgeon re report and hearing.       MIG              0,20          95.00
22-Feb-19       Conference with Robbins re delivery of car.             MIG              0,10          47.50
25-Feb-19       Monitor receivership calls and emails; Confer with      KAS              1,00         200,00
                clerk regarding returned mail; Arrange for payment
                of storage invoice; Review miscellaneous incoming
                mail,
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26-Feb-19      Review additional call recordings obtained by             NSS              2.20       1,045,00
               Defendant.
27-Feb-19                                                                NSS              2,30       1,092,50

28-Feb-19      Conference with N. Surgeon regarding follow up on         KAS              0.40          80,00
               pending matters,
1-Mar-19       Review and respond to consumer inquriries.                KAS              0,60         120.00
1-Mar-19       Corresponded with FTC re scheduling issues,               MIG              0,10          47,50
4-Mar-19       Monitor receivership emails and mail,                     KAS              0.60         120,00
5-Mar-19       Attend to matters regarding utility invoices to be        KAS              0,30          60.00
               paid,
5-Mar-19       Review and discuss UCC filings from Health Plans          KAS              0,60         120.00
               Intermediaries Holdings, LLC with Receiver,
5-Mar-19       Catalog files and documents produced to Defendants        NSS              3.20       1,520,00
               for Receiver's report,
6-Mar-19       Review additional call recordings requested by            NSS              3,80       1,805.00
               Defendants.
6-Mar-19       Receipt and review of correspondence fro Texas            KAS              0,10          20,00
               Comptroller regarding Shift Health Solutions, LLC,
               NMS Insurance Agency LLC, Senior Benefits One,
               LLC, and HBC Direct LLC,
6-Mar-19       Receipt and review of correspondence from Texas           KAS              0.20          40,00
               Comptroller and forward to accountants.
7-Mar-19       Draft email to vendor regarding effect of asset freeze.   NSS              0.50         237.50
8-Mar-19       Communications with N. Surgeon, M. Hildago and            KAS              0,40          80.00
               M. Parisi regarding employee 1099 data/status.
12-Mar-19      Monitor receivership emails/calls and attend to same;     KAS              0.50         100,00
               Confer with clerk regarding incoming mail,
12-Mar-19      Research and respond to inquiry regarding status          JML              0,20          95,00
               report.
12-Mar-19      Confer with counsel for AMEX regarding past due           NSS              0.70         332,50
               bill.
13-Mar-19      Review correspondence from                                KAS              0.10          20.00
                                   Follow
               same,
13-Mar-19      Prepare wire transfer for payment of Boberdoo and         KAS              0.40          80.00
               update attorney on payment.
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 13-Mar-19      Corresponded with Birnbaum re reconciliation and        MIG              0,30         142,50
                reviewed reports.
 14-Mar-19      Corresponded with Birnbaum re January and               MIG              0,40         190,00
                February reconciliation and reviewed reports,
 14-Mar-19      Corresponded with Wei re reconciliations.               MIG              0,10          47,50
 14-Mar-19      Review HII communication regarding wire and send        KAS              0.20          40,00
                wire, instructions.
 14-Mar-19      Correspond with Receiver and N, Surgeon regarding       KAS              0,40          80.00
                Amex and Nevada property matters,
 14-Mar-19      Confer with Defendants counsel and Boberdoo             NSS              0,80         380,00
                regarding dashboard access.
 18-Mar-19      Communicate with Robovault and review invoices,         JSR              0.30         142,50
 18-Mar-19      Meet with Kimco s leasing manager to provide key        KAS              0,70         140.00
                to Oakwood office with instructions on future access,
 18-Mar-19      Correspond with                                         KAS              0.20          40,00
 18-Mar-19      Follow up District Courts regarding 28 USC 754          KAS              0,60         120,00
                filings,
 18-Mar-19      Review incoming receivership mail and determine if      KAS              0,60         120,00
                response necessary,
 19-Mar-19      Review email exchanges regarding HII's W-9              KAS              0,40          80,00
                request; Prepare and send W-9 to Birnbaum; Call
                with HIT regarding funds transfer matters,
 19-Mar-19      Review of court filings regarding motion for            KAS              0,30          60,00
                clarification and arrange for web posting of same,
 19-Mar-19      Review corrspondence from US District Court             KAS              0.20          40,00
                Northern District of Texas regarding 754 filing;
                Confer with clerk on matter.
 19-Mar-19      Confer with M. Goldberg regarding Flexential            KAS              0,20          40.00
                storage.
 19-Mar-19      Reviewed Dorfman's reply to correspondence.             MIG              0,60         285,00
 20-Mar-19      Review correspondence from Fiorentino regarding         KAS              0.20          40,00
                Notice of Non-Renewal ofProfessional Liability
                Insurance; Follow up with Receiver on matter.
 20-Mar-19      Confer with Receiver regarding Flexential services      KAS              0.20          40.00
                and amounts due,
 20-Mar-19                                                              NSS              0,50         237,50
 21-Mar-19      Work on opening account opening matters for new         KAS              0.70         140.00
                CIB bank with Bank United.
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 21-Mar-19      Reivew and discuss incoming receivership mail;       KAS              1.20         240,00
                Monitor receivership calls and emails.
 21-Mar-19      Review Agreed Order Granting Defendant's Motion      KAS              0,10          20,00
                for Expedited Discovery.
 25-Mar-19                                                           KAS              0,10          20,00


 25-Mar-19      Edited letter to Daskal Bolton Accountants.          KAS              0.60         120.00
 25-Mar-19      Composed email to B. Dinneen, Stiles corporation.    KAS              0,20          40,00
 25-Mar-19      Corresponded with Quinn re UBS account,              MIG              0,20          95.00
 25-Mar-19      Corresponded with Wells re UBS account.              MIG              0.20          95,00
 26-Mar-19      Confer with FTC,                                     NSS              0.60         285,00
 28-Mar-19      Corresponded with Surgeon re K-1's,                  MIG              0.30         142.50
 28-Mar-19      Reviewed and approved wire transfers,                MIG              0,10          47.50
 28-Mar-19      Review and download account opening documents        KAS              0.30          60,00
                from Bank United for Receiver's signature.
 28-Mar-19      Review and discuss incoming mail; monitor            KAS              0,80         160,00
                receivership calls/emails.
 28-Mar-19      Multiple conferences regarding Paycom matters;       KAS              0,40          80,00
                prepare wire transfer request form for payment of
                services provided, ,
 29-Mar-19      Prepared for and attended conference call with       MIG              0,40         190.00
                Surgeon and Scott.
 1-Apr-19       Dealt with K-1 issue,                                MIG              0.30         142,50
 1-Apr-19       Worked on draft of report.                           MIG              0,60         285,00
 1-Apr-19       Confer with J, Levit regarding status of business    KAS              0,40          80.00
                premises for status report.
 1-Apr-19       Review of draft initial report.                      KAS              0.50         100,00
 1-Apr-19       Review court docket and revise Status Report.        JML              2.80       1,330.00
 1-Apr-19       Confer with Receiver and with N. Surgeon regarding   JML              0,90         427,50
                updates to Receiver's Report.
 2-Apr-19       Review leads data provided by Boberdoo,              NSS              0.60         285.00
 2-Apr-19       Confer regarding Receiver's report,                  NSS              0,20          95,00
 2-Apr-19       Confer with FTC regarding status of case.            NSS              0,30         142,50
 2-Apr-19       Edited Receiver's Asset Freeze Letter Chart,         KAS              0,40          80,00
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2-Apr-19      Receive call from former employee regarding back      KAS               0,20          40.00
              pay and discuss with Receiver.
2-Apr-19      Review and revise Receiver's Initial Report,          KAS               0.70         140,00
2-Apr-19      Edited doe Simple Health - MASTER MAILING             KAS               0,20          40,00
              LIST (Vendors, Other),
2-Apr-19      Correspond with FTC regarding computer                KAS               0.40          80.00
              inventories; Organize records in FileSite,
2-Apr-19      Review additional documentation from Bank United      KAS               0,40          80,00
              for execution by Receiver for new bank account;
              Meet with M. Goldberg re: same,
2-Apr-19      Confer with N. Surgeon regarding pending case         KAS               0.20          40.00
              matters,
2-Apr-19      Conference with FTC re status.                        MIG               0,30         142.50
2-Apr-19      Drafted report.                                       MIG               1,10         522,50
3-Apr-19      Conference with FTC re status.                        MIG               0.10          47.50
3-Apr-19      Conference with O'Quinn re status.                    MIG               0,20          95.00
3-Apr-19      Conference with Surgeon re report.                    MIG               0,20          95,00
3-Apr-19      Reviewed                     and drafted report.      MIG               1,60         760,00
3-Apr-19      Correspond regarding wire transfer request.           KAS               0,10          20,00
3-Apr-19      Conference with N. Surgeon regarding pending          KAS               0.30          60,00
              matters,
3-Apr-19      Receive call from ADT regarding past due invoice;     KAS               0,30          60,00
              Update mailing chart with contact information.
3-Apr-19      Confer with N. Surgeon regarding response to          KAS               0.30          60.00
              investor inquiries,
3-Apr-19      Review and analyze incoming mail to determine if      KAS               0,40          80.00
              response or payment is necessary,
3-Apr-19      Analyze and discuss frozen accounts and cash          KAS               0,50         100.00
              balance with Receiver,
3-Apr-19      Confer with FTC regarding status of case.             NSS               0,10          47.50
3-Apr-19      Review SalesForce,com to supply call recordings for   NSS               1,30         617,50
              Defendant's addition request for records.
3-Apr-19      Review analysis prepared by accountant for            NSS               2,40       1,140.00
              Receiver's report,
3-Apr-19      Multiple cOnferences regarding Status Report.         J-ML              0,30         142.50
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 4-Apr-19       Review Ad Words accounts and compile key words          NSS              1,60         760.00
                used for consumer advertisements.
 4-Apr-19       Worked on draft of report and reviewed scripts.         MIG              2,80       1,330,00
 5-Apr-19       Worked on draft of report.                              MIG              2,60       1,235,00
 5-Apr-19       Review and discuss incoming mail, '                     KAS              0,40          80,00
 5-Apr-19       Review sales scripts, verification scripts and notes    NSS              4.10       1,947.50
                from interviews with employees, Draft Receiver's
                report,
 8-Apr-19       Review Simple Health files for information              NSS              7,30       3,467,50
                pertaining to Receiver's report. Draft Receiver's
                report,
 8-Apr-19       Confer with M. Goldberg and N. Surgeon regarding        KAS              0,20          40.00
                post-receivership invoices due to Flexential and
                reboot expenses.
 8-Apr-19       Review of declarations for information requested by     KAS              0,40          80,00
                Receiver,
 8-Apr-19       Research and prepare information on corporate           KAS              0,70         140.00
                entities,
 8-Apr-19       Reviewed FTC reply and conference with Surgeon re       MIG              0,80         380,00
                same,
 9-Apr-19       Worked on draft of Receiver's report,                   MIG              5,80       2,755.00
 9-Apr-19       Work on website updates; Review receivership mail       KAS              0.40          80.00
                with clerk and provide instructions for further
                handling.
 9-Apr-19       Confer with N. Surgeon and M. Goldberg regarding        KAS              0,10          20,00
                Flexential fees,
 9-Apr-19       Work on Receiver's Initial Report and Exhibits,         KAS              4,00         800.00
 9-Apr-19       Draft Receiver's report,                                NSS              2,30       1,092,50
 9-Apr-19       Review Boberdoo leads infolination for Receiver's       NSS              1.20         570,00
                report.
 9-Apr-19       Visit Simple Health site and Peak 10 to reset access.   NSS              2,30       1,092.50
 10-Apr-19      Draft receiver's report.                                NSS              2,60       1,235.00
 10-Apr-19      Confer with Flexential to resolve server issue,         NSS              0.70         332,50
 10-Apr-19      Conferences with N. Surgeon regarding revisions to      KAS              0,50         100,00
                Receiver's report and related matters,
 10-Apr-19      Work with M, Goldberg and N. Surgeon on revisions       KAS              4,80         960,00
                to Receiver's report and exhibits,
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10-Apr-19      Review correspondence and edited Asset Freeze            KAS              0.40          80,00
               Chart,
10-Apr-19      Conference with FTC re hearing.                          MIG              0,10          47,50
10-Apr-19      Finalized first draft of report.                         MIG              5,10       2,422,50
11-Apr-19      Worked on draft of report,                               MIG              1.40         665,00
11-Apr-19      Review and analyze incoming mail and discuss with        KAS              0,50         100,00
               clerk,
11-Apr-19      Review and edit various portions of Receiver's First     KAS              6,20       1,240,00
               Interim Report and prepare exhibits; Multiple
               conferences with Receiver and N. Surgeon regarding
               reporting matters,; Review and edit accountant's
               exhibits and incorporate information into report,
11-Apr-19      Strategize and analyze changes to Receiver's report,     NSS              2.30       1,092,50
11-Apr-19      Update Master Mailing List with creditors' updated       AMM              0,30          22.50
               contact information; and save digital copies to vendor
               files,
11-Apr-19      Create and organize digital copies of daily mail         AMM              0,30          22,50
               received.
11-Apr-19      Analyze and review mail with paralegal.                  AMM              0.50          37,50
11-Apr-19      Update Master Mailing List with creditors' updated       AMM              0,40          30.00
               contact information; save digital copies to vendor
               files,
11-Apr-19      Respond to former employee regarding change of           AMM              0,20          15.00
               address request.
11-Apr-19      Update Master Mailing List with creditors' updated       AMM              1,30          97,50
               contact information; save digital copies to vendor
               files,
11-Apr-19      Conference with paralegal regarding vendor               AMM              0.30          22.50
               correspondence.
12-Apr-19      Review and organize receivership mail in File Site.      AMM              0,20          15,00
12-Apr-19      Research tax form issue; emailed to the attention of     AMM              0,20          15,00
               paralegal.
12-Apr-19      Review and analyze mail with paralegal.                  AMM              0.30          22,50
12-Apr-19      Process check for deposit that was received from         AMM              0,50          37,50
               Boca T-Rex for a security deposit refund,
12-Apr-19      Finalize and file Receiver's report,                     NSS              3,30       1,567.50
12-Apr-19      Multiple revisions to Receiver's First Interim Report    KAS              4,30         860,00
               and Exhibits and prepare same for e-filing.
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 12-Apr-19      Work on documents to submit to court in advance of      KAS              0,70         140.00
                preliminary injunction hearing; Confer with N.
                Surgeon re: same,
12-Apr-19       Confer with Levit regarding case status matters.        KAS              030           60,00
12-Apr-19       Multiple communications with A. McLaughlin              KAS              0.80         160.00
                regarding creditor notices and spreadsheet updates;
                Review and analyze incoming mail and provide
                instructions for further handling,
12-Apr-19       Reviewed and made final edits to report.                MIG              1.60         760.00
12-Apr-19       Conference with Naim re report.                         MIG              0.20          95,00
12-Apr-19       Corresponded with Julian Wells re UBS account.          MIG              0,30         142.50
 15-Apr-19      Prepared Escrow Deposit Form regarding wire             KAS              0.40          80.00
                payment from Health Plan Intermediaries Holdings;
                Review HBO March reconciliation of commission
                payments.
15-Apr-19       Provide update to attorney on the Flexential invoice    AMM              0,10           7.50
                payment.
 15-Apr-19      Review Flexential invoice; and arrange for payment      AMM              0.20          15,00
                of same,
 15-Apr-19      Review RoboVault monthly invoice; and arrange for       AMM              0,10           7.50
                payment of same,
 15-Apr-19      Update Master Mailing list with new vendor              AMM              0.10           7.50
                information and save invoices to relative account
                folders in File Site,
 15-Apr-19      Review and analyze daily mail with paralegal.           AMM              0,40          30.00
 15-Apr-19      Review AT&T invoice for Oakwood office and              AMM              0.10           7,50
                prepare check request in payment of same.
 16-Apr-19      Update master mailing list with new creditor            AMM              0.40          30,00
                information,
 16-Apr-19      Prepare check request for the payment of the Florida    AMM              0,20          15.00
                Power and Light invoice received for suite 100 of the
                Oakwood office.
 16-Apr-19      Receipt and review of denial of appeal and post         KAS              0.20          40,00
                update to website,
 16-Apr-19      Confer with N. Surgeon regarding post-hearing           KAS              0.20          40,00
                matters,
 17-Apr-19      Conference with Sonn re class action,                   MIG              0,20          95,00
 17-Apr-19      Reviewed bank documents re balances.                    MIG              0,40         190,00
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 17-Apr-19      Update creditors information on master mailing list,    AMM              0,50          37,50
 18-Apr-19      Process check request for Florida Power and Light       AMM              0,10           7,50
                invoice payment,
 18-Apr-19      Review and analyze daily mail received with             AMM              0,50          37.50
                paralegal,
 18-Apr-19      Corresponded with creditor re status.                   MIG              0,30         142,50
 18-Apr-19      Reviewed documents re HIT.                              MIG              0,70         332.50
 18-Apr-19      Reviewed Birnbaum letter,                               MIG              0,20          95,00
 19-Apr-19      Retrive voicemail message from attorney for             KAS              0,20          40.00
                deceased investor's estate and return call to discuss
                updating Receiver's files,
 19-Apr-19      Review and analyze mail with paralegal; and follow      AMM              0,40          30,00
                up on matters.
 19-Apr-19      Update master mailing list with new creditor            AMM              0,20          15.00
                information,
 19-Apr-19      Update master mailing list with new creditor            AMM              0.20          15,00
                information,
 19-Apr-19      Update creditor records on master mailing list.         AMM              0.30          22,50
 22-Apr-19      Review and analyze daily mail received with             AMM              1,50         112,50
                paralegal,
 23-Apr-19      Confer with FTC and review documents to                 •NSS             0,90         427,50
                supplement Receiver's report.
 24-Apr-19      Review documents for supplemental report.               NSS              1,30         617,50
 24-Apr-19      Update master mailing list with new creditor            AMM              0,40          30.00
                information,
 24-Apr-19      Telephone conference with two former employee           KAS              0,30          60,00
                regarding case status.
 25-Apr-19      Review and analyze incoming mail and discuss;           KAS              0.60         120,00
                Attend to matters regarding utility services; Dealt
                with returned tax statements to former employees,
 25-Apr-19      Update master mailing list with new creditor            AMM              0,50          37.50
                information,
 26-Apr-19      Update Master mailing list with new creditor            AMM              0.50          37,50
                information,
 26-Apr-19                                                              NSS              0,60         285.00
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 26-Apr-19        Receipt and review of update from e-discovery            KAS              0,30          60,00
                  vendor regarding project management and prepare
                  notes to file,
26-Apr-19         Corresponded with Allweb Leeds,                          MIG              0.20          95,00
29-Apr-19         Prepare updates for website; Review incoming mail        KAS              1,20         240,00
                  and discuss with A. McLaughlin; Prepare memo to
                  Receiver regarding auction proposals for Doral and
                  Oakwood; Work on plan to move hard drives from
                  Doral to new location,
29-Apr-19         Review of Receiver's reply memorandum regrading          KAS              0.40          80,00
                  turnover of funds from Homer Bonner and arrange
                  for web posting; Update claims chart with creditor
                  information pertaining to same,
29-Apr-19         Confer with FTC,                                         NSS              0.50         237,50
30-Apr-19         Research and analyze daily mail with paralegal,          AMM              0,30          22,50
30-Apr-19         Telephone conference with AT&T billing and               AMM              0,60          45.00
                  collection departments regarding dummy accounts
                  and the disconnection of services at the Doral office,
30-Apr-19         Multiple conferences with A. McLaughlin to review        KAS              0.60         120,00
                  mail and discuss payments and other steps to be taken
                  with creditors.
30-Apr-19         Dealt with investor re website.                          MIG              0,10          47,50
1-May-19          Reviewed correspondence from employee and                MIG              0,20          95,00
                  responded thereto.
1-May-19          Analyze moving supplies needed to pack                   KAS              2.40         480,00
                  memorabilia at Oakwood office and purchase same;
                  Multiple conferences with property management
                  team for Doral location to discuss logistics and
                  approval to move computers; Research rental
                  transportion companies to move computers from
                  Doral to Hollywood and advise Receiver on matter;
                  Finalize move plans.
 1-May-19         Prepare password encrypted copy of tax forms;            AMM              0.30          22,50
                  prepare email to former employee with same,
 2-May-19         Confer with Receiver regarding case status,              JML              0,30         142.50
 3-May-19         Preparation for move of computers and finalize           KAS              2,10         420,00
                  details/equipment rental,
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 5-May-19       Project management regarding move of computers          KAS              8.50       1,700,00
                from Doral to Oakwood Office (identify and
                disassemble equipment, truck rental and return, drop-
                off, etc.),
 6-May-19       Prepare check request for vendors regarding move of     KAS              0.90         180,00
                property from Doral to Hollywood; Update computer
                inventory chart; Follow up on questions regarding
                discrepancies with inventory,
 6-May-19       Visit Oakwood office to follow up on matters            KAS              1,10         220,00
                regarding Doral property moved to location,
 6-May-19       Follow up with U-Haul regarding post-move matters       KAS              0.50         100.00
                concerning possible damage claim,
 7-May-19       Correspond with N. Surgeon regarding payroll            KAS              0.10          20,00
                records.
 7-May-19       Correspond with M. Mesa at Flagler Development          KAS              0,60         120,00
                regarding Doral property turnover status; Confer with
                Receiver regarding document preservation for
                receivership entities at Doral location; Follow up on
                matters re: same.
 7-May-19       Receipt and review of correspondence from S.            KAS              0.70         140,00
                Campbell regarding incorrect 1099 reporting;
                Communications with accountant re: same; Call with
                S. Campbell regarding matter,
 8-May-19       Strategy conference with N, Surgeon regarding           KAS              0,40          80,00
                pending matters,
 8-May-19       Review and discuss incoming mail with clerk; Follow     KAS              0,60         120.00
                up on investor inquiries,
 8-May-19       Draft follow up correspondence to HOA regarding         NSS              1.00         475,00
                payment of outstanding assessments and fees.
 10-May-19      Work on document/case organization matters;             KAS              2,20         440,00
                Review and analyze incoming mail and determine
                next steps; Research returned W2/1099's,
 13-May-19      Confer with J. Levit regarding case status matters      KAS              0,40          80.00
                pertaining to vacating Doral and Oakwood offices.
 13-May-19      Confer with J, Levit regarding lease terminations,      KAS              0,40          80,00
 13-May-19      Prepare updates for website; Analyze incoming           KAS              0,80         160.00
                receivership mail;
 13-May-19      Corresponded with creditor re status.                   MIG              0.10          47.50
 13-May-19      Corresponded with Silver re Dallas lease,               MIG              0,20          95,00
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13-May-19      Corresponded with A, Birnbaum re payment.                 MIG              0,20          95,00
14-May-19      Reviewed preliminary injunction.                          MIG              0,80         380.00
14-May-19      Receipt and review of Preliminary Injunction              KAS              0,50         100.00
               appointing Michael I. Goldberg as peinianent
               Receiver (4); Prepare updates for website with court
               filing (.1).
14-May-19      Return voicemail message from former employee             KAS              1.70         340,00
               regarding case status (.1); Work on obtaining new
               interest bearing account to deposit funds (.6); Prepare
               Escrow Deposit Form pertaining to HII April
               Commission payment (.4); Work orn file organization
               (.5)
14-May-19      Follow up regarding entry of Preliminary Injunction.      JML              0.60         285,00
15-May-19      Work with City National Bank on opening new               KAS              0,70         140,00
               interest bearing account on behalf of receivership
               estate,
15-May-19      Corresponded with creditors re preliminary                MIG              0.40         190.00
               injunction,
15-May-19      Reviewed preliminary injunction.                          MIG              0.40         190.00
15-May-19      Corresponded with E, Scott re HII,                        MIG              0,20          95.00
15-May-19      Corresponded with Sonn re claims,                         MIG              0,20          95.00
16-May-19      Corresponded with FTC re notice and order.                MIG              0,20          95,00
16-May-19      Reviewed FTC motion, order and letter re notice to        MIG              0.60         285.00
               victims and opt in,
16-May-19      Prepared for and attended next steps call with FTC        MIG              0,90         427,50
               and Nairn,
16-May-19      Conference with K. Smiley re accounts,                    MIG              0,20          95,00
16-May-19      Communications with A, McLaughlin regarding               KAS              0,40          80.00
               vendor payments; Review of incoming receivership
               mail and provide instruction for further handling.
16-May-19      Visit Doral office to pack and secure files and bring     KAS              5,80       1,160,00
               to Hollywood office,
17-May-19      Analysis of incoming mail and discuss with clerk;         KAS              1,60         320,00
               Attend to inquiry from former employee; Update
               memorabilia chart.
17-May-19      Conference with Jeff Sonn re class action and bar         MIG              0.80         380,00
               order,
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17-May-19      Reviewed voicemail from ex-employee and discuss        MIG              0.10          47,50
               with Surgeon.
17-May-19      Confer with FTC regarding additional steps post        NS S             0,60         285,00
               preliminary injunction,
17-May-19      Update employee mailing addresses on Employee          AMM              0,70          52.50
               Contact Directory; Due to returned tax forms
               received from the U.S. Postal Service,
20-May-19      Update employee information on Employee Contact        AMM              0.70          52.50
               Directory spreadsheet.
20-May-19      Begin drafting report for Receiver.                    JML              1,80         855,00
20-May-19      Research reports for Receiver for compliance with      JML              2.70       1,282,50
               Preliminary Injunction.
20-May-19      Confer with Receiver regarding Status Report and       JML              0,30         142,50
               regarding status of Motion to Cancel Leases,
20-May-19      Retrieve several voicemail messages from former        KAS              0,40          80.00
               employee and discuss inquires with Receiver,
20-May-19      Review account opening documents for new money         KAS              0.70         140,00
               market account and correspond with bank; Work on
               funds transfer.
21-May-19      Review and discuss daily mail with clerk; Follow up    KAS              0,90         180,00
               on open matters; Work on file organization regarding
               memorabilia.
21-May-19      Review demand letter from Amina Matheny-Willard,       KAS              1.50         300.00
               Esq, Friedman Framme Thrush and prepare response;
               Confer with Receiver on matter,
21-May-19      Corresponded with Birnbaum re settlement.              MIG              0,20          95.00
21-May-19      Reviewed and revised letter to claimant.               MIG              0.20          95,00
21-May-19      Work on report for Receiver on implementation of       JML              3,20       1,520.00
               Preliminary Injunction,
21-May-19      Confer with opposing counsel and counsel For           NS S             0,70         332,50
               landlord regarding termination of leases.
21-May-19      Update master mailing list with new creditor           AMM              0,20          15,00
               information,
22-May-19      Update master mailing list with new creditor           AMM              0.20          15,00
               information,
22-May-19      Research and prepare password encrypted copy of        AMM              0,30          22.50
               2018 K-1; Prepare email of same to investor
22-May-19      Finalize document subpoenas to vendors.                NS S             1,20         570,00
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22-May-19      Follow up with Receiver regarding professionals and     JML              2,40       1,140,00
               work on report.
22-May-19      Review and analysis of voluminous receivership mail     KAS              2.00         400,00
               to determine next steps; Prepare bills for payment;
               Confer with clerk regarding invoices and investor
               inquiries; Monitor calls/einails.
23-May-19      Review and discuss various court filings by Plaintiff   KAS              0,50         100,00
               and Defendant Dorfman; Prepare updates to website,
23-May-19      Corresponded with All Web Leads re Preliminary          MIG              0.30         142,50
               Injunction,
23-May-19      Conference with Surgeon re HR.                          MIG              0.20          95.00
23-May-19      Confer with court regarding case status,                NS S             0,60         285.00
24-May-19      Review and analyze court filings (Dorfman's Motion      JML              0,90         427,50
               for Stay; FTC's Motion Authorizing Notification to
               Customers; landlord's Joinder),
24-May-19      Review and revise report for Receiver.                  JML              1.30         617.50
24-May-19      Update employee information on Employee Contact         AMM              0.70          52,50
               Directory spreadsheet.
24-May-19      Reviewed correspondence from HII,                       MIG              0.20          95,00
28-May-19      Reviewed Kapila bill,                                   MIG              0.40         190.00
28-May-19      Conference with Smiley re HII class action.             MIG              0,20          95,00
28-May-19      Conference with Levit re professionals' fees.           MIG              0,20          95.00
28-May-19      Follow up on payment of utility expenses for            KAS              0.40          80.00
               Hollywood location,
28-May-19      Update Master Mailing List with new creditor            AMM              0.20          15,00
               information.
28-May-19      Confer with Receiver and follow up regarding            JML              1,70         807,50
               reports.
29-May-19      Update master mailing list with new creditor            AMM              0,40          30,00
               information.
29-May-19      Composed email to Mad Pow Media Services                KAS              0,20          40.00
               regarding status of payment,
29-May-19      Composed email to k.donovan@chargebacks911.com          KAS              0,30          60,00
               in response to request for payment.
29-May-19      Attend to calls and emails to receivership; Review of   KAS              0,60         120.00
               daily mail with clerk and provide instruction,
29-May-19      Conference with Surgeon re UBS motion,                  MIG              0,20          95,00
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29-May-19      Conference with FTC re Bank.                              MIG               0,40           190.00
30-May-19      Reviewed accountant's fees,                               MIG               0,20            95,00
30-May-19      Conference with                                           MIG               0.20 '          95,00
              11111
30-May-19     Reviewed documentation re                                  MIG               0,40           190,00

30-May-19      Corresponded with Merker re information.                  MIG               0,20            95,00
30-May-19      Corresponded with                                         MIG               0,60           285,00
30-May-19      Review court filings relating to stay of proceeding.      JML               0,40           190,00
30-May-19      Follow up regarding status of lease matters; litigation   JML               2,60         1,235,00
               and receivership administration,
31-May-19      Review and discuss daily mail with clerk and provide      KAS               0.40            80.00
               instructions on further handling.
3-Jun-19       Work with website vendor regarding website login          KAS               0,50           100,00
               issues; Review court docket and identify filings to be
               posted on website,
3-Jun-19       Confer with paralegal and review and edit motion,         JML               4,30 -       2,042,50
3-Jun-19       Multiple conferences with Receiver regarding case         JML               0,40           190.00
               administration and outstanding matters,
4-Jun-19       Review collection efforts, lease issues, inquires from    JML               4,60         2,185,00
               former employees and research litigation matters,
5-Jun-19       Review correspondence from Storage King regarding         KAS               0.80           160.00
               new rates and insurance requirements; Discuss same
               with Receiver; Research status of insurance on
               vehicles,
5-Jun-19       Reviewed motion to dissolve preliminary injunction.       MIG              • 0,30          142,50
6-Jun-19       Work on obtaining new comprehensive insurance for         KAS               1,50           300,00
               vehicles stored by Receiver at Storage King,
6-Jun-19       Review court docket and filings and update                KAS               0,40            80.00
               receivership website,
7-Jun-19       Numerous communications with insurance agent to           KAS               2.00           400,00
               obtain comprehensive coverage for vehicles in
               storage; Discuss coverage options with attorney and
               finalize same with insurance agent after approval.
7-Jun-19       Corresponded with Weinstein re lease.                     MIG               0,20            95,00
7-Jun-19       Conference with UBS re motion.                            MIG               0,10            47,50
10-Jun-19      Corresponded with Wells re UBS,                           MIG               0,10            47,50
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10-Jun-19      Telephone conference with J, Delorme, Accounts         KAS              0,30          60,00
               EXaminer, Texas Workforce Commission regarding
               status of Health Benefits One LLC.
10-Jun-19      Review and discuss daily mail with A, McLaughlin       KAS              0.30          60,00
               and provide instructions for further handling.
10-Jun-19      Review UBS statements and confer with R. Badger        NSS              0.70         332.50
               regarding motion to liquidate account.
10-Jun-19      Update master mailing list with new creditor           AMM              0,40          30,00
               information,
11-Jun-19      Update master mailing list with new creditor           AMM              0,30          22.50
               information,
11-Jun-19      Follow up regarding professionals, preliminary         JML              3,70       1,757,50
               injunction and compensation,
12-Jun-19      Draft and finalize motion to liquidate UBS accounts,   NSS              2,30       1,092,50
               Confer with FTC regarding upcoming hearing.
12-Jun-19                                                             NSS              0,50         237,50
12-Jun-19      Review and discuss daily mail with clerk and provide   KAS              0,40          80.00
               further instruction,
12-Jun-19      Reviewed and revised Motion to Liquidate UBS           MIG              0,30         142.50
               account,
12-Jun-19      Corresponded with FTC re accounts.                     MIG              0,20          95,00
13-Jun-19      Review Petition fled agains Simple Health by Dade      KAS              0,10          20,00
               County Tax Collector regarding tangible personal
               property taxes,
13-Jun-19      Review and gather exhibits and prepare                 JML              0,30         142.50
               correspondence to N. Surgeon,
13-Jun-19      Review information on lawsuits filed against HIT,      JML              0,30         142,50
13-Jun-19      Update master mailing list with new creditor           AMM              0,10           7.50
               information,
14-Jun-19      Work on organization of company records and            KAS              1.50         300,00
               storage issues.
14-Jun-19      Return call to Texas Workforce Commission              KAS              0,40          80,00
               regarding former employee; Receive call from former
               employee regarding unemloyment benefits.
14-Jun-19      Review daily mail with clerk and discuss further       KAS              0.40          80,00
               action to be taken,
17-Jun-19      Review court filings and prepare updates to website,   KAS              0,40          80.00
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17-Jun-19      Follow up with N. Surgeon regarding Flexential           KAS              0,20          40,00
               server removal,
17-Jun-19      Conference with Surgeon re Dorfman living                MIG              0,20          95,00
               expenses,
17-Jun-19      Conference with Naim re Notice.                          MIG              0.20          95.00
17-Jun-19      Conference with FTC re Notice to consumers and           MIG              0,30         142.50
               iiviing expenses,
17-Jun-19      Update master mailing list with new creditor             AMM              0,50          37,50
               information,
17-Jun-19      Review Defendant's Motion for TRO and Court's /          NSS              1.20         570,00
               Order, Draft response regarding Defendant's request
               for living expenses,
18-Jun-19      Follow up with N. Surgeon regarding status of report.    JML              0,20          95,00
18-Jun-19      Update Master Mailing list with new vendor               AMM              0,60          45,00
               information
18-Jun-19      Numerous correspondence with creditors,                  MIG              0,30         142.50
18-Jun-19      Corresponded with class action attorney re matter.       MIG              0.20          95,00
18-Jun-19      Review court filings (.4); work on website postings      KAS              1,70         340,00
               (,2); confer with N. Surgeon regarding pending
               matters (.4); Review daily mail with clerk and discuss
               next steps (5); Update creditor log (.2),
19-Jun-19      Receipt of funds by wire from HIT regarding May          KAS              0,50         100.00
               commissions and prepare escrow deposit form;
               Update chart.
19-Jun-19      Review court filing regarding Dorfman's monthly          KAS              0.20          40,00
               allowance and post to receivership website.
19-Jun-19      Conference with FTC re living expenses.                  MIG              0,30         142,50
19-Jun-19      Reviewed motion for living expenses filed by             MIG              0,60         285,00
               Dorfman and correspondence related thereto,
20-Jun-19      Researched case law                                      MIG              1.60         760.00
21-Jun-19      Conference with FTC re mailing notice to victims,        MIG              0.30         142.50
21-Jun-19      Numerous correspondence re mechanics of paying           MIG              0,30         142,50
               living expense,
21-Jun-19      Corresponded with FTC re notice to creditors.            MIG              0,30         142,50
21-Jun-19      Reviewed and discussed proposed living expenses          MIG              0,30         142,50
               with Surgeon.
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21-Jun-19      Update master mailing list with new creditor           AMM              0,50          37,50
               information.
21-Jun-19      Research and prepare email to K. Smiley regarding      AMM              0.20          15,00
               email from attorney representing vendor,
21-Jun-19      Negotiate and finalize proposed order on Defendant's   NSS              1,60         760.00
               Motion to Clarify,
24-Jun-19      Update master mailing list with new creditor           AMM              0,10           7.50
               information.
24-Jun-19      Corresponded with FTC and HII re notice,               MIG              0.50         237,50
24-Jun-19      Corresponded with Dorfman counsel re expense           MIG              0.20          95.00
               check,
24-Jun-19      Review court order and discuss monthly payment to      KAS              0.30          60.00
               Dorfman,
24-Jun-19      Review court filings and prepare updates to            KAS              0.50         100,00
               receivership website,
24-Jun-19      Confer with N. Surgeon regarding settlement of         KAS              0.40          80.00
               outstanding fees due to Flexential and transfer of
               servers stored at location,
24-Jun-19      Update chart regarding commission payment              KAS              0.20          40.00
               received from HIT,
25-Jun-19      Confer with Receiver regarding Dorfman living          KAS              0.10          20,00
               expense payment,
25-Jun-19      Prepare escrow deposit form regarding commission       KAS              0,50         100.00
               payment from HIT; Update records and prepare wire
               transfer to place funds in interest bearing account;
               Correspond with bank re: same,
25-Jun-19      Confererence with Surgeon re auction, appraisals and   MIG              0.20          95.00
               fee application.
25-Jun-19      Reviewed and executed deposits and bank                MIG              0,30         142.50
               statements.
25-Jun-19      Update master mailing list with new creditor           AMM              0,40          30,00
               information,
25-Jun-19      Confer wit                                             NSS              1,00         475,00
26-Jun-19      Draft, finalize and file response in opposition to     NSS              1.60         760,00
               Defendant's emergency motion re: abandoned
               property.
26-Jun-19      Review and revised proposed settlement agreement       NSS              1,20         570.00
               with Flexential,
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26-Jun-19       Analyze and review mail with Paralegal.                 AMM              0,20          15.00
26-Jun-19       Update master mailing list with new creditor            AMM              0.30          22.50
                information,
26-Jun-19       Review of daily mail and provide instruction to clerk   KAS              0.70         140,00
                for further handling; Work on accounting/billing
                matters.
26-Jun-19       Monitor receivershp emails/calls,                       KAS              0,40          80.00
26-Jun-19       Confer with M. Goldberg regarding Dorfman's living      KAS              0,70         140.00
                expenses; Review order, prepare expedited check
                request; Draft letter to R. O'Quitm enclosing July
                monthly allowance for delivery by courier,
27-Jun-19       Review Flexential draft settlement and discuss          KAS              0,40          80.00
                finalization of same with Receiver; Follow up
                communications with N. Suregon re: same.
27-Jun-19       Multiple communications with Flexential to discuss      KAS              0.50         100,00
                disconnection of equipment and proposal to
                disconnect servers and other devices,
27-Jun-19       Reviewed Flexenthal agreement and conference with       MIG              0.30         142.50
                Surgeon re revisions.
27-Jun-19       Corresponded re                                         MIG              0.10          47.50
27-Jun-19       Update master mailing list with new creditor            AMM              0,20          15,00
                information,
27-Jun-19       Draft motion for court approval of Receiver's           NSS              1,70         807,50
                settlement agreement.
28-Jun-19       Research and prepare email to K, Smiley regarding       AMM              0.40          30.00
                AT&T bill; Telephone conference regarding same
                with K. Smiley.
28-Jun-19       Update master mailing list with new creditor            AMM              0,20          15.00
                information,
28-Jun-19       Conference with Smiley and Surgeon re AT&T              MIG              0.10          47,50
28-Jun-19       Conference with Smiley re replacement check.            MIG              0,20          95.00
28-Jun-19       Corresponded with creditors re status,                  MIG              0,30         142.50
28-Jun-19       Corresponded with Dorfman's counsel and Surgeon         MIG              0.20          95,00
                re check.
28-Jun-19       Corresponded with Smiley re turnover of assets to       MIG              0,30         142,50
                Dorfman and check.
28-Jun-19       Multiple communications regarding replacement,          KAS              0,40          80.00
                check for Dorfinan living expenses.
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28-Jun-19       Review AT&T utility invoice for Hollywood office     KAS                0,40          80,00
                and discuss with A. McLaughlin; Correspond with
                Receiver regarding same.
29-Jun-19       Meet with S. Dorfman to delivery replacement check   KAS                0,50         100,00
                for living expenses; Update chart and calendar
                payments setforth in court's order.
                     Subtotal for Code 504 CASE ADMINISTRATION                        573.60     208,720,00

Task Code:      505 CLAIMS ADMINISTRATION AND OBJECTIONS
5-Nov-18        Corresponded with creditors re claims,               MIG                0.40         190,00
7-Nov-18        Reviewed and responded to correspondence from        MIG                1,20         570.00
                creditors,
14-Nov-18       Work on document organization for potential vendor   KAS                0,50         100,00
                claims,
14-Nov-18       Review and respond to email from Hispanic Group      KAS                0.30          60,00
                regarding amounts due for television,
30-Nov-18       Conference with FTC and HHS re providing victims     MIG                1,00         475.00
                extended enrollment dates.
3-Jan-19        Corresponded with creditor re claim.                 MIG                0.20          95,00
6-Feb-19        Corresponded with employee re pay.                   MIG                0,10          47.50
7-Feb-19        Review communication from claimant regarding         KAS                0.20          40.00
                services performed for Simple Health and payment
                due; Discuss same with Receiver,
12-Feb-19       Communications with creditors and consumers          KAS                0,80         160,00
                regarding case matters.
14-Feb-19       Corresponded with Amex re debt.                      MIG                0.20          95,00
13-Mar-19       Review and discuss creditor invoices and update      KAS                0.50         100,00
                chart.
27-Mar-19       Review email exchange with Staples Business Credit   KAS                0,40          80,00
                regarding collection attempt; Update claims chart,
27-Mar-19       Correspond with creditor regarding claim.            JML                0,30         142,50
28-Mar-19       Multiple correspondence with creditor regarding      JML                0.30         142,50
                claim,
28-Mar-19       Correspond with third party creditor regarding       KAS                0,30          60.00
                payable; Update chart.
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11-Apr-19       Conference with clerk regarding updating master           KAS               0.30          60,00
                spreadsheet cataloging vendor invoices as potential
                claims against estate.
17-Apr-19       Corresponded With creditors re claims process,            MIG               0,20          95,00
19-Apr-19       Corresponded with creditor re claims process.             MIG               0,20          95,00
1-May- I 9      Retrieve voicemail message from Rowen .8z,                KA8               0,20          40,00
                Company regarding possible claim and return call
                and leave voicemail message regarding status of case,
20-May-19       Conference with creditors re claims process.              MIG               0,30         142.50
21-May-19       Corresponded with creditors re claims process.            MIG               0,40         190.00
22-May-19       Corresponded with American Express re claim and           MIG               0,30         142,50
                other issues,
24-May-19       Conference with creditor re claim,                        MIG               0,20          95,00
24-May-19       Corresponded with All Web Leads re claim.                 MIG               0,20          95.00
30-May-19       Corresponded with creditors re claims process.            MIG               0,50         237,50
31-May-19       Telephone conference with former employee                 KAS               0,20          40.00
                regarding case status,
3-Jun-19        Conference with creditors re claims process.              MIG               0,30         142,50
4-Jun-19        Corresponded with creditors re claim process.             MIG               0,30         142,50
6-Jun-19        Corresponded with creditor re claims process.             MIG               0,20          95,00
6-Jun-19        Receipt and review of correspondence from Friedman        KAS               0.10          20,00
                Framme and Thursh regarding consumer claim,
11-Jun-19       Corresponded with creditors re claims,                    MIG               0.20          95,00
21-Jun-19       Corresponded with creditor re claims process,             MIG               0,20          95.00
21-Jun-19       Telephone conference with attorney's assistant            AlVIM             0,10           7.50
                regarding claims process status and the detefIllination
                of which business account they represent their client,
27-Jun-19       Telephone conference with creditor regarding filing       KAS               0,20          40.00
                of claim,
                 Subtotal for Code 505 CLAIMS ADMINISTRATION AND                           11.30       4,227.50
                                      OBJECTIONS

Task Code:      508 EMPLOYEE BENEFITS/PENSIONS
2-Nov-18        Corresponded with employees re payroll.                   MIG               0,30         142,50
13-Nov-18       Corresponded with employees re paycheck.                  MIG               0,30         142.50
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13-Nov-18      Monitor receivership emails and calls;                KAS              0,70 .       140,00
               Communications with employees regarding payroll,
14-Nov-18      Several communications with employees regarding       KAS              0,40          80.00
               paycheck,
14-Nov-18      Correspond with employee regarding reimbursement      KAS              0.20          40,00
               for travel expenses.
14-Nov-18      Corresponded with employee re paycheck.               MIG              0,20          95,00
19-Nov-18      Review certified statement from Paycom and follow     KAS              0.40          80,00
               up regarding payroll runs,
20-Nov-18      Confer with N. Surgeon regarding payroll and          KAS              0.20          40.00
               pending matters,
21-Nov-18      Corresponded with employees re paychecks.             MIG              0,30         142,50
26-Nov-18      Telephone call with employee regarding                KAS              0,10          20.00
               compensation.
27-Nov-18      Conference with Scott re payroll.                     MIG              0,20          95,00
11-Dec-18      Identify employees who should be paid and prepare     NSS              3,40       1,615,00
               schedule, Draft motion to pay employees.
19-Dec-18      Telephone conference with employee of Simple           KS              0,30          60.00
               Health regarding payment of wages,
20-Dec-18      Conference with ex-employee re paycheck.              MIG              0,30         142,50
28-Dec-18      Confer with Surgeon and Levitt regarding payroll.     KAS              0,20          40,00
2-Jan-19       Prepare schedule of payroll due to employees.         NSS              2,30       1,092,50
3-Jan-19       Review research on payment of wages to employees,     NSS              2,10         997.50
3-Jan-19       Research case law regarding                           RBB              4.20       1,155,00

3-Jan-19       Conference with attorney regarding payrol and W2's;   KAS              0,70         140,00
               Call with employees re: same,
8-Jan-19       Communications with N. Surgeon regarding payroll      KAS              0,20          40,00
               matters,
8-Jan-19       Call with Simple Health employee regarding pay.       KAS              0.20          40,00
8-Jan-19       Confer to resolve issues with payroll account and     NSS              1,70         807,50
               review outstanding expense and vacation time due to
               employees,
9-Jan-19       Confer with vendors and employees regarding access    NSS              1.30         617.50
               to payroll documents and additional document
               requests sought by vendors.
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14-Jan-19      Correspond with employees and accountants             KAS              0.20          40,00
               regarding W-2s,
23-Jan-19      Review emails regarding employee W2's; Confer         KAS              0,20          40.00
               with Receiver on matter.
23-Jan-19      Conference with Katie from Paycom re W-2s,            MIG              0,30         142.50
25-Jan-19      Attend to inquires from employees regarding pay and   KAS              0,20          40,00
               W2's,
26-Jan-19      Call with former employee regarding W2 and            KAS              0,10          20.00
               personal items,
28-Jan-19      Review of employee W2 forms for former Simple         KAS              0,90         180,00
               Health employees from Paycom and work on mail
               out for same,
29-Jan-19      Receipt and review of additional W2's from Paycom     KAS              1,00         200.00
               and arrange for distribution to employees.
30-Jan-19      Confer with N. Surgeon regarding tax matters;         KAS              0,50         100.00
               Several calls with employees regarding W-2,
30-Jan-19      Corresponded with Pay,com re W2s.                     MIG              0,10          47,50
31-Jan-19      Corresponded with employees re payroll.               MIG              0.40         190.00
31-Jan-19      Attend to inquiries from former employees regarding   KAS              0.50         100.00
               payroll; Confer with N. Surgeon and M. Goldberg on
               matter,
1-Feb-19       Review of returned W2 statements and work on          KAS              0,50         100.00
               locating better address,
1-Feb-19       Correspond with former employee regarding 1099        KAS              0,30          60.00
               and personal items,
1-Feb-19       Finalize proposed administrative filings regarding    NSS              2.30       1,092,50
               settlement funds and payroll,
4-Feb-19       Multiple communications with accountant regarding     KAS              0,40          80.00
               preparation of 1099's for former sales agent
               employees who were both W2 and 1099 employees
               during 2018; Confer with Receiver and Surgen on
               matter,
4-Feb-19       Call with former employee regarding 1099 wage         KAS              0,20          40.00
               statement and case status.
5-Feb-19       Attend to returned employee W2 forms; Research        KAS              0,50         100,00
               better address to resend W2,
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5-Feb-19       Telephone conference with M. Davis regarding            KAS              0,50         100,00
               employee 1099'8; Assemble employee tax
               information and send to accountant.
6-Feb-19       Assemble information for accountants to prepare         KAS              0,60         120.00
               former employee 1099's in relation to commission
               payments; Correspond with accountant re: same,
8-Feb-19       Follow up on former employee's W2 request,              KAS              0.10          20.00
11-Feb-19      Attend to employee inquires regarding persona           KAS              1,70         340,00
               property and tax information,
11-Feb-19      Conferences with N, Surgeon and accountants             KAS              0.60         120,00
               regarding employee commission verification and
               available information for purposes of preparing
               1099s,
11-Feb-19      Receipt and review of returned employee W2's from       KAS              0,90         180,00
               US Postal Search and research better address and
               resend to employee,
12-Feb-19      Call with Nairn, Mark Parisi & Kim re: Paycom &         KAS              0.50         100.00
               ADP
13-Feb-19      Review of returned employee W2's from US Postal         KAS              0,60         120.00
               Service due to insufficient or bad addresses; Perform
               research to locate better addresses.
13-Feb-19      Review and respond to consumer and former               KAS              1,10         220,00
               employee emails regarding policy and reimbursement
               matters; Confer with Receiver on inquiries.
15-Feb-19      Research better addresses for returned employee W-      KAS              0.50         100,00
               2s,
18-Feb-19      Follow up with inquires regarding payroll and 1099s,    KAS              0.20          40.00
19-Feb-19      Communications regarding W2s and case status.           KAS              0,50         100,00
26-Feb-19      Attend to various matters including payment of          KAS              1.20         240.00
               invoices, employee inquries; consumer inquiries,
               payroll/1099 matters.
28-Feb-19      Research better addresses for returned employee         KAS              0.50         100.00
               W2's
28-Feb-19      Call with Simple Health controller regarding 1099       KAS              0.10          20,00
               issue.
4-Mar-19       Call with former employee regarding address change      KAS              0,30          60,00
               and request for K-1; Update database and resend K-1,
5-Mar-19       Review receivership mail and attend to employee         KAS              0.30          60.00
               inquiries regarding 1099s and unpaid wages.
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7-Mar-19       Correspond with attorneys regarding employee            KAS              0,70         140,00
               inquires; Draft letter for website re: same.
12-Mar-19      Review records concerning all outstanding               NSS              1,30         617.50
               commission payments due to employees during final
               two pay periods.
20-Mar-19      Perform Accurint searches for returned W2 forms         KAS              0.50         100,00
               from US Postal Service to obtain better addresses,
25-Mar-19      Confer with third party vendors to resolve 1099 issue   NSS              1,10         522,50
               for employees,
27-Mar-19      Research better addresses for returned employees W-     KAS              0.40          80,00
               2 fauns,
27-Mar-19      Follow up with N. Surgeon, CPA, former employees        KAS              1,40         280,00
                e ardin 1099 issue; Research

28-Mar-19      Finalize request with vendor to process employee        NSS              0,70         332,50
               1099s.
1-Apr-19       Confer with vendor regarding 1099s for former           NSS              0.70         332,50
               employees. Finalize message for Receiver's website,
1-Apr-19       Multiple communications regarding 1099's to former      KAS              0,40          80,00
               employees,
1-Apr-19       Prepare letter to employee regarding delay in sending   KAS              0,90         180,00
               1099 tax forms; Discuss with Receiver and arrange
               for web posting; Dealt with former employee
               inquiries re: same.
8-Apr-19       Address complaint from foul= employee regarding         KAS              0.20          40.00
               past due wages owed; Correspond with Receiver and
               N. Surgeon on matter,
8-Apr-19       Receive voicemail message from former employee          KAS              0,30          60,00
               regarding verification of amounts reported on 1099,
8-Apr-19       Telephone conference with former employee               KAS              0.50         100,00
               regarding possible incorrect 1099; Investigate claims
               and follow up with Paycom on matter,
8-Apr-19       Conference with N. Surgeon regarding investor           KAS              0.40          80.00
               inquiry and payroll matters.
12-Apr-19      Correspond with Paycom regarding corrected 1099.        KAS              0,40          80,00
12-Apr-19      Research and prepare encrypted copy of 1099-Misc        AMM              0.20          15.00
               Fowl and send email to former employee.
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15-Apr-19        Update employee contact directory with new              AMM              0.70          52,50
                 addresses for former employees and send returned tax
                 forms to employees.
15-Apr-19        Call with Paycom regarding 1099 correction and          KAS              0,40          80,00
                 payroll summaries; Prepare follow up email re: same.
16-Apr-19        Prepare mailings to former employees with enclosed      AMM              0,50          37.50
                 W-2 or 1099 based on updated mailing addresses.
16-Apr-19        Research social security numbers of former              AMM              0.10           7.50
                 employees to provide to paralegal.
18-Apr-19        Research and organize child support enforcement         AMM              0,30          22.50
                 documents received from the state of Florida and
                 Connecticut.
18-Apr-19        Analyze child support enforcement documents with        AMM              0,10           7,50
                 paralegal,
18-Apr-19        Research address of for ner employee for returned tax   AMM              0,10           7,50
                 form,
18-Apr-19        Conference call with former employee regarding          KAS              0.30          60.00
                 possible incorrect 1099,
19-Apr-19        Prepared letter to Florida Department of Revenue        AMM              0.40          30.00
                 regarding Child Support Enforcement program.
22-Apr-19        Research address of former employee for returned tax    AMM              0,10           7.50
                 form.
23-Apr-19        Research social security numbers of former              AMM              0,10           7.50
                 employees to provide to paralegal.
24-Apr-19        Retrieve voicemail message from former employee         KAS              0,10          20,00
                 regarding past due wages; Correspond with Receiver
                 and N. Surgeon re: same.
25-Apr-19        Corresponded with K. Smiley re payroll and              MIG              0,20          95,00
                 computers,
25-Apr-19        Corresponded with creditor re payroll.                  MIG              0,10          47.50
30-Apr-19        Research and prepare response to paralegal regarding    AMM              0.70          52,50
                 voice message left by simple health employee
                 requesting W-2/1099,
1-May-19         Call with former employee regarding 1099.               KAS              0,20          40.00
3-May-19         Prepare labels for memorabilia; Dealt with former       KAS              0,90         180.00
                 employee 1099/W2 issues; Call with vendor
                 regarding claims process.
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3-May-19        Perform Accurint searches for better addresses for      KAS               0.60         120,00
                several returned 1099's/W'2 tax forms from US Postal
                Service,
20-May-19       Conference with employee re pay.                        MIG               0,30         142.50
28-May-19       Follow up with N. Surgeon regarding employee pay.       KAS               0,10          20,00
28-May-19       Prepare revised motion to authorize payroll for         NSS               1,70         807,50
                certain categories of employees,
3-Jun-19        Correspond with accountant regarding tax lien.          KAS               0,20          40,00
6-Jun-19        Conference with employee re payment.                    MIG               0,10          47,50
13-Jun-19       Receive voicemail from Texas Workforce                  KAS               0.10          20,00
                Commission regarding unemployment compensation
                matter.
17-Jun-19       Follow up with attorney regarding employee payroll      KAS               0,10          20,00
                inquiries,
                Subtotal for Code 508 EMPLOYEE BENEFITS/PENSIONS                         57.60      17,390,00

Task Code:      515 TAX ISSUES
13-Nov-18       Corresponded with payroll re taxes,                     MIG               0,20          95.00
3-Dec-18        Reviewed and executed forms to be filed with IRS.       MIG               0,40         190,00
20-Dec-18       Conference with Kapila re accounting,                   MIG               0,30         142,50
20-Dec-18       Reviewed and executed tax documents.                    MIG               0.50         237,50
28-Jan-19       Call with accoutant regarding filing of IRS Form W-     KAS               0.30          60,00
                3; Confer with N. Surgeon regarding Paycom filing
                W-3,
31-Jan-19       Corresponded with Sand re tax issue,                    MIG               0.20           95.00
1-Feb-19        Corresponded with K. Smiley and accountant re           MIG               0,20          95.00
                1099s
25-Feb-19       Follow up with N. Surgeon regarding tax reporting.      KAS               0,10           20,00
7-Mar-19        Reviewed and executed Kapila returns.                   MIG               0.10           47,50
12-Mar-19       Analyze communications from taxing authorities and      KAS               0.30          60,00
                send to accountants,
3-Apr-19        Review and edit Letter to Miami-Dade Tax Collector      KAS               0,50         100.00
                re: 2018 Tangible Personal Property Taxes.
19-Apr-19       Prepare email to accountants with tax notice received   AMM               0,20           15.00
                from the IRS.
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25-Apr-19       Review of response letter to State of California         KAS              0.10          20,00
                Francise Tax Board prepared by accountants
                regarding tax penalties assessed,
14-Jun-19       Research and prepare email to K. Foster regarding        AMM              0,20          15.00
                notices received from the IRS.
                             Subtotal for Code 515 TAX ISSUES                             3.60       1,192.50

Task Code:      530 LITIGATION
1-Nov-18        Prepare Suggestion of Receivership in Spiewak v,         JML              0,80         380,00
                Dorfman case,
1-Nov-18        Prepare Notice of Receivership Stay correspondence,      JML              0,90         427,50
2-Nov-18        Review Suggestion of Receivership prior to filing.       JML              0,40         190,00
2-Nov-18        Confer with Health Benefits' outside counsel             JML              0,20          95.00
                regarding their representation of Health Benefits as a
                Defendant in Illinois court.
5-Nov-18        Prepare Suggestion of Receivership in Azroui v.          JML              1,80         855,00
                Health Benefits case filed in the Northern District of
                Illinois; multiple correspondence with Health
                Benefits' counsel in ease and with Akerman's
                Chicago counsel,
5-Nov-18        Analyze draft notice of receivership and stay, Review    TBF              0.80         380.00
                local filing options and requirements. File the notice
                with exhibit. Post-filing telephone discussion with
                plaintiffs counsel regarding possible ramifications of
                the receivership.
6-Nov-18                                                                 'JSR             0.90         427.50




13-Nov-18       Corresponded with O'Quinn re hearing.                    MIG              0,20          95,00
14-Nov-18       Corresponded with Gershoni re continuance.               MIG              0,10          47.50
14-Nov-18       Follow up with NY based counsel regarding filing         JML              0.40         190,00
                Notice of Receivership and Stay in Bank v Simple
                Health case,
14-Nov-18       Revise and finalized Notice of Receivarship and Stay     AS               0,60         120,00
                to be filed with EDNY.
14-Nov-18       Prepare exhibits to Notice of Receivarship and Stay       AS              0.20          40.00
                to be filed with EDNY,
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14-Nov-18      ECF with EDNY Notice by Simple Health Plans             ' AS             0,50         100,00
               LLC, Simple Insurance Leads LLC of Receivership
               and Stay with Exhibits,
14-Nov-18      Reviewed and analyzed TRO and complaint from             SMK             0.70         332,50
               SDNY action; reviewed and revised notice of
               receivership and stay of SDNY action,
15-Nov-18      Research legal arguments regarding stay violations,      JML             0,70         332.50
15-Nov-18      Review response to Notice of Receivership and Stay       JML             0,90         427,50
               filed by attorney Banks; research and prepare
               response,
15-Nov-18      Conference with FTC re discovery and continuances,       MIG             0,30         142,50
16-Nov-18      Review motions and proposed orders regarding             JML             0,30         142.50
               extension of discovery deadlines and reschedule of
               hearing on PI,
19-Nov-18      Review orders from court regarding scheduling,           GRP             0.30         142,50
               complaint, and expedited discovery; discuss same
               with N. Surgeon.
20-Nov-18      Numerous correspondence re TCPA settlement,              MIG             0,80         380.00
27-Nov-18      Review correspondence from defendant's attorney, J,      TBF             0,10          47.50
               Kay, to court clerk regarding receivership order and
               placing hold on further litigation.
28-Nov-18      Review correspondence from defendant's attorney J.       TBF             0.10          47,50
               Kay with Judge Mason's order striking status hearing.
29-Nov-18      Corresponded with attorney for FTCP class action.        MIG             0,30         142.50
3-Dec-18       Review multiple court filings.                           JML             0,40         190.00
3-Dec-18       Review and analyze Emergency Motion to Modify            KS              0,10          20,00
               Asset Freeze Order filed by Defendant Stephen
               Dorfman,
4-Dec-18       Review and analyze documents filed in opposition of      KS              0,10          20,00
               Defendant Stephen Dorfman's Motion to Modify
               Asset Freeze Order
4-Dec-18       Prepare for emergency hearing on motion to modify        NSS             4,30       2,042.50
               asset freeze, Prepare documents for review and
               production. Draft letter to Defendant's counsel
               regarding repatriation,
4-Dec-18       Review court filings,                                    JML             0,30         142,50
4-Dec-18       Review Dorfman's Emergency Motion to Modify              KAS             0,20          40,00
               Asset Freeze Order to Pay Reasonable Living
               Expenses and Attorney's Fees.
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4-Dec-18       Corresponded with Lemberg re motion and response.       MIG              0.20          95,00
5-Dec-18       Prepare for hearing on motion to modify asset freeze.   NSS              0,70         332.50
6-Dec-18       Attend hearing on emergency motion to modify asset      NSS              1.50         712.50
               freeze.
18-Dec-18      Review status of outside litigation.                    JML              0,20          95,00
20-Dec-18      Started drafting response to Dorfman motion,            MIG              0,30         142,50
20-Dec-18      Reviewed receivership order re response to extension    MIG              0,50         237,50
               and started draft response,
20-Dec-18      Conference with O'Quinn re fee order and discovery.     MIG              0,40         190,00
20-Dec-18      Draft response in opposition to Dorfman motion to       NSS              2,40       1,140,00
               compel. Confer with former employee D. Caldes.
               Confer with FTC,
21-Dec-18      Draft response in opposition to motion to compel.       NSS              3.90       1,852,50
               Review proposed protective order by FTC. Confer
               regarding Court's response to FTC opposition.
21-Dec-18      Drafted section of objection to Defendant's Motion      MIG              1,10         522.50
               for Continuance of Preliminary Injunction hearing,
21-Dec-18      Reviewed draft objection.                               MIG              0.30         142,50
24-Dec-18      Draft response in opposition to motion to compel.       NSS              2,40       1,140.00
7-Jan-19       Conference with Surgeon re Dorfman motion,              MIG              0.30         142.50
7-Jan-19       Review emergency court filings.                         JML              0,30         142.50
14-Jan-19      Multiple communications with Raschke (Phelps             JSR             0,90         427,50
               Dunbar) and Levit re: Azroui suit and review file re:
               same.
15-Jan-19      Discuss case status and approaches to PI with FTC       NSS              0,80         380,00
               attorneys.
15-Jan-19      Multiple correspondence regarding authority for         JML              0,40         190,00
               insurance company to pay outside counsel for pre-
               receivership work,
16-Jan-19      Prepared for and attended hearing on status             MIG              0.50         237,50
               conference,
22-Jan-19      Review court filings and confer with counsel.           JML              0.80         380,00
30-Jan-19      Conference with N. Surgeon re various motions.          MIG              0,30         142.50
6-Feb-19       Prepare correspondence regarding eviction case and       JML             0.20          95,00
               Suggestion of Receivership,
6-Feb-19       Gather and review documents for filing Suggestion of     JML             0.30         142,50
               Receivership.
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6-Feb-19•      Review correspondence from J, Levit regarding           KAS              0.30          60,00
               evietion case; update FileSite,
6-Feb-19       Multiple communications with Cole and Goldberg re:      JSR              0,50         237,50
               case status,
7-Feb-19       Attend telephone conference re discovery with           RBB              0,40         110.00
               opposing counsel,
8-Feb-19       Conference with Libby and Joan re Dorfman filing,       MIG              0,30         142.50
                                    ,
8-Feb-19       RevieWed Dorfman filing.                                MIG              0,40         190.00
19-Feb-19      RevieWed Dorfman Motion to Strike.                      MIG              0.60         285,00
19-Feb-19      Review Defendant's Motion to Strike; Arrange for        KAS              0,40          80,00
               update of website re: same,
19-Feb-19      Review Defendant's Motion to Strike TRO,                JML              0.40         190.00
20-Feb-19      Review correspondence re: complaint filed by G&I        KAS              0.50         100,00
               VIII Doral Concoure LLC v, Health Benefits One,
               LLC; 2019-002858; Research docket to obtain copy
               of complaint and discuss filing of notice of
               receivership.
20-Feb-19      Review Court's Order regarding Defendant's Motion       KAS              0.30          60,00
               to Strike and update website,
20-Feb-19      Conference with Joannie Wei and Libby Scott re          MIG              0,20          95,00
               motion to strike,
21-Feb-19      Reviewed FTC response to motion to strike.              MIG              0,60         285.00
21-Feb-19      Conference with FTC and N. Surgeon re hearing,          MIG              0.40         190,00
21-Feb-19      Review Defendant's motion and Plaintiffs responses      NSS              2,40       1,140,00
               along with Defendant's key caseS in support of
               motion to strike TRO,
22-Feb-19      Attend hearing on Defendant's motion to strike,         NSS              1.80         855,00
22-Feb-19      Prepare for and attended hearing on Motion to Strike.   MIG              0,80         380,00
22-Feb-19      Conference with Elizabeth Scott and Joanie Wei re:      MIG              0.30         142,50
               hearing.
28-Feb-19      Conference with Brian Martin to negotiate               MIG              0.30         142,50
               settlement,
4-Mar-19       Review court filings regarding appeal.                  JML              0,20          95.00
5-Mar-19       Multiple communications with Rashkle and Goldberg        JSR             0,40         190,00
               re: QBE dec. action.
13-Mar-19      Review of Defendant's Emergency Motion to Stay          KAS              0.30          60,00
               and/or Abate Scheduling Order,
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19-Mar-19      Reviewed FTC response to Do frnan's Motion to          ' MIG            0,40         190,00
               Stay.
19-Mar-19                                                              MIG             0.70         332,50

19-Mar-19                                                              NSS             2,70       1,282,50



20-Mar-19      Attend status conference regarding Defendant's          NSS             1.50         712.50
               request to stay case,
20-Mar-19      Prepared for and attended hearing on Dorfman            MIG             1.80         855,00
               Motion to Stay,
20-Mar-19      Review Findings of Fact from State of Indiana           KAS             0,20          40,00
               Department of Insurance Enforcement Action against
               Health Benefits One,
22-Mar-19      Review Defendant's Memorandum In Opposition to          KAS             0,20          40.00
               Preliminary Injunction.
25-Mar-19      Confer with FTC regarding response to Order to          NSS             0,50         237,50
               Show Cause,
26-Mar-19      Review and analyze Defendant's response to Order to     NSS             1,30         617.50
               Show Cause and exhibits, Prepare draft of changes to
               report,
26-Mar-19      Reviewed Dorfman response,                              MIG             0.80         380.00
26-Mar-19      Conference with FTC and Surgeon re hearings.            MIG             0,50         237.50
2-Apr-19       Reviewed FTC's motion in limine.                        MIG             0,30         142.50
3-Apr-19       Review FTC's motion in limine.                          NSS             0,60         285,00
3-Apr-19       Email correspondence with K. Smiley regarding          MAM              0.10          20.00
               document organization.
15-Apr-19      Assist with preparation for preliminary injunction     MAM              3.40         680,00
               hearing; organize and index material.
15-Apr-19      Prepare argument for hearing on PI,                     NSS             3,20       1,520,00
15-Apr-19      Confer with FTC regarding hearing on PI,                NSS             4,00       1,900,00
15-Apr-19      Received report and prepared for hearing,               MIG             1.60         760,00
15-Apr-19      Conference with FTC and Surgeon re hearing.             MIG             0,50         237.50
15-Apr-19      Reviewed Brian Miller declaration to prepare for        MIG             1,10         522,50
               hearing.
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15-Apr-19      Assist Receiver on matters in preparation for           KAS              1,40         280.00
               preliminary injunction hearing (1.4); Review various
               court filings by Defendant (.3),
16-Apr-19      Prepared for and attended preliminary injunction        MIG              7.80       3,705,00
               hearing.
16-Apr-19      Prepare for and attend hearing on preliminary.          NSS              7,80       3,705,00
               injunction.
23-Apr-19      Conference with FTC re discovery and hearing,           MIG              0,50         237,50
25-Apr-19      Draft revisions to reply.                               NSS              1.20         570.00
26-Apr-19      Draft revisions to reply.                               NSS              2,10         997,50
26-Apr-19      Conference with Surgeon re documents,                   MIG              0,20          95,00
30-Apr-19      Reviewed Defendant's Motion to Dismiss.                 MIG              0,40         190,00
30-Apr-19      Review Defendant's motion to dismiss and                NSS              0,90         427.50
               supplemental authority.
30-Apr-19      Draft response to Defendant's meet and confer letter,   NSS              1.20         570,00
8-May-19       Correspond with e-discovery vendor regarding data       KAS              0.30          60,00
               for Relativity; Confer with N. Surgeon regarding
               same,
9-May-19       Follow up with N. Surgeon regarding e-discovery         KAS              0,20          40.00
               hosting costs for new data to be uploaded to
               Relativity database.
22-May-19      Telephone conferenee with Yaniv Adar re FW0Ps           RI3B             0.30          82,50
               being filed in two separate cases.
23-May-19      Corresponded re Motion to Stay and reply.               MIG              0,30         142,50
23-May-19      Reviewed Motion to Stay.                                MIG              0,80         380,00
28-May-19      Research and respond to inquiry from J. Schneider       KAS              0,90         180.00
               regarding Simple Health consumers; Correspond with
               M. Goldberg and N. Surgeon regarding same.
29-May-19      Reviewed FTC response to Dorfman Motion to Stay         MIG              0,40         190,00
               Arbitration.
30-May-19      Reviewed creditor response in opposition to stay and    MIG              0,10          47.50
               corresponded with Surgeon re same,
31-May-19      Receipt and review of Paperless Order Denying           KAS              0,20          40.00
               Defendant Dorfman's Expedited Motion to Stay
               Proceedings Pending Final Resolution of Appeal and
               update website; Confer with attorney on matter,
31-May-19      Review court filings regarding stay.                    JML              0,60         285.00
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3-Jun-19       Review of Defendant, Dorfman's, Response In              KAS              0,20          40,00
               Opposition to Plaintiffs Motion to Seek Authority to
               Issue Deficient Notifications to Consumers,
3-Jun-19       Reviewed Dorfman response to notification and cases      MIG              0,40         190,00
               cited therein.
3-Jun-19       Corresponded with Sonn re HII case,                      MIG              0.20          95,00
4-Jun-19       Review Dorfman request for oral argument. and            MIG              0,40         190,00
               response,
4-Jun-19       Review defendant's motion to dissolve PI.                NSS              0,50         237.50
5-Jun-19                                                                MIG              0,10          47.50
5-Jun-19                                                                MIG              0,10          47.50
10-Jun-19                                                               MIG              0,90         427,50
10-Jun-19      Research case law/examples of motions to liquidate       RBB              1,60         440.00
               in furtherance of draft of Motion to Liquidate UBS
               account,
11-Jun-19      Draft Motion for Authority to Liquidate UBS              RBB              2,90         797.50
               accounts.
11-Jun-19      Conference with Surgeon re hearing.                      MIG              0,10          47.50
12-Jun-19      Conference with FTC re Motion to Liquidate               MIG              0,40         190.00
               Accounts and hearing on Motion to Stay.
12-Jun-19      Attend telephone conference with N. Surgeon and K.       KAS              0.50         100.00
               Broderick regarding records.
13-Jun-19      Prepare for and attend hearing on motion to provide      NSS              1,90         902.50
               notice to consumers,
17-Jun-19      Review court filings.                                    JML              0.40         190,00
17-Jun-19      Drafted response to .Dorfman requeSt.                    MIG              1,40         665.00
               ,,
19-Jun-19     -4, .evieV:vpa and. revised response to Dorfman motion,   MIG              0.70         332,50
19-Jun-19     ,Prepare'argunient in opposition to Defendant's           NSS              0.90         427.50
               Metion to Clarify.'
20-Jun-19      Attend telephonic hearing on motion to clarify           NSS              0,50         237,50
               modification of asset freeze.
20-Jun-19      Conference with Surgeon re hearing.                      MIG              0,20          95.00
27-Jun-19      Conference with Nairn re Dorfman filing,                 MIG              0.20          95.00
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                            Subtotal for Code 530 LITIGATION                            115,70      50,865.00

Task Code:      536 ADVERSARY 6
29-Nov-18       Review document request from Gershoni and discuss      KAS                0,20          40,00
                with N. Surgeon,
3-Dec-18        Communications with e-discovery vendor and             KAS                0,70         140.00
                attorney regarding new project and data import.
3-Dec-18        Multiple communications regarding Defendant's          KAS                0,40          80,00
                document requests.
3-Dec-18        Review and analyze emergency motion to modify          NSS                2,20       1,045,00
                asset freeze, Confer regarding document production
                requests. Confer regarding AG documents.
4-Dec-18        Upload and send documents to e-discovery vendor to     KAS                0.60         120.00
                be put into Relativity; Correspond with team re:
                same,
5-Dec-18        Confer with N. Surgeon regarding follow up items       KAS                0,10          20,00
                for Dorfman's counsel,
5-Dec-18        Review documents produced by FTC.                      NSS                2.10         997,50
6-Dec-18        Review and analyze request for documents, Confer       NSS                1,60         760.00
                with counsel for Defendant concerning production.
6-Dec-18        Conference with FTC re discovery.                      MIG                0.40         190,00
7-Dec-18        Conference with Gershoni, O'Quinn and Singerman        MIG                0.50         237.50
                re discovery.
7-Dec-18        Conference with Jim, Joan and Libby from FTC to        MIG                0,50         237,50
                discuss report and discovery,
7-Dec-18        Confer with FTC. Confer with counsel from              NSS                3.20       1,520,00
                defendant regarding document production. Confer
                with receiver regarding relief from asset freeze.
10-Dec-18       Onsite at Hollywood location to gather documents for   NSS                5,30       2,517.50
                production and other information,
10-Dec-18       Meeting at Simple Health with Naim Surgeon and         MIG                2.10         997.50
                Naiff to review database and respond to discovery.
11-Dec-18       Conference with Allison O'Neill re document            MIG                0,30         142,50
                production,
11-Dec-18       Conference with FTC re discovery.                      MIG                0,20          95,00
11-Dec-18       Resolve issues with access to email addresses on       NSS                1,20         570,00
                exchange server for production of documents to
                Defendant,
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12-Dec-18      Ready documents for production to Defendant,             NSS              2.10         997,50
13-Dec-18      Onsite with IT at Hollywood location to gather           NSS              6.30       2,992.50
               documents for production and other information.
13-Dec-18      Review documents in Relativity to determine whether      RBB              2,30         632,50
               they are privileged, non-privileged, and/or responsive
               to subpoena request.
13-Dec-18      Conference with Naim re discovery.                       MIG              0.20          95.00
17-Dec-18      Conference with FTC re discovery and other matters.      MIG              0,60         285,00
18-Dec-18      Prepare document production.                             NSS              1,60         760,00
19-Dec-18      Confer with FTC regarding Defendant's discovery          NSS              1,30         617,50
               request. Draft Receiver's response to motion for
               extension.
19-Dec-18      Conference with Naim and FTC re discovery,               MIG              0,50         237.50
19-Dec-18      Conference with Naim re discovery.                       MIG              0,30         142,50
20-Dec-18      Conference with N. Surgeon rediscovery.                  MIG              0,20          95.00
20-Dec-18      Conference with Naim and FTC re discovery.               MIG              0,30         142,50
20-Dec-18      Reviewed document request and conference with            MIG              0.50         237.50
               Naim re response,
20-Dec-18      Prepare discovery for product to Defendant.              NSS              2,30       1,092,50
21-Dec-18      Review files and prepare production to Defendant's       NSS              1,80         855,00
               counsel,
21-Dec-18      Conference with N. Surgeon re discovery and              MIG              0,30         142.50
               objection extension,
28-Dec-18      Visit Simple Health Site to transfer document            NSS              3,60       1,710.00
               production to Defendant,
31-Dec-18      Review file And Relativity for additional responsive     NSS              2,90       1,377,50
               documents to respond to Defendant's document
               requests.
2-Jan-19       Review production supplied by FTC for additional         NSS              1,70         807,50
               responsive documents.
2-Jan-19       Corresponded with O'Neill re documents.                  MIG              0,20          95,00
2-Jan-19       Drafted letter to Lock Lord re documents,                MIG              0,50         237.50
2-Jan-19       Conference with Naim re Dorfman discovery,               MIG              0,20          95,00
3-Jan-19       Conference with N, Surgeon re discovery.                 MIG              0,20          95.00
3-Jan-19       Work on site at Hollywood location to process            NSS              3,60       1,710,00
               Defendant's document requests.
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0346625     SIMPLE HEALTH PLANS                                       Invoice Number                ******



7-Jan-19       Review files for responsive call records and           NSS              3.30       1,567,50
               additional documents to Defendant,
7-Jan-19       Corresponded with Surgeon and Gershoni re              MIG              0,20          95,00
               discovery,
8-Jan-19       Gather additional call information for production to   NSS              2,00         950,00
               Defendant, Review call records,
10-Jan-19      On site, Gather and review compliance documents for    NSS              7.30       3,467,50
               production to defendant's counsel,
10-Jan-19      Conference with Surgeon re discovery update.           MIG              0,20          95,00
11-Jan-19      Conference with Surgeon re discovery.                  MIG              0.20          95,00
11-Jan-19      Review file system for responsive documents            NSS              3,20       1,520,00
               identified by C. Girourad and J, Jarecki,
17-Jan-19      Work on discovery related matters; Communications      KAS              1,00         200.00
               with N, Surgeon re: same,
18-Jan-19      Corresponded re discovery.                             MIG              0.30         142,50
22-Jan-19      Corresponded with Lock Lorde counsel re                MIG              0,50         237,50
               production,
23-Jan-19      Correspondence with Lock Lorde re documents.           MIG              0.40         190,00
23-Jan-19      Confer with Receiver on production from Locke          KAS              1,30         260,00
               Lord; Download voluminous records from FTP site
               and organize,
25-Jan-19      Confer with Defendant's counsel regarding document     NSS              0.50         237,50
               needs,
28-Jan-19      Correspond with e-discovery vendor regarding Locke     KAS              0,40          80,00
               Lord production,
29-Jan-19      Conference with Naim re discovery and reviewed         MIG              0,40         190,00
               Dorfman's attorney's correspondence,
29-Jan-19      Corresponded with FTC re discovery.                    MIG              0.20          95.00
30-Jan-19      Call with N. Surgeon and FTC team to discuss           MIG              0,90         427,50
               discovery,various motions and other issues.
30-Jan-19      Review discovery scheduling order.                     JML              0,20          95.00
31-Jan-19      Corresponded with UBS counsel re documents.            MIG              0,20          95.00
31-Jan-19      Conference with N. Surgeon re discovery and            MIG              0.20          95,00
               reviewed emails from Dorfman's counsel,
31-Jan-19      Confer with SalesForce to resolve access issue.        NSS              2,70       1,282,50
               Prepare response to Defendant's document request,
               Search call records for additional documents,
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0346625     SIMPLE HEALTH PLANS                                        Invoice Number                ******



1-Feb-19       Review files for additional document requests made      NSS              1,60         760,00
               by Defendant.
7-Feb-19       Confer with Defendant's counsel regarding discovery.    NSS              0.50         237,50
8-Feb-19       Review status reports on discovery.                     JML              0.20          95.00
11-Feb-19      Review prior production to Defendant's counsel for      NSS              1,20         570.00
               missing files.
12-Feb-19      Review discovery order.                                 KAS              0,30          60,00
12-Feb-19      Conference with Naim re discovery.                      MIG              0,20          95.00
13-Feb-19      Reviewed discovery correspondence.                      MIG              0,20          95,00
13-Feb-19      Confer with N. Surgeon regarding Defendant's            KAS              0.40          80,00
               discovery requests.
13-Feb-19      Visit Simple Health site to assist defendant with       NSS              4.20       1,995,00
               obtaining document discovery,
14-Feb-19      Visit Simple Health site to assist the defendant with   NSS              3,50       1,662.50
               obtaining documents.
14-Feb-19      Meet with Defendant's counsel and IT employee to        KAS              6.00       1,200,00
               obtain data from Oakwood offices in response to
               discovery requests.
18-Feb-19      Conference with N. Surgeon regarding status of          KAS              0.20          40,00
               Defendant's discovery requests.
18-Feb-19      Draft update to Defendant's counsel regarding           NSS              0.60         285.00
               document production.
19-Feb-19      Confer with attorneys regarding subpoena.               KAS              0,20          40.00
19-Feb-19      Communications regarding third party records            KAS              0,50         100.00
               request.
19-Feb-19      Follow up with N, Surgeon regarding discovery.          KAS              0,10          20.00
20-Feb-19      Visit Simple Health site. Review new documents          NSS              3,90       1,852,50
               sought by Defendant's counsel and deliver drive to
               courier,
27-Feb-19      Call with State of Iowa regarding records.              KAS              0,20          40.00
1-Mar-19       Corresponded with N. Surgeon re discovery.              MIG              0,10          47,50
4-Mar-19       Conference with N. Surgeon re discovery.                MIG              0,20          95.00
4-Mar-19       Confer with FTC. Retrieve documents requested by        NSS              1,30         617.50
               Defendant.
5-Mar-19       Conduct additional discovery searches for               NSS              2,30       1,092.50
               Defendants,
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7-Mar-19       Conference with Surgeon re discovery.                    MIG              0,30         142.50
7-Mar-19       Communications with e-discovery team regarding           KAS              0,60         120.00
               database update; Research platform for information
               on former accounting firm,
7-Mar-19       Communications with Receiver and N. Surgeon              KAS              0,20          40,00
               regarding Payoom records request.
7-Mar-19       Review email correspondence from Penny of                KAS              0,40          80,00
               Inteliquent regarding New Mexico subpoena.
               Correspond with attorneys and provide response to
               Inteliquent.
8-Mar-19       Confer with vendor regarding establishing access to      NSS              0.50         237,50
               documents for Defendant's counsel and outstanding
               invoices,
8-Mar-19       Confer with Defendant's counsel, Transfer additional     NSS              1,30         617,50
               documents to Defendant's counsel, Arrange FTP
               upload of document production to FTC.
12-Mar-19      Visit site to locate additional documents requested by   NSS              2.90       1,377.50
               Defendant's counsel,
12-Mar-19      Correspond with N. Surgeon regarding payment to          KAS              0,40          80.00
               Boberdoo to obtain continued access to data on cloud
               for discovery purposes; Attend to matters re: same.
12-Mar-19      Reviewed correspondence between Gershoni and             MIG              0.20          95.00
               Surgeon re discovery.
13-Mar-19      Analyze Iowa Department of Insurance discovery           KAS              0,50         100,00
               request and correspond with Receiver and N. Surgeon
               re: same.
14-Mar-19      Corresponded with Surgeon re discovery.                  MIG              0.20          95.00
15-Mar-19      Conference with Surgeon re discovery.                    MIG              0.10          47.50
18-Mar-19      Conference with N. Surgeon re discovery.                 MIG              0,20          95.00
18-Mar-19      Follow up with N. Surgeon regarding discovery            KAS              0,20          40,00
               matters.
18-Mar-19      Conference with N. Surgeon regrading discovery           KAS              0,30          60,00
               matters.
20-Mar-19      Confer with Receiver regarding discovery matters,        KAS              0,20          40.00
20-Mar-19      Follow up on discovery request matters.                  KAS              0,60         120,00
20-Mar-19      Attend call with N, Surgeon and US Postal Inspector      KAS              0,50         100.00
               regarding document request.
20-Mar-19      Conference with K. Smiley re discovery.                  MIG              0,20          95.00
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21-Mar-19      Prepare outline of key documents for Defendant's      NSS              2,70       1,282,50
               discovery requests.
25-Mar-19      Conference with Surgeon re postal inspection.         MIG              0,20          95,00
25-Mar-19      Confer with N. Surgeon regarding discovery and        KAS              0,40          80.00
               asset disposition.
27-Mar-19      Research responsive documents to document request.    KAS              0.80         160,00
2-Apr-19       Research responsive documents to third party          KAS              0.80         160,00
               discovery request; Communications with M.
               Goldberg and N. Surgeon re: same.
3-Apr-19       Edited doe Document Control Index.                    KAS              0.50         100,00
3-Apr-19       Work on document review and organization.             KAS              0,40          80.00
4-Apr-19       Review company operational documentation gathered     NSS              3.70       1,757,50
               on site, Draft Receiver's report,
5-Apr-19       Confer with vendor regarding restoring access to      NSS              0,60         285,00
               remote servers to complete Defendant's document
               request,
17-Apr-19      Conference re discovery.                              MIG              0,20          95.00
17-Apr-19      Corresponded with FTC re documents,                   MIG              0.10          47.50
18-Apr-19      Follow up with N. Surgeon regarding State of Iowa's   KAS              0,10          20.00
               document request,
18-Apr-19      Research registered agent information for Paycom      KAS              1,30         260,00
               (,6); Prepare draft Subpoena for records to support
               W2 and 1099's (,7); Correspond with Paycom
               regarding acceptance of service of subpoena via
               email (,1),
24-Apr-19      Call with Niam regarding discovery.                   KAS              0.10          20.00
25-Apr-19      Correspond with FTC regarding document request.       KAS              0,30          60.00
30-Apr-19      Corresponded with Surgeon re documents,               MIG              0.10          47,50
30-Apr-19      Confer with IT Team regarding Locke Lord              KAS              0,30          60.00
               production matters,
1-May-19       Conference with N, Surgeon re discovery.              MIG              0,10          47,50
17-May-19      Reviewed documents received from Davis,               MIG              0.50         237,50
17-May-19      Reviewed documents received from Sonn,                MIG              0,30         142.50
30-May-19      Conference with Surgeon re records.                   MIG              0,30         142.50
27-Jun-19                                                            NSS              1,00         475,00
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27-Jun-19      Confer with FTC regarding privileged documents.   NSS                0,50         237.50
                          Subtotal for Code 536 ADVERSARY 6                       133.70      57,135.00

               Total Fees for Services Rendered                                             $587,930.00



                                           Disbursements                                          Value
Total for POSTAGE                                                                                477.86
Total for DUPLICATING - COLOR                                                                    177.50
Total for TELEPHONE CONFERENCING                                                                    2,44
Total for PACER PUBLIC RECORDS SYSTEM                                                              41,00
Total for DUPLICATING                                                                            100,40
Total for FEDERAL EXPRESS                                                                        404,06
Total for DELIVERY SERVICE                                                                       165.42
Total for COURT SERVICES                                                                         282.00
Total for PARKING                                                                                  48,00
Total for FILING FEES                                                                              94,00
Total for WESTLAW RESEARCH                                                                         89,25
Total for MISCELLANEOUS LIBRARY CHARGES                                                            30,25
Total for OTHER CHARGES                                                                        12,351,42

Total Disbursements                                                                          $14,263.60
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           Initial   Name                              Hours            Amount
           AS        A, SAUCHIK                           1,30           260.00
           AAS       A, A, SAWYER                        8,10           3,847.50
           AJW       A. J. WAMSLEY                        0,50           237.50
           AMM       A, M. MCLAUGHLIN                   24.00           1,800.00
           CRC       C. R. COTLER                         1,00           200,00
           GJG       G.J. GUZZI                           0,40           190.00
           GRP       G. R. PEOPLES                      23.10          10,972,50
           JEB       J, E, BROOKS-PATTON                  9.80          1,960.00
           JML       J.M. LEVIT                        203,30          96,567,50
           JSR       J. S. ROBBINS                      55,80          26,505.00
           KS        K. SHINDER                        102,00          20,400,00
           KAS       K. A, SMILEY                      441,80          88,360,00
           LP        L. PEREZ                             9,60          4,560,00
           MAM       M. A. MCLEES                         5,90          1,180.00
           MDN       M. D. NAPOLI                       26.10          12,397.50
           MIG       M. I. GOLDBERG                    252,40      119,890,00
           NSS       NS SURGEON                        370.60      176,035.00
           RBB       R. B. BADGER                       48.30          13,282.50
           REW       R. E. WEITZEL                        8,10          2,987,50
           SMK       S. M. KESSLER                        0.70           332,50
           T.B,E     T.B ENGAR                            4,90          2,327,50
           TBF       T, B. FULLERTON                      1.00           475.00
           VS        V. SAMUELS                         11,50           3,162,50
                                     Total            1,610,20    $587,930,00
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                                                 CASE NO. 18-CV-62593-GAYLES


                                     Exhibit 3
                Kapila Mukamal's Complete Time by Activity Code Category
                    For The Time Period Covered By This Application,
                             Sorted In Chronological Order




   48955101;2
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                               Kap& Mukamal
                                   CPAs, Forensic and Insolvency Advisors
                                                EIN #XX-XXXXXXX


                               FTC V. SIMPLE HEALTH PLANS LLC
                                         Client ID: 90137
                                    Invoice #5786 - 06/30/19
                                     TIME SUMMARY BY STAFF

    Staff                                                                    Hours             Rate      Amount

MMD - MELISSA DAVIS - PARTNER CPA, CIRA, CFE                                   36.90          436.00     16,088.40

FDD - FRANK DIAZ-DRAGO - CONSULTANT                                            80.30          270.00     21,681.00

KAF - KATHY FOSTER - TAX CONSULTANT                                             7.30           310.00     2,263.00

SAG - STEPHEN GARCIA - FORENSIC ANALYST                                        55.70          150.00      8,355.00

KJJ - KY JOHNSON - FORENSIC ANALYST                                             5.10          150.00       765.00

LJJ - LESLEY JOHNSON - PARTNER/TAX CPA, CIRA                                  11.30           430.00      4,859.00

SRK - SONEET KAPILA - PARTNER CPA, OFF, CIRA, CFE                               1.10          570.00       627.00

MSK - MELISSA KATZ - CONSULTANT CPA, CVA, CFF                                   1.80          280.00       504.00

MCP - MARK PARISI - CONSULTANT CPA, CFE, CIRA                                 78.40           320.00     25,088.00

RLW - RACHEL WEISS - CONSULTANT CPA, CFE                                        4.00          248.00       992.00

 TOTAL                                                                       281.90                     $81,222.40


                                                                  BLENDED RATE               $288.12


                                                                TOTAL EXPENSES                             1,757.36

 TOTAL AMOUNT OF THIS INVOICE                                                                            $82,979.76




                Kapila Building • 1000 South Federal Highway • Suite 200 • Fort Lauderdale FL 33316
                                    • Broward 954-761-1011 • Dade 786-517-5771
                                         Affiliated Office in London, England
                                               www.kapilamukamal,com

                                                    0-1/1
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                                  Kapiia/Mukamal
                                      CPAs, Forensic and Insolvency Advisors
                                          1000 S. Federal Highway, Suite 200
                                             Fort Lauderdale, FL 33316
                          Phone - 954-761-1011 F - 954-761-1033 www.kapilamukamal.com
                                                   EIN #XX-XXXXXXX
 FTC V. SIMPLE HEALTH PLANS LLC
 C/O MICHAEL I. GOLDBERG, ESQ., RECEIVER                                                Invoice: 5786
                                                                                        06/30/2019
                                                                                        Client ID: 90137

  For Professional Services Rendered Through June 30, 2019

  DATE         STAFF                       DESCRIPTION                                  HRS        AMOUNT
 LITIGATION SUPPORT
 11/14/2018    MCP      REVIEW OF PLEADINGS                                             0.80            249.15
 11/14/2018    SRK      COMMUNICATIONS WITH RECEIVER TO DISCUSS ASSISTANCE              0.70            396.47
                        NEEDED AND COORDINATE WORK PLAN.
 11/14/2018    SRK      ATTEND TO EMAIL COMMUNICATION WITH RECEIVER AND                 0.30            169.92
                        COORDINATE TASKS.
 11/14/2018    FDD      REVIEW COMPLAINT AND ACCOMPANYING EXHIBITS.                     0.20             51.58
 11/15/2018    MCP      SITE VISITS TO OBTAIN ACCOUNTING DATA. REVIEW OF FILES          6.40         1,993.18
                        AT OFFICE.
 11/15/2018    MMD      REVIEW PLEADINGS AND EXHIBITS TO FTC MOTIONS.                   1.60            641.21
 11/16/2018    MCP      T/C WITH RECEIVER RE: INTERIM REPORT.                           0.30             93.43
 11/16/2018    MMD      T/C WITH RECEIVER AND COUNSEL REGARDING REPORT.                 0.60            240.45
 11/16/2018    SAG      EXPORT GENERAL LEDGER DATA FROM QUICKBOOKS AND                  2.30            345.00
                        SCAN DOCUMENTS FOR MARK P.
 11/16/2018    MCP      COORDINATE NEXT STEPS WITH STAFF. CONTINUE TO REVIEW 1.40                       436.01
                        DOCUMENTS AND LOCATE DATA FOR TAX RETURNS.
 11/16/2018    MMD      REVIEW QUICKBOOKS AND ACCOUNTING RECORDS OF                     2.40            961,82
                        RECEIVERSHIP ENTITIES.
 11/19/2018    FDD      T/C WITH M. DAVIS AND M. PARISI RE: CASE WORK PLAN.             0.30             77.37
 11/19/2018    SAG      EXPORT GENERAL LEDGER DATA FROM QUICKBOOKS AND                  4.40            660.00
                        BEGIN BANK STATEMENT INVENTORY.
 11/19/2018    MCP      MEETING WITH K ABATTE (AKERMAN) AND JANS TO OBTAIN              4.00         1,245.74
                        SALES FORCE DATA,
 11/19/2018    MMD      CONTINUE TO REVIEW RECEIVERSHIP ENTITY ACCOUNTING               1.70            681.29
                        RECORDS.
 11/19/2018    FDD      FORMAT GENERAL LEDGER FOR HBC DIRECT LLC.                       0.30             77.37
 11/20/2018    SAG      CONTINUE EXPORTING GENERAL LEDGER FROM QUICKBOOKS 4.30                          645.00
                        AND FINISH BANK STATEMENT INVENTORY ALSO BEGAN
                        FORMATTING GENERAL LEDGERS.
11/20/2018     MCP      REVIEW OF SALES FORCE DATA FOR THE PURPOSE OF                   1.20            373.72
                        PREPARING SALES ANALYTICS FOR QUARTERLY REPORT.
11/20/2018     MCP      PREPARE FILE TREE OF DOCUMENTS OBTAINED.                        0.20             62.29
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 11/20/2018   MCP   REVIEW OF TEMPORARY RESTRAINING ORDER FOR ENTITIES     0.30        93,43
                    IN RECEIVERSHIP RE: TAX COMPLIANCE.
 11/21/2018   SAG   FORMAT GENERAL LEDGERS EXPORTED FROM QUICKBOOKS        5.60       840.00
                    FOR EACH ENTITY INCLUDING GENERAL ACCOUNT, SUB
                    ACCOUNT 1, AND SUB ACCOUNT 2.
 11/26/2018   SAG   COMPLETED DOWNLOADING QUICKBOOKS FILES (GL, P&L, BS,   4.00       600.00
                    CHECK DETAILS, DEPOSIT DETAILS) FOR ALL ENTITIES.
                    REFORMATTED GENERAL LEDGER SPREADSHEETS FOR
                    FINANCIAL ANALYSIS.
 11/26/2018   MCP   REVIEW OF BANK STATEMENT INVENTORY. DRAFT EMAIL TO     0.20        62.29
                    KIM (AKERMAN) RE: BANK ACCOUNT BALANCES AS OF
                    TURNOVER DATE.
 11/26/2018   MCP   REVIEW OF TD STATEMENT PRODUCTION. UPDATE              0.20        62.29
                    INVENTORY.
 11/27/2018   MMD   CONTINUE REVIEW OF RECEIVERSHIP ENTITY ACCOUNTING      2.20       881.67
                    RECORDS AND RECONSTRUCTIONS OF BANK RECORDS.
 11/28/2018   SAG   START BANK RECONSTRUCTIONS FOR ALL ENTITIES USING      7.00    1,050,00
                    GENERAL LEDGERS
 11/28/2018   FDD   PREPARE CONSOLIDATED FINANCIAL STATEMENTS FOR HBO      1.20       309.47
                    AND RELATED ENTITIES.
 11/28/2018   FDD   PREPARE CONSOLIDATED FINANCIAL STATEMENTS FOR HBO      3.60       928.41
                    AND RELATED ENTITIES (CONTINUED). PREPARE A
                    CONSOLIDATED FINANCIAL STATEMENTS FOR IIS, SHS, AND
                    NMS.
 11/28/2018   MCP   REVIEW OF CONSOLIDATED FINANCIAL STATEMENTS FOR        0.70      218.00
                    INTERIM REPORT.
 11/29/2018   SAG   CONTINUE CREATING BANK RECONSTRUCTIONS FOR ALL         6.90    1,035.00
                    ENTITIES USING QUICKBOOKS GENERAL LEDGERS EXPORTED
                    FILES. ALSO CHECK ENDING BALANCES AND COMPARE THEM
                    TO THE BANK STATEMENTS WE HAVE ON FILE FOR EACH
                    ENTITY.
 11/29/2018   FDD   PREPARE A BANK RECONSTRUCTION FOR HEALTH BENEFIT       0.50      128.95
                    ONE LLC.
 11/29/2018   MMD   REVIEW FINANCIAL STATEMENTS EXTRACTED FROM QB.         0,80       320.61
 11/30/2018   SAG   COMPLETE BANK RECONSTRUCTIONS                          2.80      420.00
 11/30/2018   FDD   PREPARE A BANK RECONSTRUCTION FOR HBC DIRECT.          0,50      128.94
                    PREPARE AN ALPHA SORT AND SUMMARY SCHEDULES,
 11/30/2018   FDD   PREPARE A BANK RECONSTRUCTION FOR HEALTH BENEFITS      2,90      747.88
                    CENTER CORPORATION. REVIEW OPERATING ACCOUNT FOR
                    THE PERIOD DECEMBER 2014 THROUGH APRIL 2018.  •
 11/30/2018   FDD   REVISE CONSOLIDATED FINANCIAL STATEMENTS FOR HEALTH    1.80      464.20
                    BENEFITS ONE LLC AND RELATED ENTITIES.
 11/30/2018   FDD   PREPARE A BANK RECONSTRUCTION FOR HEALTH BENEFITS  2.30          593.15
                    CENTER CORPORATION. REVIEW PAYROLL ACCOUNT FOR THE
                    PERIOD DECEMBER 2014 THROUGH APRIL 2018.
 11/30/2018   MCP   REVIEW OF BANK RECONSTRUCTIONS FROM QUICKBOOKS.        1.20      373.72
 11/30/2018   MCP   REVIEW OF REVISED FINANCIAL STATEMENTS FOR INTERIM     0.80      249.15
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                    REPORT
 11/30/2018   MMD   ANALYSIS OF RECEIVERSHIP ENTITY ACCOUNTING RECORDS     1.40       561.06
                    TO PREPARE NARRATIVES FOR ACCOUNTING SECTION OF
                    RECEIVER REPORT.
 12/03/2018   FDD   PREPARE CONSOLIDATED FINANCIAL STATEMENTS FOR THE      4.60    1,186.30
                    CORPORATE AND NON-CORPORATE DEFENDANTS.
 12/03/2018   FDD   PREPARE A BANK RECONSTRUCTION FOR HEALTH BENEFITS      1.50       386.84
                    ONE LLC.
 12/04/2018   MCP   BEGIN TO UPDATE BANK RECONSTRUCTIONS.                  0.80      249.15
 12/05/2018   MCP   REVIEW OF WELLNESS PLANS OF AMERICA DOCUMENTS.         0.30        93.43
 12/05/2018   MCP   CONTINUE TO UPDATE BANK RECONSTRUCTIONS.               0.70      218.00
 12/11/2018   MCP   DOWNLOAD AND REVIEW WELLS FARGO BANK STATEMENTS.       0.30        93.43
                    COORDINATE NEXT STEPS WITH STAFF.
 12/12/2018   MCP   CONTINUE TO UPDATE BANK RECONSTRUCTIONS.               0.50       155,72
 12/17/2018   MCP   CONTINUE SOLUCIONES OMFRI BANK RECONSTRUCTION.         0.80      249.15
 12/20/2018   MCP   CONTINUE HEALTH BENEFITS ONE RECONSTRUCTION,           2.60       809,73
 12/21/2018   MCP   CONTINUE BANK RECONSTRUCTIONS                          4,30    1,339.17
 12/24/2018   MCP   CONTINUE TO PREPARE BANK RECONSTRUCTIONS.              4.20    1,308.02
 12/26/2018   MCP   CONTINUE HEALTH BENEFITS ONE RECONSTRUCTION.           5.80    1,806.32
                    RECONCILE TRANSACTIONS TO OTHER COMPANIES.
 12/26/2018   SAG   CREATE ACCOUNT LISTING SCHEDULE USING BALANCE          1.20      180.00
                    SHEETS PULLED FROM QUICKBOOKS
 12/26/2018   SAG   ADD CHASE BANK TRANSACTIONS TO BANK RECONSTRUCTION 0.80          120.00
 12/27/2018   FDD   REVIEW BANK RECONSTRUCTION FOR HEALTH BENEFITS ONE     1.30      335.26
                    AND RECONCILE INTERCOMPANY TRANSACTIONS.
 12/27/2018   FDD   REVIEW BANK RECONSTRUCTION FOR HEALTH BENEFITS ONE     2.50      644.73
                    AND RECONCILE INTERCOMPANY TRANSACTIONS
                    (CONTINUED).
 12/27/2018   MCP   CONTINUE TO FINALIZE BANK RECONSTRUCTIONS.             3.30    1,027.73
 12/28/2018   FDD   REVIEW BANK RECONSTRUCTION FOR HEALTH BENEFITS ONE     3.80      979.99
                    AND RECONCILE INTERCOMPANY TRANSACTIONS
                    (CONTINUED).
 12/28/2018   FDD   REVIEW BANK RECONSTRUCTION FOR HEALTH BENEFITS ONE     1.00      257.89
                    AND RECONCILE INTERCOMPANY TRANSACTIONS
                    (CONTINUED).
 12/28/2018   FDD   REVIEW BANK RECONSTRUCTION FOR HEALTH CENTER           1.10      283,68
                    MANAGEMENT CORP AND RECONCILE INTERCOMPANY
                    TRANSACTIONS.
 12/28/2018   MCP   CONTINUE TO REFINE BANK RECONSTRUCTIONS.               2.60      809.73
 01/02/2019   MCP   CONTINUE TO FINALIZE BANK RECONSTRUCTIONS.             0.50      165.45
 01/03/2019   FDD   FINALIZE BANK RECONSTRUCTIONS FOR HBC DIRECT, HEALTH   1.40      387.79
                    BENEFIT CENTER CORP AND HEALTH CENTER MANAGEMENT
                    CORP,
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 01/03/2019   FDD   FINALIZE BANK RECONSTRUCTIONS FOR HEALTH BENEFIT      6.30    1,745.06
                    ONE, INNOVATIVE CUSTOMER CARE, IVANTAGE INSURANCE
                    SOLUTIONS, NMS INSURANCE, SENIOR BENEFIT ONE, SHIFT
                    HEALTH SOLUTIONS, SIMPLE INSURANCE LEAD, SMART
                    HEALTH PROGRAMS, AND SOLUCIONES OMFRI.
 01/07/2019   FDD   REVISE SUMMARY SCHEDULES.                             0.60       166.20
 01/07/2019   MCP   PREPARE ANALYSIS OF SALES FROM SALES FORCE FROM       3.10    1,025.79
                    INTERIM REPORT. FINALIZE REVIEW OF FINANCIAL
                    STATEMENTS AND BANK RECONSTRUCTIONS.
 01/11/2019   MCP   REVIEW OF JP MORGAN BANK STATEMENT PRODUCTION AND     0.60       198.54
                    RECONCILE TO QUICKBOOKS RECONSTRUCTION.
 01/15/2019   MCP   REVIEW INTERIM REPORT NARRATIVES AND EXHIBITS.        0.70      231.63
 01/15/2019   MMD   REVIEW BANK RECONSTRUCTIONS.                          0.70       315.28
 01/15/2019   MMD   REVIEW DRAFT FINANCIAL DATA EXTRACTED FROM            1.00      450.39
                    QUICKBOOKS FOR INCLUSION IN RECEIVER REPORT.
 01/16/2019   FDD   PREPARE A CONSOLIDATED BANK RECONSTRUCTION.           1.50      415.49
 01/17/2019   FDD   REVISE CONSOLIDATED FINANCIAL STATEMENTS.             1.00      276.99
 01/17/2019   FDD   PREPARE A CONSOLIDATED BANK RECONSTRUCTION            1.40      387.79
                    (CONTINUED).
 01/17/2019   FDD   PREPARE A CONSOLIDATED BANK RECONSTRUCTION            1.20      332.39
                    (CONTINUED).
 01/18/2019   FDD   PREPARE A CONSOLIDATED BANK RECONSTRUCTION            3.90    1,080.28
                    (CONTINUED). PREPARE AN ALPHA.
 01/18/2019   SAG   ANALYZE BANK RECORDS FOR EACH ENTITY FOR PURPOSES     4.00      600.00
                    OF RECONSTRUCTING.
01/21/2019    SAG   CONTINUE ORGANIZING PRODUCTION AND BANK DOCUMENTS     8.00    1,200.00
                    AS WELL AS THE BANK INVENTORY
01/22/2019    FDD   FINALIZE CONSOLIDATED BANK RECONSTRUCTION AND         1.70      470.89
                    PREPARE SUMMARY SCHEDULES.
01/22/2019    MCP   BEGIN TO REVIEW CONSOLIDATED BANK RECONSTRUCTION.     0.70      231.63
01/23/2019    FDD   REVISE CONSOLIDATED SUMMARY SCHEDULE.                 0.50      138.50
01/23/2019    MCP   FINALIZE SCHEDULES FOR INTERIM REPORT. PREPARE        4.20    1,389.78
                    NARRATIVE WITH M. DAVIS.
01/23/2019    SAG   MOVE MISCELLANEOUS ITEMS INTO APPROPRIATE FOLDERS     1.40      210.00
                    FOR EACH ENTITY AND REVIEW MISSING BANK STATEMENTS
                    TO ADD TO BANK STATEMENT INVENTORY
01/23/2019    FDD   PREPARE SCHEDULES FOR INTERIM REPORT.                 0.60      166.20
01/23/2019    FDD   ANALYZE BANK RECORDS.                                 1.30      360.09
01/23/2019    MMD   PREPARE NARRATIVES FOR ACCOUNTING SECTION OF          3.40    1,531.34
                    RECEIVER'S REPORT.
01/24/2019    FDD   REVIEW CONSOLIDATED BANK RECONSTRUCTION AND REVISE 1.60         443.19
                    ALPHA SORT.
01/24/2019    MCP   CONTINUED REVIEW OF BANK RECONSTRUCTION SCHEDULES, 0.60         198.54
01/24/2019    SAG   PREPARE BANK STATEMENT INVENTORY.                     3.00      450.00
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 01/24/2019   FDD   REVIEW BANK STATEMENTS FOR DORFMAN AND SEND TO AIT      0.70       193.90
                    TO CONVERT TO EXCEL.
 02/06/2019   MCP   REVIEW OF BANK RECONSTRUCTIONS FOR THE PURPOSE OF       0.60       198.54
                    IDENTIFYING PAYMENTS TO EMPLOYEES RE: 1099'S.
 02/06/2019   MMD   EMAILS WITH K. SMILEY REGARDING 1099S FOR COMMISSION    0.50       225.20
                    PAYMENTS.
 02/11/2019   FDD   REVIEW BANK RECONSTRUCTION TO IDENTIFY COMMISSION       0.50      138.50
                    PAYMENTS TO ANU MADAN AND ROBERT SIEGEL.
 02/12/2019   FDD   REVIEW DISBURSEMENTS MADE TO JASON GANIS RE: TAXES.     0.20        55.40
 02/13/2019   FDD   ANALYZE DISBURSEMENTS TO INTERNET PROVIDERS FOR ALL     0.90      249.29
                    ENTITIES.
 02/13/2019   MCP   ATTEND TO ACCOUNT ISSUE NUMBERS FOR UTILITIES. T/C      0.50      165.45
                    WITH K. ABATTE AND N. SURGEON (AKERMAN) RE: SAME.
 03/14/2019   MCP   REVIEW OF BANK STATEMENTS TO LOCATE SUPPORT FOR         0.90      297.81
                    DORFMAN HOME PURCHASE.
 03/15/2019   FDD   REVIEW DISBURSEMENTS MADE TO CHICAGO TITLE OF           0.20        55.40
                    NEVADA INC.
 03/19/2019   MCP   LOCATE EIN FOR SIMPLE HEALTH FOR KIM.                   0.10        33.09
 03/20/2019   MCP   SEARCH HARD DRIVE FOR PREVIOUS W9 FOR SIMPLE HEALTH. 1.30         430.17
                    REVIEW OF 2018 PAYROLL REPORTS RE:
 03/26/2019   MMD   TIC WITH RECEIVER.                                      0.20        90.08
 03/26/2019   FDD                                                           1.60      443.19

 03/26/2019   FDD   PREPARE A BANK RECONSTRUCTION FOR STEVEN DORFMAN,       0.40      110.80
                    REVIEWING ACCOUNT #0747 AND #4077 FOR THE PERIOD
                    FROM SEPTEMBER 28, 2015 THROUGH OCTOBER 31, 2018.
 03/26/2019   MMD                                                           1.20      540.47
 03/26/2019   MMD                                                           1.10      495.43
 03/26/2019   MMD   DRAFT EMAIL TO RECEIVER.                                0.60      270.24
 03/26/2019   MMD   AMEX ANALYSIS.                                          1.10      495.43
 03/26/2019   FDD   REVIEWAND UNLOCK AMEX STATEMENTS IN ORDER TO SEND       1.30      360.09
                    TO CFIS TO CONVERT TO EXCEL.
 03/28/2019   MMD                                                           1.40      630.55


 03/29/2019   MMD   AMEX ANALYSIS.                                          0.80      360.31
 04/01/2019   FDD   PREPARE A CREDIT CARD RECONSTRUCTION FOR HEALTH         0.80      221.59
                    BENEFITS ONE, REVIEWING AMEX #31000 FOR THE PERIOD
                    FROM 08.2015 THROUGH 10.2018.
04/01/2019    FDD   PREPARE A CREDIT CARD RECONSTRUCTION FOR HEALTH         0.80      221.59
                    BENEFITS ONE, REVIEWING AMEX #31000 FOR THE PERIOD
                    FROM 08.2015 THROUGH 10.2018 (CONTINUED).
04/01/2019    FDD   PREPARE A CREDIT CARD RECONSTRUCTION FOR HEALTH         2.10      581.69
                    BENEFITS ONE, REVIEWING AMEX #11006, #14002, #15009,
                    #16007 and #31008 FOR THE PERIOD FROM 05.2013 THROUGH
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                    10.2018.
 04/01/2019   MCP   CONTINUE TO PREPARE ANALYSIS FOR INTERIM REPORT.      4.60    1,522.13
                    ASSIST WITH AMEX RECONSTRUCTION AND OTHER ITEMS.
 04/02/2019   RLW   PREPARE THE AMERICAN EXPRESS BANK RECONSTRUCTION      3.60       892.80
                    ALPHA SORTS
 04/02/2019   MSK   WORK ON CREDIT CARD RECONSTRUCTION AND UPDATE         1.80       504.00
                    CATEGORIES AND ALPHA SORTS.
 04/02/2019   FDD   REVIEW COMBINED CREDIT CARD RECONSTRUCTION FOR        0.40      110.80
                    HEALTH BENEFITS ONE AND PREPARE AN ALPHA SORT.
 04/02/2019   FDD   REVIEW COMBINED CREDIT CARD RECONSTRUCTION FOR        2.80      775.58
                    HEALTH BENEFITS ONE AND PREPARE AN ALPHA SORT
                    (CONTINUED).
 04/02/2019   FDD   REVIEW COMBINED CREDIT CARD RECONSTRUCTION FOR        5.20    1,440.37
                    HEALTH BENEFITS ONE AND PREPARE AN ALPHA SORT
                    (CONTINUED).
 04/02/2019   MCP   ANALYSIS FOR INTERIM REPORT REVIEW OF DUE TO DUE      7.60    2,514.83
                    FROMS, INTERCOMPANY ACTIVITY, AND PAYROLL. CONTINUE
                    AMEX RECONSTRUCTION.
 04/02/2019   MMD   CONTINUE TO DEVELOP NARRATIVES AND EXHIBITS FOR       1.50      675.59
                    RECEIVER REPORT.
 04/03/2019   RLW   CONTINUE TO PREPARE THE AMERICAN EXPRESS BANK         0.40        99.20
                    RECONSTRUCTION ALPHA SORTS
 04/03/2019   FDD   REVIEW COMBINED CREDIT CARD RECONSTRUCTION AND        3.30      914.08
                    CATEGORIZE PAYEES.
 04/03/2019   FDD   REVIEW COMBINED CREDIT CARD RECONSTRUCTION AND        5.30    1,468.07
                    CATEGORIZE PAYEES (CONTINUED). PREPARE SUMMARY
                    SCHEDULES FOR INTERIM REPORT.
 04/03/2019   MCP   CONTINUE TO FINALIZE AMEX RECONSTRUCTION AND          4.80    1,588.31
                    PREPARE DATA FOR INTERIM REPORT.
 04/03/2019   MMD   ANALYSIS OF AMERICAN EXPRESS INSIDER TRANSACTIONS,    3.60    1,621.41
                    COMMINGLING OF FUNDS BETWEEN RECEIVERSHIP ENTITIES
                    AND CONTINUE TO DEVELOP NARRATIVES AND EXHIBITS FOR
                    RECEIVER REPORT.
 04/04/2019   MMD                                                         0.40      180.16
 04/04/2019   FDD   FINALIZE CREDIT CARD RECONSTRUCTION FOR SIMPLE        1.40      387.79
                    INSURANCE LEAD AND PREPARE SUMMARY SCHEDULES.
 04/04/2019   MMD                                                         2.10      945.82

04/05/2019    MMD                                                         3.00    1,351.18
04/10/2019    MCP   REVIEW OF PAYMENT DATA FOR ANDREW STROMFELD RE:       0.30        99.27
                    POTENTIALLY RECEIVED 1099 FOR WRONG YEAR.
04/10/2019    MMD   CONTINUE TO PREPARE EXHIBITS FOR REPORT.              0.80      360.31
04/11/2019    MCP   REVIEW OF INTERIM REPORT.                             0.60      198.54
04/11/2019    MMD   PREPARE NARRATIVE AND EXHIBITS FOR RECEIVER REPORT.   1.50      675,59
04/17/2019    MCP   REVIEW OF SIL ACCOUNTS RECEIVABLE. PREPARE AR AGING   1.00      330.90
                    AND DETAIL OF SAME, INCORPORATE CUSTOMER CONTACT
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                    INFORMATION. REVIEW REVENUES IN 2018.,
 04/17/2019   MMD   REVIEW SALES LEADS TO OUTSIDE COMPANIES AND DRAFT     1.30        585.51
                    EMAIL TO RECEIVER REGARDING SAME,
 04/29/2019   SRK   UPDATE ON CASE STATUS WITH MELISSA DAVIS               0.10        60.61
 05/07/2019   MCP   REVIEW OF PAYMENTS TO STUART CAMPBELL RE: 2018 1099   0.20         66.18
                    DISCREPANCY.
 06/25/2019   MCP   PREPARE COPY OF EXTERNAL HARD DRIVE CONTAINING        0.70       231.63
                    SIMPLE HEALTH DATA. REVIEW OF DOCKET FOR CASE
                    UPDATES.



                                                                                  73,037.59
 TAX SERVICES - PREPARE FORMS

 11/05/2018   LJJ   REVIEW FTC COMPLAINT AND FOLLOW FORM 56 INFORMATION 0.60         252.90
 11/14/2018   LJJ   REVIEW EMAILS AND FILES TO DETERMINE INFORMATION      0.40       168.60
                    AVAILABLE TO PREPARE FORMS 56
 11/15/2018   LJJ   GATHER INFORMATION TO PREPARE FORM 56, EMAILS TO K    1.00       421.50
                    JOHNSON REGARDING FORMS 56 NECESSARY, REVIEWAND
                    REVISE FORMS 56
 11/15/2018   KJJ   PREPARATION OF FORM 56 - HEALTH BENEFITS ONE          020          30.00
 11/15/2018   KJJ   PREPARATION OF FORM 56 - HEALTH CENTER MANAGEMENT     0.20         30.00
 11/15/2018   KJJ   PREPARATION OF FORM 56 - INNOVATIVE CUSTOMER CARE     0.20         30.00
 11/15/2018   KJJ   PREPARATION OF FORM 56 - SENIOR BENEFITS ONE          0.20         30.00
 11/15/2018   KJJ   PREPARATION OF FORM 56 - SIMPLE HEALTH PLANS          0.20         30.00
 11/15/2018   KJJ   PREPARATION OF FORM 56 - SIMPLE INSURANCE LEADS       0.20         30.00
 11/16/2018   LJJ   PREPARATION OF TEMPLATE FOR FORMS 56 AND 4506-T       1.60       674.40
                    PREPARATION INCLUDING SUNBIZ RESEARCH AND REVIEW OF
                    AVAILABLE TAX RETURNS.
 11/16/2018   KJJ   COMPLETION OF FORM 56 FOR SIGNATURE - HEALTH BENEFITS 0.20         30.00
                    ONE
11/16/2018    KJJ   COMPLETION OF FORM 56 FOR SIGNATURE - HEALTH CENTER   0.20         30.00
                    MANAGEMENT
11/16/2018    KJJ   COMPLETION OF FORM 56 FOR SIGNATURE - SENIOR BENEFITS 0.20         30.00
                    ONE
11/16/2018    KJJ   COMPLETION OF FORM 56 FOR SIGNATURE - SIMPLE          0.20         30.00
                    INSURANCE LEADS
11/16/2018    KJJ   COMPLETION OF FORM 56 FOR SIGNATURE - SIMPLE HEALTH   0.20         30.00
                    PLANS
11/16/2018    KJJ   COMPLETION OF FORM 56 FOR SIGNATURE - INNOVATIVE      0.20        30.00
                    CUSTOMER CARE
11/19/2018    KJJ   FINALIZE AND TRANSMIT FORM 56- HEALTH BENEFITS ONE    0.10        15.00
11/19/2018    KJJ   FINALIZE AND TRANSMIT FORM 56- HEALTH CENTER          0.10        15.00
                    MANAGEMENT
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 11/19/2018   KJJ   FINALIZE AND TRANSMIT FORM 56- INNOVATIVE CUSTOMER      0.10        15.00
                    CARE
 11/19/2018   KJJ   FINALIZE AND TRANSMIT FORM 56- SENIOR BENEFITS ONE      0.10        15.00
 11/19/2018   KJJ   FINALIZE AND TRANSMIT FORM 56 - SIMPLE HEALTH PLANS     0.10        15.00
 11/19/2018   KJJ   FINALIZE AND TRANSMIT FORM 56 - SIMPLE INSURANCE LEADS 0,10         15.00
 11/20/2018   LJJ   EMAILS WITH M PARISI REGARDING AVAILABLE HISTORIC TAX   1.60      674.40
                    RETURNS, REVIEW RETURNS AVAILABLE AND DETERMINE
                    NEED FOR TRANSCRIPT REQUESTS.
 11/28/2018   LJJ   REVIEW FORMS 4506-T TRANSCRIPTS REQUESTS FOR            0.60       252.90
                    RECEIVERSHIP ENTITIES ABSENT HISTORIC TAX RETURNS.
 11/28/2018   KJJ   PREPARATION OF FORM 4506-T- HEALTH BENEFITS ONE         0.20        30.00
 11/28/2018   KJJ   PREPARATION OF FORM 4506-T- HEALTH CENTER               0.20        30.00
                    MANAGEMENT
 11/28/2018   KJJ   PREPARATION OF FORM 4506-T- INNOVATIVE CUSTOMER CARE 0.20           30.00
 11/28/2018   KJJ   PREPARATION OF FORM 4506-T- SENIOR BENEFITS ONE         0.20        30.00
 11/28/2018   KJJ   PREPARATION OF FORM 4506-T - SIMPLE HEALTH PLANS        0.20        30.00
 11/28/2018   KJJ   PREPARATION OF FORM 4506-T- SIMPLE INSURANCE LEADS      0.20        30.00
 11/29/2018   LJJ   FINAL REVISIONS AND SIGN OFF FORMS 4506-T FOR           0.60      252.90
                    RECEIVERSHIP ENTITIES WITHOUT TAX RETURNS
 11/29/2018   KJJ   COMPLETION OF FORM 4506-T FOR SIGNATURE - HEALTH        0.10        15.00
                    BENEFITS ONE
 11/29/2018   KJJ   COMPLETION OF FORM 4506-T FOR SIGNATURE - HEALTH        0.10        15.00
                    CENTER MANAGEMENT
 11/29/2018   KJJ   COMPLETION OF FORM 4506-T FOR SIGNATURE - INNOVATIVE    0.10        15.00
                    CUSTOMER CARE
 11/29/2018   KJJ   COMPLETION OF FORM 4506-T FOR SIGNATURE - SENIOR        0.10        15.00
                    BENEFITS ONE
 11/29/2018   KJJ   COMPLETION OF FORM 4506-T FOR SIGNATURE - SIMPLE        0.10        15.00
                    HEALTH PLANS
 11/29/2018   KJJ   COMPLETION OF FORM 4506-T FOR SIGNATURE - SIMPLE        0.10        15.00
                    INSURANCE LEADS
 11/30/2018   KJJ   FINALIZE AND TRANSMIT FORMS 4506-T -6 ENTITIES          0.30        45.00
 01/03/2019   KAF   REVIEW NEW CLIENT FORM AND CLIENT FILE FOR TAX FILING   0.40      124.00
                    RESPONSIBILITIES, ADJUST (6) ENTITIES ADDED TO TAX
                    CONTROL BY K. JOHNSON
 01/14/2019   KAF   REVIEW/SAVE/FORWARD EMAILS WITH K. ABBATE-SMILEY RE:    0.20        62.00
                    2018 1099S10 BE PREPARED BY RECEIVER'S OFFICE
 01/28/2019   KAF   T/C WITH K. SMILEY RE: 2018 FORMS W3 & W2 PREPARED BY   0.10        31.00
                    PAYROLL SERVICE
02/06/2019    LJJ   EMAIL AND DISC WITH M. DAVIS REGARDING PAYROLL AND      0.20        88.22
                    INFORMATION REPORTING
02/07/2019    MCP   RESEARCH OF 1099 COMMISSION PAYMENTS.                   0.30        99.27
02/12/2019    MCP   T/C WITH K. ABATTE AND N. SURGEON RE: 1099S,            0.30        99.27
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 02/14/2019   MCP   REVIEW OF TAX MATTERS AND ENTITIES, DRAFT EMAIL TO L.    0.10        33.09
                    JOHNSON RE: SAME.
 03/01/2019   KAF   REVIEW/SAVE 2018 FORM 1099K FROM RECEIVER TO TAX FILE    0.10        31.00
 03/06/2019   KAF   PREPARE 2018 EXTENSION(S)                                0.40       124.00
 03/08/2019   MCP   TIC WITH KIM (AKERMAN) RE: 1099S. CALL MONICA HIDALGO    0.20        66.18
                    (FORMER ACCOUNTANT) RE: SAME.
 03/11/2019   LJJ   REVIEW AND FINALIZE EXTENSION                            0,10        44.11
 03/26/2019   KAF   ORGANIZE TAX FILES FOR ALL ENTITIES, SAVE, EXTRACT AND   1.10       341.00
                    DEPLOY TAX RETURNS PROVIDED BY RECEIVER (FROM
                    DASKAL BOLTON) TO ENTITY TAX FILES
 03/26/2019   LJJ   REVIEW TAX RETURNS AND INFORMATION RECEIVED FROM         1.60      705.77
                    FORMER ACCOUNTANT TO DETERMINE TAX ASSETS AVAILABLE
                    FOR RECEIVERSHIP
 03/27/2019   KAF   REVIEW/SAVE EMAIL CHAIN RE: PBC TAX RETURN REVIEW BY L, 0.10         31.00
                    JOHNSON
 04/17/2019   KAF   RE: SENIOR BENEFITS ONE, LLC (OR INC.?) - RESEARCH AND   1.10      341.00
                    PREPARE LETTER TO CA RE: 2018 PENALTY NOTICE
 04/17/2019   KAF   RE: SENIOR BENEFITS ONE, LLC (OR INC.?) - RESEARCH AND   0.90      279.00
                    PREPARE LETTER TO FL DEPT OF REVENUE RE: NOTICE
                    RECEIVED CONCERNING Q/E 12/31/18 REEMPLOYMENT
                    TAX/RETURN
 04/18/2019   LJJ   REVIEW AND REVISE RESPONSE TO NOTICE REGARDING SR        0.20        88.22
                    BENEFITS.
 04/24/2019   LJJ   REVIEW, REVISE AND SIGN RESPONSE TO NOTICE RE SENIOR     0.30      132.33
                    ONE
 05/01/2019   LJJ   RESEARCH SUPPORTING CASE LAW RELATED TO MARCUS           1.60      705.76
                    AMENDMENTS
 05/01/2019   KAF   RE: HEALTH BENEFITS ONE, LLC - RESEARCH AND RESPOND      1.20      372.00
                    TO IRS LEVY NOTICE RE: 2016 FORM 940 ALLEGED BALANCE
                    DUE
 05/20/2019   KAF   REVIEWAND RESEARCH RE: IRS LEVY NOTICE TO HEALTH         0.90      279.00
                    BENEFITS ONE LLC RE: TIMOTHY GRESGE; FORWARD TO L.
                    JOHNSON FOR GUIDANCE
 05/28/2019   LJJ   T/CM/ STATE OF FLORIDAAND LOOK-UP SECRETARY OF STATE     0.80      352.88
                    INFORMATION AND RESPOND TO PENALTIES ASSESSED.
 05/30/2019   LJJ   REVIEW AND FINALIZE RESPONSE TO TAX NOTICE.              0.10        44,11
 06/05/2019   KAF   DOCUMENT TAX FILES RE: IRS LEVY TO HEALTH BENEFITS ONE 0.20          62.00
                    FOR TIMOTHY GRESGE TO BE FORWARDED TO FTC
 06/21/2019   KAF   RE: HEALTH BENEFITS ONE- PREPARE LETTER TO IRS IN      0.60        186.00
                    RESPONSE TO TWO (2) NOTICES RECEIVED RE: 2016 FORM 940
                    LIABILITY



                                                                                     8,184.81

                                                                                    81,222.40
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 EXPENSES
 11/19/2018   EXP   FEDEX                                                                                  25.56
 11/30/2018   EXP   FEDEX                                                                                  16.59
 11/30/2018   EXP   PRINTED COPIES - NOVEMBER (11/01/18 - 11/30/18)                                        78.00
 11/30/2018   EXP   PACER- NOVEMBER 2018                                                                     3.40
 01/24/2019   EXP   ACTIONABLE INTELLIGENCE TECHNOLOGIES - INV 2303- JAN                                  278.00
                    2019
 01/31/2019   EXP   PRINTED COPIES - JANUARY (01/01/19 - 01/31/19)                                           0.60
 03/15/2019   EXP   PRINTED COPIES - MARCH (03/01/19 - 03/15/19)                                            1.80
 03/26/2019   EXP   ACTIONABLE INTELLIGENCE TECHNOLOGIES - INV 2327 - MAR                                 968.40
                    2019
 04/02/2019   EXP   ACTIONABLE INTELLIGENCE TECHNOLOGIES - INV 2339 - APR                                 261.20
                    2019
 04/19/2019   EXP   CERTIFIED MAIL - SENIOR BENEFITS ONE                                                    6.85
 04/25/2019   EXP   CERTIFIED MAIL - SENIOR BENEFITS ONE                                                    6.55
 04/30/2019   EXP   PRINTED COPIES - APRIL (04/16/19-04/30/19)                                               5.70
 05/02/2019   EXP   CERTIFIED MAIL - HEALTH BENEFITS ONE                                                    6.70
 05/15/2019   EXP   PRINTED COPIES - MAY (05/01/19 - 05/15/19)                                              0.90
 05/31/2019   EXP   PRINTED COPIES - MAY (05/16/19 - 05/31/19)                                              7.50
 05/31/2019   EXP   PACER - MAY 2019                                                                        1.40
 06/01/2019   EXP   FEDEX (05/31/19) - SENIOR BENEFITS                                                     17.62
 06/25/2019   EXP   POSTAGE - HEALTH BENEFITS ONE                                                           0.50
 06/25/2019   EXP   CERTIFIED MAIL - HEALTH BENEFITS ONE                                                    7.50
 06/25/2019   EXP   WD 1TB PORTABLE EXTERNAL HARD DRIVE                                                    52.99
 06/30/2019   EXP   PRINTED COPIES - JUNE (06/16/19-06/30/19)                                               3.90
 06/30/2019   EXP   PACER - JUNE 2019                                                                       5.70



                                                                                                       1,757.36

                                                                                                       1,757.36


                                                                 Total amount of this invoice        $82,979.76




                    Invoice payable upon receipt. Thank you for this opportunity to be of service.
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                                                 CASE NO. 18-CV-62593-GAYLES


                                   Exhibit 4

                                  Proposed Order




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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 18-CV-62593-GAYLES

   FEDERAL TRADE COMMISSION,

            Plaintiff,

   vs,

   SIMPLE HEALTH PLANS LLC, et al,

            Defendants.



           ORDER GRANTING RECEIVER'S UNOPPOSED FIRST MOTION FOR
         AWARD OF PROFESSIONAL FEES AND REIMBURSEMENT OF EXPENSES
               FOR THE PERIOD OF OCTOBER 30, 2018 — JUNE 30, 2019

                    THIS MATTER came before the Court without hearing upon the First Motion for

  Award of Professional Fees and Reimbursement of Expenses for the Period of October 30, 2018

  — June 30, 2019 (the "Motion" or the "Fee Application") [ECF No. --] filed by Michael I. Goldberg,

   the Court-appointed receiverl (the "Receiver"), pursuant of Section XVIII of the Preliminary

   Injunction [ECF No. 139]. The Court, having reviewed the Application, being advised that counsel

   for the Plaintiff Federal Trade Commission and counsel for Defendant Steven Dorfman have no

   objection to the relief requested in the Application, and finding that the Receiver has made a

   sufficient and proper showing in support of the relief requested,

            IT IS ORDERED, ADJUDGED AND DECREED, as follows:

            1.      The Application is GRANTED.




    The Court-appointed Receiver over Defendants Simple Health Plans LLC, Health Benefits One LLC, Health Center
   Management LLC, Innovative Customer Care LLC, Simple Insurance Lead LLC, Senior Benefits One LLC, and each
   of their subsidiaries, affiliates, and successors (collectively, the "Receivership Entities").


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           2.    The Receiver and his professionals are awarded their interim fees and

  reimbursement of costs for the period of October 30, 2018 — June 30, 2019 in the amounts set forth

  in the Application.

           DONE AND ORDERED in Chambers at Miami, Florida this              day of August 2019.



                                               DARRIN P. GAYLES
                                               UNITED STATES DISTRICT COURT JUDGE




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